               Case 07-11738-CSS                                        Doc 266-2                        Filed 01/04/08                           Page 1 of 25


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Pope & Talbot, Inc.
Case No. 07-11738 (CSS)
Attachment SOFA 3-al
Payments to Creditors Between 07/30/2007 and 10/28/2007

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     90283 GEN CN RAILWAY         P.O.BOX71206                CHICAGO          n   60694          UNITED
                                                                                                       STATE  9/22/2007 32154912  10/12/2007 Em  103041 10.567.50
     90283 GEN CN RAILWAY         P.O.BOX71206                CHICAGO          n   60694          UNITED
                                                                                                       STATE  9/221007 32159009   10/1212007 Em  103041  8,204.91
     90283 GEN CN RAILWAY         P.O.BOX71206                CHICAGO          n   60694          UNITED
                                                                                                       STATE  9/22/2007 32159284  10/121007 Em   103041  8.232.90
     90283 GEN CN RAILWAY         P.O.BOX71206                CHICAGO          n   60694          UNITED
                                                                                                       STATE  9/221007 32165227   10/1212007 EDI 103041  7,255.52
     90283 GEN CN RAILWAY         P.O. BOX 71206              CHICAGO          n   60694               STATE
                                                                                                  UNITED      9/22/2007 32166461  10112/2007 Em  103041  8,203.53
     90283 GEN CNR,\ILWAY         P.O.BOX71206                CHICAGO         n    60694          UNITED
                                                                                                       STATE  9/22/2007 32168342  10112/2007 ED! 103041  8,203.53
     90283 GEN CNRAILWAY          P.O.BOX71206                CHICAGO         n    60694          UNITE STATE 9122/2007 32169274  10i2/2007 ED!  103041  7,979.80
     90283 GEN CN RAILWAY         P.O.BOX71206                CHICAGO         n    60694          UNITE STATE 9122/2007 32169285  1011212007 ED! 103041  7.255.52
     90283 GEN CN RAILWAY         P.O.BOX71206                CHICAGO         n    60694         UNITEDSTATE  9122/2007 32110223  101121207 ED!  103041  7.787.02
     90283 GEN CN RAILWAY         P.O.BOX71206                CHICAGO         n    60694         UNITEDSTATE  91221007 3217616    1011212007 EDI 103041  7.255.52
     90283 GEN CN RAILWAY         l.O. BOX71206               CHICAGO         n    60694         UNITEDSTATE  9122/2007 32176078  101112007 EDI  103041  7,136.98
     90283 GEN CNRAILWAY          P.O.BOX71206                CHICAGO         n    60694         UNITED STATE 9/22/2007 32176911  1011212007 EDI 103041  7,87223
     90283 GEN CNRAILWAY          P.O.BOX71206                CHICAGO         n    60694         UNITEDSTATE  9/2212007 32179118  10/1212007 EDI 103041 7,255.52
     90283 GEN CNRAILWAY          P.O.BOX71206                CHICAGO         n    60694         UNITEDSTATE  9/2212007 32180977  10/121007 Em   103041 7,013.03
        90283 GEN CNRAILWAY                            P.O.BOX71206             CHICAGO        n        60694       UNITED STATE    9/2212007 32186009    10/121007 ED!     103041      8,203.53
        90283 GEN CN RAILWAY                           P.O.BOX71206             CHICAGO        n        60694       UNITED STATE    9/221007 32188714     1011212007 ED!    103041      6,285.72
        90283 GEN CN RAILWAY                           P.O.BOX71206             CHICAGO        n        60694       UNITED STATE    9/2212007 32189514    10112/2007 ED!    103041      7.136.98
        90283 GEN CN RAILWAY                           P.O.BOX71206             CHICAGO        n        60694       UNITED STATE    91221007 32190312     10112/2007 ED!    103041      7,255.52
        90283 GEN CN RAILWAY                           P.O.BOX71206             CHICAGO        n        60694       UNITE STATE     91221007 32191525     10112/2007 EDI    103041      8.204.91
        90283 GEN CN RAILWAY                           l.O.BOX71206             CHICAGO        n        60694       UNITED STATE   91221207 32192271      10(12/2007 EDI    103041      7.255.52
        90283 GEN CNRAILWAY                            l.O. BOX71206            CHICAGO        n        60694       UNITEDSTATE     9/22/2007 32193688    10/1212007 EDI    103041      7.141.82
        90283 GEN CNRAILWAY                            P.O.BOX71206             CHICAGO        n        60694       UNITEDSTATE    9/22/2007 32194113     10/12/2007 Em     103041      7,255.52
       90283 GEN CNRI1LWAY                             P.O.BOX71206             CHICAGo        n        60694       UNITEDSTATE    9/22/2007 32194496     10/1212007 Em     103041      9_'00.88
       90283 GEN CN RAILWAY                           P.O.BOX71206              CHICAGO
                                                                                                                                                                                                            Case 07-11738-CSS




                                                                                               n        60694       UNITEDSTATE    9/2212007 32195795     101112007 Em      103041     12~'".72
       90283 Gl:"N CN RAILWAY                         P.O.BOX71206              CHICAGO        n       60694        UNITEDSTATE    9/22/2007 32191367     10/122007 Em      103041      7.781.49
       90283 GEN CN RAILWAY                           P.O.BOX71206              CHICAGO        n       60694        UNITEDSTATE    9/2212007 32201868     10/122007 ED!     103041      7.55.2
       90283 GEN CN RAILWAY                           P.O.BOX71206              CHICAGO        n       60694        UNITE STATE    9/221007 3220220S      10112/2007 ED!    103041      7,136.98
       90283 GEN CN RAILWAY                           P.O.BOX71206              CHICAGO        n       60694        UNITEDSTATE    912212007 32205170     10/12/2007 ED!    103041      7,255.52
       90283 GEN CN RAILWAY                           P.O.BOX71206              CHICAGO        n       60694        UNITED STATE   9129/2007 32222742     10124/2007 EDI    103064      8,203.53
       90283 GEN CN RAILWAY                           P.O.BOX71206              CHICAGO        n       60694        UNITEDSTATE    91291207 32223342      10124/2007 EDI    103064      6,$41.44
       90283 GEN CN RAILWAY                           P.O.BOX71206              CHICAGO        n       60694        UNITE STATE    91291207 32225189      10/24/2007 ED!    103064      8_'73.Q
       90283 GEN CNRIILWAY                            P.O. BOX 71206            CHICAGO        n       60694        UNITEDSTATE    9129/2007 32233337     10/2412007 EDI    103064      8~'76.07
       90283 GEN CN RAILWAY                           P.O.BOX71206              CHICAGO        n       60694        UNITED STATE   9/29/2007 32237167     10/2412007 EDI    103064     10.400.48
       90283 GEN CN RAILWAY                           P.O. BOX 71206            CHICAGO        n       60694        UNITEDSTATE    9/29/2007 32237197     10/2412007 EDI    103064      6.829.60
       90283 GEN CNRAILWAY                            P.O.BOX71206              CHICAGO        n       60694        UNITEDSTATE    9/29/2007 32237904     10/2412007 EDI    103064      7.787.02
       90283 GEN CN RAILWAY                           P.O. BOX 71206            CHICAGO        n       60694        UNITEDSTATE    9/2912007 32238989     10/2412007 EDI    103064      8,376.0
       90283 GEN CN RAILWAY                           P.O.BOX71206              CHICAGO        n       60694        UNITED STATE   9/2912007 32240607     10/2412007 EDI    103064      8,203.53
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       90283 GEN CN RAILWAY                           P.O.BOX71206              CHICAGO        n       60694        UNITEDSTATE    9/2912007 32242000     10/2412007 Em     103064      7,917.19
       90283 GEN CN RAILWAY                           P.O.BOX71206              CHICAGO        n       60694        UNITEDSTATE    9/2912007 32244511     10/24(2007 Em    103064       8,204.91
       90283 GEN CNRAILWAY                            P.O.BOX71206              CHICAGO        n       60694        UNITEDSTATE    9/29/2007 32246589     10/24f2oo7 ED!   103064       8.203.53
       90283 GEN CN RAILWAY                           P.O.BOX71206              CHICAGO        n       60694        UNITEDSTATE    9/29/2007 32246924     10124/2007 ED!   1030ó4       7,255.52
       90283 GEN CN RAILWAY                           P.O.BOX71206              CHICAGO        n       60694        UNITEDSTATE    9/2912007 32248859     10/24/2007 ED!   103064       6,541.44
       90283 GEN CN RAILWAY                           P.O.BOX71206             CHICAGO         n       60694        UNITED STATE   9/2912007 32253418     10124/2007 ED!   103064       7,136.98
       90283 GEN CN RAILWAY                           l.O. BOX71206            CHICAGO         n       60694        UNITED STATE   9/29/2007 32256466     10124/2007 ED!   103064       8,204.91
       90283 GEN CNRAILWAY                            P.O.BOX71206             CHICAGO         n       60694        UNITED STATE   9129/2007 32262675     10124/2007 EDI   103064      10,400.48
       90283 GEN CNRAILWAY                            P.O.BOX71206             CHICAGO         n       60694        UNITEDSTATE    9/29/2007 32264309     10124/2007 EDI   103064      10,400.48
       90283 GEN CNRAILWAY                            P.O.BOX71206             CHICAGO         n       60694        UNITEDSTATE    9129/2007 32267350     10124/2007 ED!   103064       6.160.49
       90283 GEN CN RAILWAY                           P.O.BOX71206             CHICAGO         n       60694        UNITEDSTATE    912/2007 32270743      10(24/2007 EDI   103064       7,917.19
       90283 GEN CN RAILWAY                           P.O. BOX 71206           CHICAGO         n       60694        UNITEDSTATE    9/29/2007 32270978     10124/2007 EDI   103064       7~'4i.14
       90283 GEN CN RAILWAY                           P.O.BQX71206             CHICAGO         n       60694        UNITEDSTATE    9/29/2007 32272280     10/24/2007 EDI   103064       7,787.02
       90283 GEN CN RAILWAY                           P.O.BOX71206             CHICAGO         n       60694        UNITEDSTATE    9/2912007 32273349     10/24/2007 EDI   103064       6.541.44
       90283 GEN CN RAILWAY                           P.O.BOX71206             CHICAGO         n       60694        UNITE STATE    9/2912007 32273592     10/2412007 EDI   103064       7,917.19
       90283 GEN CN RAILWAY                           P.O.BOX71206             CHICAGO         n       60694        UNITEDSTATE    913012007 32278096     10/2412007 ED!   103064       8_'34.71
       90283 GEN CN RAILWAY                           P.O.BOX71206             CHICAGO         n       60694        UNITED STATE   10161007 32287157      10/2612007 ED!   103080       8,376.07
       90283 GEN CN RAILWAY                           P.O.BOX71206             CHICAGO         n       60694        UNITED STATE   10/61007 32288559      10/26/2007 ED!   103080       9,830.88
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       90283 GEN CNRAILWAY                            P.O.BOX71206             CHICAGO         n       60694        UNITED STATE   10(61007 32291614      10/26/2007 ED!   103080       8,376.7
       90283 GEN CNRAILWAY                            P.O.BOX71206             CHICAGO         n       60694        UNITE STATE    10/612007 32292599     10/26/2007 ED!   103080       8,204.91
       90283 GEN CNRAILWAY                            P.O.BOX71206             CHICAGO         n       60694        UNITE STATE    10/61007 32294762      101261007 ED!    103080       9,830.88
       90283 GEN CN RAILWAY                           P.O. BOX 71206           CHICAGO         n       60694        UNITE STATE    10/61007 32295011      10/2612007 ED!   103080       8,203.53
       90283 GEN CN RAILWAY                           P.O. BOX 71206           CHICAGO         n       60694        UNITE STATE    10/612007 32298039     10/26/2007 EDI   103080       8.203.53
       90283 GEN CN RAILWAY                           P.O. BOX 71206           CHICAGO         n       60694        UNITD STATE    10/6/2007 32304328     10f26/2007 ED!   103080       6,541.44
       90283 GEN CN RAILWAY                           P.O. BOX 71206           CHICAGO         n       60694        UNITEDSTATE    10/612007 32306185     10/26/2007 EDI   103080       8,203.53
       90283 GEN CN RAILWAY                           P.O.BOX71206             CHICAGO         n       60694        UNITEDSTATE    101612007 32308207     1012612007 Em    103080      10,400.48
       90283 GEN CN RAILWAY                           P.O.BOX71206             CHICAGO         n       60694        UNITEDSTATE    101612007 32311974     10/2612007 ED!   103080       8,203.53
       90283 GEN CN RAILWAY                           P.O.BOX71206             CHICAGO         n       60694        UNITE STATE    10(612007 32312347     10/2612007 EDI   103080       8.203.53
       90283 GEN CN RAILWAY                           P.O.BOX71206             CHICAGO         n       60694        UNITED STATE   10(612007 32312401     10/2612007 EDI   103080       8,431.2
       90283 GEN CN RAILWAY                           P.O.BOX7120ó             CHICAGO         n       60694        UNITED STATE   10(61007 32316142      10/26/2007 EDI   103080       9.496.11
       90283 GEN CNRAILWAY                            P.O.BOX71206             CHICAGO         n       60694        UNITED STATE   10/6f2007 32317102     10/26/2007 EDI   103080       8,431.52
       90283 GEN CNRAILWAY                            P.O. BOX 71206           CHICAGO         n       60694        UNITE STATE    10/61007 32321748      101261007 ED!    103080       8,431.52
       90283 GEN CN RAILWAY                           P.O. BOX 71206           CHICAGO         n       60694        UNITEDSTATE    10/61007 32322687      1012612007 ED!   103080       7,136.98
       90283 GEN CN RAILWAY                           P.O.80X71206             CHICAGO         n       60694        UNITE STATE    10/61007 32327457      10(2612007 EDI   103080       7,013.3
                                                                                                                                                                                                            Page 2 of 25




       90283 GEN CN RAILWAY                           P.O.BOX71206             CHICAGO         n       60694        UNITED STATE   10/6/2007 32328594     10f2612007 EDI   103080       7.718.73
       90283 GEN CN RAILWAY                           P.O.BOX71206             CHICAGO         n       60694        UNITEDSTATE    10/6/2007 32331676     10/2612007 EDI   103080       7,141.82
       90283 GEN CNRAILWAY                            P.O.BOX71206             CHICAGO         n       60694        UNITEDSTATE    101612007 32335112     10/2612007 ED!   103080       8.203.53
       90283 GEN CN RAILWAY                           P.O.BOX71206             CHICAGO         n       60694        UNITED STATE   10(6f2007 32340718     10/2612007 ED!   103080       6,541'44
       90283 GEN CNRAILWAY                            P.O.BOX71206             CHICAGO         n       60694        UNITED STATE   10n/2007 32347593      10/26/2007 ED!   103080       8,409.06
       90283 GEN CNRAILWAY                            P.O. BOX 71206           CHICAGO         n       60694        UNITE 5TA TE   7I18f2007 751296303    8/27/2007 EDI    102890        425.00
       90283 GEN CN RAILWAY                           P.O.BOX71206             CHICAGO         n       60694        UNITE STATE    7/181007 751296303     8127/2007 ED!    102890        425.00
       90283 GEN CN RAILWAY                           P.O. BOX 71206           CHICAGO         n       60694        UNTESTATE      7118/2007 751296303    8127/2007 ED!    102890        425.00
       90384 GEN HAMER LLC                            14650 28ihAVENUE NORTH   PLYMOUrn       ~        55447-4821   UNITEDSTATE    7/121007 114284        911412007 SCK    390780        368.79
       90384 GEN HAMER LLC                            14650 28thAVENUE NORTH   PLYMOUTI       ~        55447-4821   UNIT STATE     7/251207 114568        9f21/2007 SCK    390865         125.27
       90822 GEN INFOR GLOBAL SOLUTIONS               N\V 5421 po BOX 1450     r-ONEAPOLIS    ~        55485-5421   UNITE STATE    6/712007 US5AE050863   713012007 SCK    532614      12,600.00
       90822 GEN INFORGLOBALSOLUTIONS                 N\V5421 po BOX 1450      MINPOLIS       ~        55485.5421   UNITEDSTATE    611812007 US5AP16686   9/1412007 SCK    533471       8.163.75




                                                                                             070f137                                                                       SOFA Alt. 3.a1 Vendor Payments
Pope & Talbot, Inc.
Case No. 07-11738 (CSS)
Attachment SOFA 3-al
Payments to Creditors Between 07/30/2007 and 10/2812007

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    90822 GEN INFOR GLOBAL SOLUTIONS NW5421       POBOX1450    MINNEAPOLIS    ~   55485-5421  UNITED
                                                                                                   STATE   611812007 US5API6686   9114/2007 SCK 533471 8,163.75
    90826 GUN CASCADE NUTANDBOLT     P.O.BOX12787              SALEM          ~ 97309         UNITED STATE 612512007 S1152363.001 710/2007 SCK                                                               532593          83.28
       90826 GEN CASCADENUTANDBOLT                        P.O. BOX 12787                          SALEM              ~       97309         UNITE STATE    61281007 S1152449.002             9/14/2007 SCK    533443           1.98
       90826 GUN CASCADE NUT AND BOLT                     P.O. BOX 12787                          SALE               ~       97309         UNITED STATE   612512007 S1152997.001            7/3012007 SCK    5n593           55.16
       90835 GEN EOOECONSTRUCTION SUPPLY                  1503 EAT RIVERSIDE AVE                  SPOKANE            ~       99220         UNITE STATE    413012007 R005339                 7/3012007 SCK    532663        1,441.86
       90835 GEN EOOECONSl1UCTION SUPPLY                  1503 EAST RIVERSIDE AVE                 SPOKANE            ~       99220         UNITEDSTATE    41301207 R005339                  7/)012007 SCK    532663      (1.441.86)
       90872 GEN OBERSON OIL INC.                         UNIT   07   PO   BOX   5000             PORTLND            ~       97208.5000    UNITEDSTATE     5/412007 108145                  7/3012007 SCK    532631       5,44l.5
       90872 GEN OBERSON OIL INC,                         UNIT   07   PO   BOX   5000             PORTIND            ~       97208.5000    UNITE STATE     6n12007 109582                   713012007 SCK    532631        1,43200
       90872 GEN OBERSON OIL INC,                         UNIT   07   PO   BOX   5000             PORTLND            ~       97208.5000    UNITEDSTATE     61812007 110013                  7/30/2007 SCK    532631       7,289.70
       9Q872 GEN OBERSON OIL INC.                         UNIT   07   PO   BOX   5000             PORTIND            ~       97208.5000    UNITEDSTATE     6122007 111432                   9114/2007 SCK    533501       7,253.40
       90872 GEN OBERSON OIL INC.                         UNIT   07   PO   BOX   5000             PORTLND            ~       97208-5000    UNITEDSTATE    61212007 111434                   9/14/2007 SCK    533501       4,178.10
       90872 GEN OBERSON OIL INC.                      UNIT07 PO BOX 5000                         PORTLND            ~       97208-5000    UNITEDSTATE    71112007 111759                   9114/2007 SCK    533501       7.37220
       90872 GEN OBERSON OIL INC.                      UNIT07 PO        BOX5000                   PORTlND            ~       97208-5000    UNITE STATE    71512007 112591                   9/24/2007 SCK    SJ3725      10,489.60
       90888 GEN HERTZ EQUIPMENT     RETAL             POBOX650280                                DALLAS             ~       72562-0280    UNITEDSTATE    7/1612007 20649172-022            911412007 SCK    533468        1,625.00
       90888 GEN HERTZ EQUIPMENT RETAL                 POBOX650280                                DALLAS             ~       72562-0280    UNITED STATE    7122007 22472593_001             911412007 SCK    533468        1,294.50
       91076 GEN PDS ENRONMENTAL                       4412SWCORBET                               PORTlND            ~       97239         UNITED STATE   7/1712007 15185074-02             9/2412007 SCK    533730         200.00
       91097 GEN CUT TEHNOLOGIES      USAINC.          3254 BENET DRI                             BELLINGHAM         ~       98225         UNITEDSTATE    616/2007 38741                    71012007 SCK     390514       3.344.60
       91097 GEN CUT TEHNOLOGIES      USAINC.          3254 BENNEI DRIE                           BELLINGHAM         ~       98225         UNITED STATE    7/512007 3S830                   8/1/2007 SCK     390647         708.38
       91097 GEN CUT TEHNOLOGIES      USAINC.          3254 BENNEl DRIVE                          BELUNGHAM          ~       98225         UNITE STATE     7/612007 38840                   8/13/207 SCK     390647       2,531.5
       91099 CRT HANJIN SHIPPING COMPANY LTD.          175SWETTEMPLE        SUITE600              SALTLAKECITY       m       84101         UNITEDSTATE    713012007 SLC76280oo6             8/231207 SCK     533089      14,620.00
       91099 CRT HANlIN SHIPPING COMPANY LTD.          175S WETTEMPLE       SUITE600              SALT LAKE CITY     m       84101         UNITED STATE   712/2007 SLC77060oo8              8111207 SCK      532963      14,620.00
       91099 CRT HANJIN SHIPPING COMPANY LTD.          175 S WET TEMPLE     SUITE600              SALTLAKECITY       m       84101         UNITED STATE   812012007 SLC77060oo9              8/281207 SCK    533161      10,728.00
       91099 CRT HANlIN SHIPPING CO~IPANY LTD.         175 S WET TE~iPLE    SUITE600              SALTLAKECITY       m       84101         UNITED STATE   7/2512007 SLC7060046               811/2007 SCK    532963       1,033.00
       91099 CRT HANJIN SHIPPING COMPANY LTD.          175 S WET TE~iPLE    SUITE 600             SALTLAKECJTY       m       84101         UNITE STATE     8/612007 SLC77loo085              S/281207 SCK
                                                                                                                                                                                                                                              Case 07-11738-CSS




                                                                                                                                                                                                             533161      15,183.00
       91099 CRT HANlIN SHIPPING COMPANY LTD.          175 S WET TEMPLE     SUITE 600             SALTLAKECIT        m       84101         UNTE STATE     713012007 SLC77130075              S/I31207 SCK    5n963       15,183.00
       91099 CRT HANlIN SHIPPING COMPANY LTD,          175 S WET TE~iPLE    SUITE600              SALTLAKECITY       m       84101         UNITEDSTATE     S/612007 SLC7130085               8/281207 SCK    533161      28,833.00
       91099 CRT HANJIN SHIPPING COMPANY LTD.          175 S WEST TElviPLE SUITE600               SALTLAKECITY       m       84101         UNITED STATE   S/271007 SLC7190059                SI3112007 SCK   533245      21,596.00
       91099 CRT HANJI SHIPPING COMPANY LTD.           175 S WEST TEMPLE SUITE600                 SALTLAKECITY       m       84101         UNITED STATE   8/2012007 SLC77230012              8/2812007 SCK   533161       9,755.00
       91099 CRT HANJIN SHIPPING CO~IPANY LTD.         175 S WET TEMPLE     SUITE600              SALTLAKECITY       m       84101         UNITE STATE    S1212007 SLC8010017               9/1212007 SCK    533315      15,IS3.OO
       91099 CRT HANJIN SHIPPING COMPANY LTD.          l7 S WET TEMPLE      SUITE600              SALTLAKECITY       m       84101         UNITE STATE    8117/007 SLC78010053               8/2/2007 SCK    533089       4,S90.OO
       91099 CRT HANJIN SHIPPING CO~IPANY LTD.         175 S WET TEMPLE     SUITE600              SALTLAKECITY       m       84101         UNITEDSTATE    8/20/2007 SLC78010054              812/2007 SCK    533161       4,S90.00
       91099 CRT HANJIN SHiPPINO COMPANY LTD.          175 S WET TEMPLE     SUITE600              SALTLAKECITY       m       84101         UNITEDSTATE    8120/2007 SLC8020063              S/28/2007 SCK    533161       9,755.00
       91099 CRT IIANJIN SHIPPINO COMPANY LTD.         175 S WETTEMPLE      SUITE600              SALT LAKECITY      m       84101         UNITEDSTATE    812012007 SLC78030047             S/28/2007 SCK    5J361        9,755.00
       91099 CRT HANJIN SlIPPING COMPANY LTD.          175 S WETTEMPLE      SUITE600              SALTLAKECITY       m       84101         UNITED STATE   812ri007 SLC78140008              9/101007 SCK     533309       1,133.00
       91118 GEN IRON MOUNTAIN REORDS MGMT. CO        P.O,BOX27128                                NEWYORK            ~        10087-7128   UNITEDSTATE    3114/2007 OS40548                 9/14/2007 SCK    533473         548.51
       91118 GEN IRON MOUNTAIN    REORDSMGMT.CO       P.O.80X27128                                NEWYORK            ~        10087-7128   UNITEDSTATE     7/112007 HD77255                 9/14/2007 SCK    533473      19,788.19
       91118 GEN IRON MOUNTAIN REORDS MG~IT.CO        P.O.BOX27128                                NEW YORK           ~        10087.7128   UNITEDSTATE    610/2007 HS98890                   81312007 SCK    532799         134.06
                                                                                                                                                                                                                                              Doc 266-2




       91118 GEN IRONMOUNTAINRECORDSMG~IT.CO          P,O.BOX27128                               NEW YORK            ~       10087.7128    UNITED STATE   713112007 HZ35S75                 9/24/2007 SCK    533695         611.16
       91131 GEN DEPARThIENTOFalPLOYMENT              EMPLOYMENT RESOURCES DIVISION P.O. BOX 2659 CASPER             ~       82602         UNITED STATE   913012007 WY  SUI9130107          10/17/007 SCK    534093       1,105.84
       91313 GEN PionccrAmcrcli,lnc.                  POBOX972810                                 DAIlS              ~       75397         UNITE STATE    121261007 55.38771226 OVER P~IT   811/2007 SCK     533000      (1,295.00)
       91313 GEN PionccrAmcrCl~,lnc.                  POBOX972810                                 DALlAS             ~       75397         UNITE STATE    121012007 55.38771226CR           8113/2007 SCK    533000        (205.00)
       91313 GEN PionccrAmerici~,lnc.                 PO BOX 972810                               DALLAS             ~       75397         UNITEDSTATE     6/61007 55.38807140              811/2007 SCK     533000         545.00
       91313 GEN PionccrAmeriCl5,Inc.                 POBOX972810                                 DALLAS             ~       75397         UNITE STATE     7/512007 55.38813508             8/13/2007 SCK    533000       1,090.00
       91313 GEN PionccrAmcrCl5,lfl.                  POBOX972810                                DALLAS              ~       75397         UNITED STATE   711S/2007 55-38816826             912412007 SCK    533743       1,090.00
       9l3l3 GEN PionccrAmcriCl5,lnc.                 POBOX972810                                DAllS               ~       75397         UNITED STATE   712/2007 55-38818802              9/24/2007 SCK    533744       1,090.00
       9135 GEN AN,\LYTICALLABORATORY&                CONSUL TANTS,INC.     361 WET 5TH AVENUE   EUGENE              ~       97401         UNITEDSTATE    61212007 23524                     8/3/2007 SCK    532757          60.00
       91315 GEN ANALYTICAL LABORATORY     &          CONSULTANTS, INC. 361 WEST 5TH AVENUE      EUGENE              ~       97401         UNITED STATE    7/212007 23529                    8/312007 SCK    532757         400.00
       9135 GEN ANALYTCAL LABORATORY       &          CONSULTANTS,INC, 361 \VET 5TH AVENUE       EUGENE              ~       97401         UNITEDSTATE     7/512007 23577A                  81112007 SCK     532932         390.00
       9135 GEN ANALYTICAL LABORATORY &               CONSULTANS, INC.      361 WET 5TH AVENUE   EUGENE             ~        97401         UNITED STATE   71212007 23797                    912412007 SCK    533637          60.00
       91315 GEN ANAI.YTlCALLABORATORY&               CONSULTANS, INC.      361 WET 5TH AVENUE   EUGENE             ~        97401         UNITED STATE   7/261007 23813                    9124/2007 SCK    533637         770.00
       9135 GEN ANALYTICAL LABORATORY      &          CONSULTANTS,INC. 361 WET 5TH AVENUE        EUGENE             ~        97401         UNITEDSTATE    7/261007 23813.                   1011012007 SCK   533985         770.00
       91315 GEN ANALYTlCALLABORJTORY&                CONSULTANTS, INC.     361 WET 5TH AVENUE   EUGEN              ~        97401         UNITED STATE   7/61007 23813CM                   10110/2007 SCK   533985
       91315 GEN ANALYTICAL LABORATORY &                                                                                                                                                                                   (770.00)
                                                      CONSULTANTS, INC. 361 WET 5TH AVENUE       EUGENE             ~        97401         UNITEDSTATE    7/9/2007 23841                    9/24/2007 SCK    533637          60.00
       91315 GEN ANALYTlCALLABORATORY&                CONSULTANTS, INC.     361 WET 5TH AVENUE   EUGENE             ~        97401         UNITEDSTATE     8n12007 23953.                   10110/2007 SCK   533985          60.00
       9135 GEN ANALYTICAL LABORATORY &               CONSULTANTS, INC.     361 WET 5TH AVENUE   EUGENE             ~        97401         UNITEDSTATE    10/112007 23953..                 10/1112007 SCK   534016          60.00
                                                                                                                                                                                                                                              Filed 01/04/08




       9135 GEN ANALYTICAL LABORATORV &               CONSULTANTS, INC. 361 WET 5TH AVENUE       EUGENE             ~        97401         UNITED STATE   10/112007 23953.CREDlT            10/1112007 SCK   534016         (60.00)
       91315 GEN ANALYTICAL LABORATORY     &          CONSULTANTS, INC.     361 WEST 5TH AVENUE  EUGENE             ~        97401         UNITEDSTATE     8m2007 23953CM                   10/10/2007 SCK   533985         (60.00)
       91315 GEN ANALYTlCALLABORATORY&                CONSULTANTS, INC. 361 WET 5TH AVENUE       EUGENE             ~        97401         UNITEDSTATE     8m2oo7 23956                     10/1112007 SCK   534016          60.00
       9135 GEN ANALYTlCAL LABORATORY      &          CONSULTANTS, INC. 361 WET 5TH AVENUE       EUGENE             ~        97401         UNITEDSTATE    10/112007 23956CM                 10/11/2007 SCK   534016         (60.00)
       91315 GEN ANALYTlCAL LABORATORY     &          CONSULTANTS, INC.     361 WET 5TH AVENUE   EUGENE             ~        97401         UNITED STATE   SI9/2007 23979                    10/1112007 SCK   534016          40.00
       91315 GEN ANALYTlCALLABORATORY &               CONSULTANTS, INC. 361 WET 5TH AVENUE       EUGENE             ~        97401         UNITED STATE   819/2007 23979.                   10110/2007 SCK   533985          40.00
       91315 GEN ANALYTlCALlABORATORY&                CONSULTANTS, INC. 361 WET 5TH AVENUE       EUGENE             ~        97401         UNITED STATE   10/112007 23979.CREDIT            10111/2007 SCK   534016         (40.00)
       91315 GEN ANALYTICAL LABORATORY     &          CONSULTANTS, INC. 361 WET 5TH AVENUE       EUGENE             ~        97401         UNITE STATE    81912007 23979CM                  101101207 SCK    533985         (40.00)
       91315 GEN ANALYTICALLABORATORV &               CONSULTANTS, INC.     361 WET 5TH AVENUE   EUGENE             ~        97401         UNITE STATE    9/2612007 24506                   10/1112007 SCK   534016          60.00
       9135 GEN ANALYTICAL LABORATORY &               CONSULTANTS, INC.     361 WET 5TH AVENUE   EUGENE             ~        97401         UNITE STATE    10/112007 24506CM                 10/11/2007 SCK   534016         (60.00)
       91417 EMP GREG W. NAYDIUK                      C/ POPE & TALBOT INC.                      PORTlND            ~        97201         UNITE STATE    7/1912007 OOP:2oo70719:GREORV W   8/101207 EDI     102846         112.52
       91417 EMP GREG W. NAVDlUK                      C/ POPE & TALBOT INC.                      PORTlND            ~        97201         UNITEDSTATE    7/4/2007 OOP:2oo70724:GREORV W    811012007 EDI    102846         101.37
       91417 aip GREG W. NAYDIUK                      C/ POPE & TALBOT INC.                      PORTlND            ~        97201         UNITEDSTATE    8121007 OOP:2oo70802:GREORY W     8/2912007 EDI    102904          99.43
       91417 EMP GREG W.NAYDlUK                       CJO POPE & T ALOOT INC.                    PORTlND            ~        97201         UNITEDSTATE    811612007 OOP:20070816:GREORY W   9/1212007 E.D1   102971         221.17
       91417 EMP GREG W.NAYDlUK                       C/O POPE & TALBOT INC.                     PORTlND            ~        97201         UNITEDSTATE    8123/2007 OOP:2oo70823:GREORV W   9/1212007 E.DI   102971         125.55
       91417 EMP GREG W.NAYDIUK                       C/O POPE& TALBOT INC.                      PORTlND            ~        97201         UNITEDSTATE    912112007 OOP:20070921:GREORV W   10/251207 EDI    103072         103.79
                                                                                                                                                                                                                                              Page 3 of 25




       91417 EMP GREW,NAVDIUK                         C/ POPE & TALBOT INC.                      PORTlND            ~        97201         UNITED STATE   912/2007 OOP:2oo70928:GREORY W    10125/2007 EDI   103072         103.31
       91455 GEN UNITED INDUSTRL EQUIPMENT    CO      530 CONGER ST                              EUGENE             ~        97402         UNITEDSTATE    612812007 34337                    8/32007 SCK     532849         119.95
       91484 GEN MARY'S RIVERLUMBER     COMPANY       2451SH\VY20W                               PHlLO~lATI         ~        97370         UNITEDSTATE    7/1912007 91484107072             7/31/2007 SCK    532680       5.948.95
       91484 GEN r-tARY'S  RIVERLlMBERCOMPANY         24515H\VY20W                               PHiLOMATI          ~        97370         UNITEDSTATE    8/31207 91484107081               SI1512007 SCK    533039      9.366.70
       91484 GEN r-tARY'S RIVER LUMBERCOMPANY         24515HWY20W                                PHILO~lATI         ~        97370         UNITEDSTATE    8/20/2007 91484107082             8/3112007 SCK    533196      6_'99.05
       91484 GEN fotARY'SRIVERLlMBERCO~IPANY          24515H\VY20W                               PHlLO~lATI         ~        97370         UNITEDSTATE    9/612007 91484107091              9/1412007 SCK    533351       8,905.40
       91484 GEN MARY'S RIVERLUMBER     COMPANY       24515 H\VY 20 W                            PHiLOMATI          ~        97370         UNITEDSTATE    9120/2007 91484107092             10/5/2007 SCK    533946       5,796.70
       91484 GEN MARY'S RIVERLUMBERCOMPANV            245L5H\VY20W                               PHlLOMATI          ~        97370         UNITEDSTATE    10/32007 91484107101              10/1512007 SCK   534062       5,945.45
       91688 GEN ROD SCHROEDER                        929 COLLEGE                                RAPID CITY         W        57701         UNITED STATE   7151207 13653                     9/1412007 SCK    390797       3.696.00
       91688 GEN ROD SCHROEDER                        929 COLLE                                  RAPID CITY         W        57701         UNITEDSTATE    715/207 13655                     811/2007 SCK     390694       3,696.00
       91688 GEN ROD SCHROEDER                        929 COLLE                                  RAPID CITY         W        57701         UNITEDSTATE    S/6I2007 13666                    10/512007 SCK    390933      3,696.00
       91688 GEN RODSCnROEDER                         929 COLLEGE                                RAPID CITY         W        57701         UNITED STATE   S/612007 13668                    10(5/2007 SCK    390933      3,696.00




                                                                                                                   680r137                                                                                   SOFA Alt. 3-a1 Vendor Paymonts
Pope & Talbot. Inc.
Case No. 07-11738 (CSS)
Attachment SOFA 3-al
Payments to Creditors Between 07/30/2007 and 10/28/2007

Vendor CI:i'~ Vcndor ;oiim" Addr"..\ (.'il)' Addrc~s ~:~,l:: P".iai Colic Countr Im'ol,," Iliilc In..i"\! Check Halc ":glf:~11 'l1;:~~~I~:~1I usl) ,\muunt
       91700 GEN DELL TRNSPORT LID                 75 OLD MILL ROAD                           CASTLEGAR       ~         VIN4lì          CANADA       7/1612007 26826S                  9/1412007 SCK     533450        1.512.00
       91707 GEN AMERIGAS-LANECOUNTY               POBOX7155                                  PASADENA        ~         91109.7155    UNITEDSTATE    6/271007 490-12oo5A               7130/2007 SCK     532576          59UI
       91707 GEN AMERIGAS-LANECOUNTY               POBOX7155                                  PASADENA        ~         91109-7155    UNITEDSTATE    7/5/2007 490.21265M               8f1/2007 SCK      532931          630.56
       91707 GEN AMERIGAS -LANECOUNTY              POOOX7155                                  PASADENA        ~         9ll09-7155   UNITED STATE    7/1112007 490.21295JA             8113/2007 SCK     532931          567.76
       91707 GEN AMERlGAS.LANECOUNTY               POOOX7155                                  PASADENA        ~         91109-7155    UNITEDSTATE    7/18/2007 490.213153A             9124/2007 SCK     53.3635         669.80
       91707 GEN AMERIGAS-LANECOUNTY               POBOX7155                                  PASADENA        ~         91109.7155   UNITED STATE    7/2512007 490.213329A             9124/2007 SCK     5;13635         630.56
       91707 GEN AMERIGAS-LANECOUNTY               POBOX7155                                  PASADENA        ~         91109.7155   UNITED STATE    8/1/2007 490-213545A              9/24/2007 SCK     533636          473.56
       91109 GEN ANDRITZ INC.                      SERVICE DIVISION PO BOX 930522             Al'NTA          M         31193.0522   UNITE STATE     6114/2007 44394                   811312007 SCK     532927        4.650.00
       91759 GEN SENSKE LOGISTICS                  4375 24TII AVE NORm                        GRAND FORK      ~         58203        UNITED STATE    7/10/2007 BEOI2306                7/30/2007 SCK     .390552       1337.72
       91759 GEN SENSKE LOGISTICS                  437524mAVENORTI                            GRAND FORKS     ~         58203        UNITED STATE    715/2007 BEOI2346                 9/14/2007 SCK     390798        1.717.22
       918.32 GEN RAM STEELCO  INC.                P.O.BOX33.35                               SALEM           M         97302        UNITED STATE    612/2007 708186                   7/30/2007 SCK     5:i2M7        1~'70.84
       91832 GEN RAM STEELCO INC.                  P.O.BOX3335                                SALEM           M         97302        UNITED STATE    7/30/2007 709470                  9/2412007 SCK     533757         698.37
       918.32 GEN RAM STEELCO INC.                 P.O.OOX3335                                SALEM           M         97302        UNITED STATE    7/31/2007 79582                   9/2412007 SCK     5.3757          579.27
       92021 GEN COCA-COLA BOTILING                PORTLAND COCA-COLA-NW DIVISIONPO BOX 53158LOS ANGELES      ~         90074.3158   UNITED STATE    8/9/2007 1105799236               9/24/2007 SCK     533657         432.(,5
       92021 GEN COCA.COLA BOTIING                 PORTLAD COCA-COLA-NW D1V1SIONPO BOX 53158LOS ANGELES       ~         90074-3158   UNITED STATE    7/1212007 1195699012-             9124/2007 SCK     5.3;1657        IM.IO
       9202 I GEN COCA-COLA OOlTlNG                PORTLAND COCA-COLA.NW DIVISIONPO BOX 53158LOS ANGELES      ~         90074-3158   UNITED STATE    711212007 1195699012A             9124/2007 SCK     S:i:i657         20.0
       92082 GEN SOUTIIDAKOTADEPTOFREVENUE         OFFICEOF PRORATE 445 EAST CAPITAL AVENUE   PIERR           m         57501        UNITED STATE    7111/2007 710342667/30/07         713012007 ACH       6502       6.043.98
       92082 GEN SOUTHDAKOTADEPTOFREENUE           OFFICE OF PRORATE 445 EAT CAPITAL AVENUE   PIERR           m         57501        UNITED STATE   10/15/2007 912007S&U               10126/2007 ACH      702&       2.153.44
       92082 GEN SOUTH DAKOTA DEPTOF Rf;ENUE       OFFICE OF PRORATE 445 EAT CAPITAL AVENUE   PIER            m         57501        UNITED STATE    91612007 AUa 07 S&U               912/2007 ACH        6795       3~~15.J6
       92082 GEN SOUTH DAKOTA DEPTOF REVEUE       OFFICE OF PRORATE 445 EAT CAPITAL AVENUE    PIERR           m         57501        UNITED STATE    81812007 JULY 07 S&U              8130/2007 ACn       662(,      2.107.20
       92110 GEN FLiGHTCRAFT.INC.                  7177 N.E. AIRPORT WAY ATI: GROUND SUPPORT  PORl'ND         M         97218        UNITEDSTATE     7/10/2007 732042&                 9/14/2007 SCK     5;3410         1.0.00
       92.350 EMF HENRY MCCARTHY                  CIO POPE & TALBOT INC.                      HALSEY          M         97348        UNITEDSTATE     8/24/2007 &2107                   &/2812007 SC:K    5:i.3158        100.00
       92358 GEN RO,\DSTAR TRNSPORTCOMPANY LID     20289102ndAVENUE                           LANGLEY         ~         VIM484          CANADA       717/2007 770808                   911412007 SCK    5:i352:i       1,224.00
       92.358 GEN ROADSTAR TRNSPORTCOMPANY LID     20289102ndAVEUE                           UNGLEY           OC        VIM484          CANADA      7/512007 771089                    8f1/2007 SC:K
                                                                                                                                                                                                                                         Case 07-11738-CSS




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       92.358 GEN ROADSTAR TRNSPORTCOMPANY LID     20289102ndAVENE                            LANGLEY         OC        VIM484          CANADA      712412007 771090                   8f112oo7 SCK     53.3007        1~~26.00
       92358 GEN ROADSTAR TRNSPORT COMPANY LID     20289102ndAVENUE                          lANGLEY          OC       VIM4B4           CANADA      7/512007 771232                    8113/2007 SCK    533007         1.326.00
       92358 GEN ROADSTAR TRNSPORT COMPANY LID     20289102ndAVEUE                           lANGLEY          ~        VIM41)           CANADA      8/2812007 781293                  1011012007 SCK    53:i994        1.110.00
       92402 GEN LINQUIST'S FLORAL &. GARDEN CT   95263 OAKLEA DR                            JUCTON CIll      W        97448         UNITE STATE    8/1512007 2124/07TIRU8/03107       9124/2007 SCK    533704          908.95
       92419 GEN JOHNSON, RODENBURG &. LAUINGER   300 N.P. AVENUE SUITE 105
                                                                         PO BOX 2427         FARao            ~        58108.2427    UNITEDSTATE    811112007 CIV03-2598114107         8/23/2007 SCK    533093            33.09
       92419 GEN JOHNSON, RODENBURG &. LAUINGER   300 N.P. AVENUE SUITE 105
                                                                         PO BOX 2427         FARGO            ~        58108-2427    UNITEDSTATE    7/2712007 CIV03259COPAS 718107     7/301207 SCK     532560          205.66
       92419 GEN JOHNSON. RODENBURG &. LAUINGER   300 N.P. AVENUE SUITE 105
                                                                         PO BOX 2427         FARGO            ~        58108-2427    UNITEDSTATE    8/28/2007 CIV03259COPAS 812107     8/24/2007 SCK    5;1;1167          36.23
       92419 GEN JOHNSON, RODENBURG &. LAUINGER   300 N.P. AVENUE SUITE 105
                                                                         PO BOX 2427         FARGO                     58108-2427    UNITED STATE   9/1312007 CIV0359 COPAS 9114107    9/20/2007 SCK    533574
       92437 a.IP LARRY BROBST
                                                                                                              ~                                                                                                           28.24
                                                  C/O POPE & TALBOT INC.                     HALSEY           W        97348         UNITEDSTATE     1018/2007 100107                  101912007 SCK    533969           100.00
       92601 CRT EMERALD PEOPLES ULiLITY D1ST     33733 SEAVEY LOOP RD                       EUGENE           W        97405.9614    UNITEDSTATE    7/1112007 102571                   8/13/2007 SCK    532954       98.113.84
       92601 CRT EMERALD PEOPLE'S ULiLITY D1ST    33733 SEAVEY LOOP RD                       EUGENE           w        97405-9614    UNITED STATE   8/1612007 102607                   9/2012007 SCK    533584      119.416.94
       92622 GEN SIMPSON TIMBER  COMPANY          COMMENCEMENT BAY OPERATIONS DEPT 1659      DENR             æ        80291-1656    UNITE STATE     81812007 107740FGP CAMAS  7/07    8115/2007 SCK    533051          819.70
       92762 GEN OPEN ONLINE                      POBOX47508                                 WICHITA          ~        67201.7508    UNITEDSTATE    7131/2007 238374                  9114/2007 SCK     533503          138.00
                                                                                                                                                                                                                                         Doc 266-2




       92803 OEN MINNESOTA CHILDSUPPORT           PAYMENT   CENTER     PO BOX 64306          ST. PAUL         ~        55164         UNITEDSTATE    81151207 1241585-0ITRUCK8115/07    8123/2007 SCK    533095          347.50
       92803 GEN MINNESOTA CHILDSUPPORT           PAYMENT   CENTER     PO BOX 64306          ST. PAUL         ~        55164         UNITE STATE    7/25/2007 1241585001TRUK7130/07    710/2007 SCK     532561          347.50
       92803 GEN MINNESOTA CHILD SUPPORT          PAYMENT CENTER       PO BOX 64306          ST. PAUL         ~        55164         UNITEDSTATE    8129/2007 1241585OOiTRUK8131107   9/14/2007 SCK     533411          347.50
       92803 GEN MINNESOTA CHILD SUPPORT          PAYMENT CENTER       PO BOX 64306          ST. PAUL         ~        55164         UNITE STATE    9/271007 1241585001TRUKH9/28107    10132007 SCK     533863          347.50
       92803 GEN MINNESOTA CHILD SUPPORT          PAYMENT   CENTER     PO BOX 64306          ST. PAUL         ~        55164         UNITED STATE   9/22/2007 12521117 BAKK9/25107    912/2007 SCK      533834          257.40
       92803 GEN MINESOTA CHILDSUPPORT            PAYMNTCENTER         PO BOX 64306          ST. PAUL         ~        55164         UNITED STATE   8/8/2007 12521117BAKK 8/28107     8/24/2007 SCK     533170          257.40
       92803 GEN MINNESOTA CHILD SUPPORT          PAYMENT CENTER       PO BOX 64306          ST. PAUL         ~        55164         UNITEDSTATE    9/1312007 12521117BAKK 9114107    9/20/2007 SCK     533577          257.40
       92803 GEN MINESOTA CHILDSUPPORT            PAYMENT CENTER       PO BOX 64306          ST. PAUL         ~        55164         UNITEDSTATE    1019/2007 12521117BAKKIOIIO/07    10/1112007 SCK    534007          257.40
       92803 GEN MINNESOTA CHILDSUPPORT           PAYMENT CENTER       PO BOX 64306          ST. PAUL         ~        55164         UNITEDSTATE    9/IY2OO7 TRUKHOV 9/14107          9/20/2007 SCK     533577          347.50
       92803 GEN MINNESOTA CHILD SUPPORT          PAYMENT CENTER       PO BOX 64306          ST. PAUL         ~        55164         UNITED STATE   10/13/2007 TRUKKOV 10/13107       10117/2007 SCK    5.34087         417.00
       9284.3 GEN YOKOGAWA CORP.OFAMERICA         P.O.BOX409220                              ATLNTA           M        30384-9220    UNITE STATE    711912007 199468                  91241207 SCK      533791          165.00
       92843 GEN YOKOGAWACORP. OF AMERICA         P.O.BOX409220                              ATLNTA           M        30384-9220    UNITED STATE   7/1912007 199517                  9/2412007 SCK     533791          809.87
       92869 GEN TR-~tE                           4012SEI7TIAVEE                             PORl1ND          M        97202         UNITE STATE    71261007 BUS PASS AUGUST 2007      81312007 SCK     532750        2.940.81
       92869 GEN 'f-MET                           40125E 17TIAVEE                            PORl1ND          W        97202         UNITE STATE    9/26/2007 BUSPASSOCTl007           10/3/2007 SCK    533870        2,905.17
       92869 GEN TR-MET                           4012SEI7TIAVEE                             PORTLND          W        97202         UNITEDSTATE     81612007 PASSESAua 2007          811312007 SCK     532920           73.26
       92869 GEN 'f-MET                           4012SE 17TIAVEE                            PORl1ND          W        97202         UNITEDSTATE    8/71007 TRME PASSES SEPn007       8/24/2007 SCK     533176        3,055.65
       93039 GEN BURLINGTON NORTHERN & SANTA FE 3110 SOLUTONS CENTER                         CHICAGO          ~        60677_3001    UNITEDSTATE     81812007 7081207                 9/1212007 SCK     390743        1.639.09
       93039 GEN BURLINGTON NORTIIERN &. SANTA FE 3110 SOLUTIONS CENTER                      CHICAGO          ~        60677_3001    UNITEDSTATE    ó/21007 762060822                  8/312007 SCK     532771          475.00
                                                                                                                                                                                                                                         Filed 01/04/08




       93039 GEN BURLINGTON NORTHERN & SANTA FE 3110 SOLUTIONS CENTER                        CHICAGO          ~        606773001     UNITEDSTATE    7/1912007 763068168                8/312007 SCK     532771          400.00
       93079 GEN USNR.WOODLAND DIVISION           POBOX310                                   WOODLAND        ~         98674         UNITEDSTATE    6/8/2007 59609                     8/3/2007 SCK     390619          27277
       93079 GEN USNR.WOODLAND DIVISION           POBOX310                                   WOODLAND        ~         98674         UNITED STATE    7/6/007 59969                    8f112007 SCK      390707          152J6
       93079 GEN USNR.WOODLAND DIVISION           POBOX310                                   WOODUND         ~         98674         UNITE STATE    7/1212007 60304                   911412007 SCK     390805        1,126.08
       93138 OEN RSG FORETPRODUCTS,INC.           985 N W 2ND AVEE                           KALAMA          ~         98625         UNITEDSTATE    7/1912007 93138107072             713112007 SCK     532685       17.964.70
       93138 GEN RSG FOREST PRODUCTS, INC.        985 N W 2ND AVEE                           KAlAMA          ~         98625         UNITED STATE    813/2007 93138107081             8/1512007 SCK     5:i3044      20.881.9.3
       93138 GEN RSG FORETPRODUCT,INC.            985 N W 2ND AVEE                           KAlAMA          ~         98625         UNITED STATE   8/20/2007 93138107082             813112007 SCK     533200       13.099.28
       93138 GEN RSGFORESTPRODUCTS.INC,           985 N W 2ND AVEE                           KALAMA          ~         98625         UNITED STATE    9/6/2007 93138107091             9/14/2007 SCK     533356        9.IM.50
       93138 GEN RSGFORETPRODUCTS,lNC.            985 N W 2ND AVEE                           KALAMA          ~         98625         UNITEDSTATE    91201007 93138107092               10/512007 SCK    533951        1.724.16
       93138 GEN RSG FORET PRODUCT,INC.           985 N W 2ND AVENE                          KAlAMA          ~         98625         UNITE STATES   10/312007 93138107101             1011512007 SCK    5.34065       1.245.60
       93222 GEN SWANSON BROSLUMBERCO.,INC        POOOX309                                   NOT!            W         97461         UNITE STATE    7/191207 93222107072              713112007 SCK     532690        7,22i.0
       93222 GEN S\\ANSONBROSLUMBERCO.,INC        POBOX309                                   NOT!            W         97461         UNITE STATE     81312007 93222107081             8115/2007 SCK     53:i053      10.246.50
       93222 GEN SWANSON BROS LUMBERCO.,INC       POOOX309                                   NOT!            W         97461         UNITEDSTATE    8120/2007 93222107082             813112007 SCK     533205       10.148.00
       93222 GEN SWANSON BROSLUMBERCO.,INC        POBOX309                                   NOT!            W         97461         UNITEDSTATE    9/612007 93222107091              9/1412007 SCK     533360       10.07750
       93222 GEN SWANSON BROSLUMBERCO.,INC        POBOX309                                   NOT!            W         97461         UNITEDSTATE    9/20/2007 93222107092              1015/2007 SCK    533956       10.241.40
       93222 GE:'J SWANSON BROS LUMBERCO.,INC     POBOX309                                   NOT!            w         97461         UNITED STATE   101312007 93222107101             10/15/2007 SCK    534067       11,154.00
                                                                                                                                                                                                                                         Page 4 of 25




       93245 GEN SPEARFISH YOUTI SOCCER           POBOX53                                    SPEARFISH       m         57783         UNITEDSTATE    6/1812007 2007.07.130              8/3/2007 SCK     390614          150.00
       9.34.3 GEN C.TRN                           P.O.BOX2529                                VANCOWE                   98668.2529    UNITED STATE   7/271007 BUSPASSAUGUST    2007    713012007 SCK     532554
       93437 GEN C.TRN
                                                                                                             ~                                                                                                          210.00
                                                  P.O. BOX 2529                              VANCOUVR        ~         98668.2529    UNITED STATE   8/30/2007 BUS PASSES 8107         911412007 SCK     533405          210.00
       93437 GEN CTRN                             P.O. BOX 2529                              VANCOUVR        ~         98668.2529    UNITE STATE    10111007 C.TRNOCT22007            101512007 SCK     53J885          210.00
       93481 GEN OREGON SECREARYOFSTATE           P.O.BOX4353                                PORTLND         w         97208-4353    UNITE STATE    91212007 45584-90/46233-93        10/3/2007 SCK     533867          100.0
       93620 GEN BANKOFNEWYORK                    CORPORATE TRUST BILLING DEPT PO BOX 19445A NEWARK          m         07195.(445    UNITEDSTATE    611212007 2007066367               813/2007 SCK     532762        6,644.47
       93620 GEN BANKOFNEWYORK                    CORPORATE TRUST BILLING DEPT PO BOX 19445A NEWARK          m         07195.(445    UNITEDSTATE    711712007 20070671636              8132007 SCK      532762        7,950.00
       93638 GEN ELGIN, JOLIET & EASTERN          RALWAYCOMPANY P.O. BOX 360931              PllTBURGIl      M         15251.6931    UNITED STATE   7/4/2007 18769                    9/18/2007 SCK     533558          721.88
       93758 GEN PHILIP SERVICES
                               CORPRATION         ATT: SHELLEY DELAEY 4430 N PACIAC          BELUNGHAM       ~         98226         UNITEDSTATE    7/24/2007 136006745               9/2412007 SCK     533747          968.20
       93758 GEN PHILIP SERVICECORPORATION        ATI: SHELLEY DELAEY 4430 N PACIRC          BELUGHAM        ~         98226         UNITEDSTATE    7/24/2007 136006745               9/24/2007 SCK     533747         (968.20)
       93758 GEN PHILIP SERVICES
                               CORPORATION        ATI: SHELLEY DELAEY 4430 N PACIRC          BELGHAM         ~         98226         UNITE STATE    71212007 136022013                9/24/2007 SCK     533747          939.36
       93778 GEN NORTlERN HILLS FEDERAL           CREDIT UNION P.O. BOX 759                  STIROIS         m         57785         UNITE STATE    1019/2007 6-98'(1 WEVER10/10/07   10111/2007 SCK    534009           40.77




                                                                                                            ClQof137                                                                                    SOFA Aft. 3-a1 Vender Payments
Pope & Talbot, Inc.
Case No. 07-11738 (CSS)
Attachment SOFA 3-a1
Payments to Creditors Between 07130/2007 and 10/28/2007

Vendor Cla__ Vcndflrilanic .\ddre~~ C:lt)',\ddre," ~~~,~~: r",laIÇ..de Coiiilry InVl.lçcllale In."okc Cheeklhile I'~t~~:~ll 'J~:~~~i~~~n USUAnl"linl
        93778    GEN     NORTHERN HILLS FEDERAL            CREDIT UNION        P.O. BOX 759                    STIRGIS        SD        57785        UNITEDSTATE     91221200769801 WEAVER  9/25107       9/2812007   SCK   533835         34.15
        93778    GEN     NORTHERN HILLS FEDE&\L            CREDIT UNION        P.O. BOX 759                    SruRGIS        SD        57785        UNITED STATE    812812007QUENTIN \\I VER 8/28/07     8/2412007   SCK   533171         20.03
        93778    OF.N    NORTHERN HILLS FEDERAL            CREDIT UNION        P.O. BOX 759                    SlURGIS        SD       57785         UNITEDSTATE     91I3/2007 \\lVER9/14'07              9120/2007   SCK   533578           1.0
        93783    GEN     SUPERIOR SAN ITA TJON              P.O.BOX522                                         SPEARFISH      SD       57783         UNITEDSTATE     7/1/207 2114                         81312007    SCK   390616        135.20
        93787    GEN     TOCHEALTII & WELFARE TRUST        C/O LOCKBOX DEPARTMENT     P.O. BOX 4500. UNIT 74   POR11ND        OR       97208         UNITEDSTATE    10119/2007 HALSEY ODSNOL 10107       1012/2007    SCK   534159     10.886.25
        9:;87    GEN     TOC Iir:ALTII & WELFARE TRUST     C/O LOCKBOX DEPARTMENT     P.O. BOX 4500. UNIT 74   PORTLND        OR       97208         UNITEDSTATE     8/2712007ODS PREM HAL IlRLY 8107     8/24/2007   SCK   533173     11.188.59
        93787    GEN     TOCHEALTH  & WELF,\RETRUST        C/O LOCKBOX DEPARTMENT     P.O. BOX 4500. UNIT 74   POR11ND        GR       97208         UNITEDSTATE     8'~2007 ODSNOL HALSEY 6107           8132007     SCK   532700     11.002.44
        93787    GEN     TOC HEALTH & WELFARE TRlIST       C/O LOCKBOX DEPARTMENT     P.O. BOX 4500. UNIT 74   PORTùND        GR       97208         UNITEDSTATE     8/112007 ODSNOL HALSEY 7/07          81312007    SCK   532701     11.002.44
        93787    GEN     TOC HEAI.TH & \\'EI.FARE TRlIST   CIO LûCKBOX DEPARTMENTP.O. BOX 4500. UNIT 74        PORTùND        GR       97208         UNITED STATE    91212007 ODSNOL IlRL YISAL Y 9/07    10/512007   SCK   533893     11,062.55
        93847    GEN     STATEOFOREON                      DEPT OF HUMA SERVICES PO BOX 14260                  PORTùND        GR       97293-0260    UNITED STATE    8120/20070RE905767107.6108           81212007    SCK   533102      2,2lìO.00
       938lìlì   GI:'N   SANDFORD LOGGING INC.             20039 SUNSET VISTA PLACE                            SPEARFISH      SD       57783         UNITED STATE    812007 ULI04272                      81312007    SCK   532733     40.965.40
       938lì8    GEN     SANDFORD LOGGING INC.             20039 SUNSET VISTA PLACE                            SPEARFISH      SD       57783         UNITED STATE    81912007 ULI04311                    81I0/2007   SCK   532lì94    23.548.65
       93888     GEN     SANDFORD LOGGING INC.             20039 SUNSET VISTA PLACE                            SPEARFISH      SD       57783         UNITE STATE     81912007 ULI04347                    8/10/2007   SCK   532lì94    37.797.31
       93lì88    GEN     SANDFORD LOGGING INC.             20039 SUNSET VISTA PLACE                            SPEARFISH      SD       57783         UNITEDSTATE     8121207 ULI04419                     8124/2007   SCK   533144     67.679.92
       9388lì    GEN     SANDFORD LOGGING INC.             20039 SUNSET VISTA PLACE                            SPEARFISH      SD       57783         UNITED STATE    8130/2007 ULI04456                   813112007   SCK   533240     34.863.70
       93888     GEN     SANDFORD LOGGING INC.             20039 SUNSET VISTA PLACE                            SPEARFISH      SD       57783         UNITED STATE    91612007 ULl04491                    9n12007     SCK   533280     43.970.39
       93lì88    GEN     SANDFORD LOGGING INC.             20039 SUNSET VISTA PLACE                            SPEARFISH      SD       57783         UNITEDSTATE     9/13/2007 ULl0456I                   9/14/2007   SCK   533395     17.139.73
       93lì88    OEN     SANDFORD LOGGING INC.             20039 SUNSET VISTA PLACE                            SPEARFISH      SD       57783         UNITEDSTATE     9/2012007 ULl04592                   912112007   SCK   533615     30.108.77
       93888     GEN     SANDFORD LOGGING INC.             20039 SUNSET VISTA PLACE                            SPEARFISH      SD       57783         UNITEDSTATE     91271007 ULl04621                   91281207     SCK   533818     24.835.80
       938lìlì   GEN     SANDFORD LOGOING INC.             20039 SUNSET VISTA PLACE                            SPEARFISH      SD       57783         UNITEDSTATE     10/41207 ULI04650                    101512007   SCK   533935     27.929.87
       938lì8    GEN     SANDFORD LOOOING INC.             20039 SUNSET VISTA PLACE                            SPEARFISH      SD       57783         UNI1CDSTATE    10/112007 ULI04682                   1011212007   SCK   534051     28.407.49
       93888     GEN     SANDFORD LOGOING INC.             20039 SUNSET VISTA PLACE                            SPEARFISH      SO       577lì3        UNITEDSTATE    10/1812007 ULl04709                  1011912007   SCK   534138     38.014.81
       93888     GEN     SANDFORD LOGGING INC.             20039 SUNSET VISTA PLACE                            SPEARFISH      SD       57783         UNITEDSTATE    10/2512007 ULl04734                  10'24/2007   SCK   534216     24.892.37
       93lì95    GEN     KOOTEAY WOOD TRNSPORT LTD         BOX3517                                             AIRDRIE        AB       T4B2B7          CANADA        7/2512007 4937                      9/18/2007    SCK
                                                                                                                                                                                                                                                           Case 07-11738-CSS




                                                                                                                                                                                                                            533562        696.00
       93lì95    OEN     KOOTENAY WOOD TRANSPORT LID       BOX3517                                             AIRDRIE        AB       T4B2B7          CANADA       6/612007 14600                        7130/2007   SCK   532621      1.260.00
       93lì95    GEN     KOOTENAY WOOD TRNSPORT LTD        BOX3517                                             AIRDRIE        AB       T4B2B7          CANADA       612/2007 74638                        7130/2007   SCK   532621      1.602.00
       93895     OEN     KOOTEAY WOOD TRNSPORT LTD         BOX3517                                             AIRDRIE        AB       T4B287          CANADA       6/7/2007 74666                       713012007    SCK   532621      1.260.00
       93895     OEN     KOOTEAY WOOD TRNSPORTLTD          BOX3517                                             AIRDRIE        AB       T4B287          CANADA        71812007 74895                      9118/2007    SCK   533562        696.00
       93895     GEN     KOOTEAY WOOD TRNSPORT LTD         BOX3517                                             AIRDRIE        AB       T4B2B7          CANADA       712/2007 74932                       9118/2007    SCK   533562      l.5lì6.00
       93895     OEN     KOOTEAY WOOD TRNSPORT LTD         BOX3517                                             AIRDRIE        AB       T4B2B7          CANAD.\      712/2007 74964                       9118/2007    SCK   533562        672.00
       93895     GEN     KOOTEAY WOOD TRNSPORT LTD         BOX3517                                             AIRDRIE        AB       T4B2B7          CANADA       71311200775021                       9/18/2007    SCK   533562      1.080.00
       93895     GEN     KOOTEAY WOOD TRNSPORT LTD         ßOX3517                                             AIRDRIE        AB       T4B2B7          CANADA       71212007 75068                       9118/2007    SCK   533562        672.00
       93895     GEN     KOOTEAY WOOD TRNSPORT LTD         BOX3517                                             AIRDRIE        AB       T482B7          CANADA        8191207 75116                        101512007   SCK   533966      1.512.00
       93lì95    OEN     KOOTENAY WOOD TRNSPORT LID        BOX3517                                             AIRDRIE        AB       T4B2B7          CANADA       8/1612007 75186                      10/1012007   SCK   533991      \,OlìO.OO
       93895     GEN     KOOTEAY WOOD TRNSPORT LTD         BOX3517                                             AIRDRIE        AB       T4B2B7          CANADA       8/10/2007 75207                       10'512007   SCK   533966        696.00
       93895     OEN     KOOTEAY WOOD TRNSPORT LTD         BOX3517                                             AIRDRIE        AB       T4B2B7          CANADA        81912007 75210                       10'512007   SCK   533966      1.926.00
       93895     GEN     KOOTEAY WOOD TRNSPORT LTD         BOX3517                                             AIRDRIE        AB       T4B2B7          CANADA       8/1612007 75214                      10110'2007   SCK   533991      1.512.00
                                                                                                                                                                                                                                                           Doc 266-2




       93895     OEN     KOOTEAY WOOD TRNSPORT LTD         BOX3517                                             AIRDRIE        AB       T4B2B7          CANADA       8/1312007 75297                      10110/2007   SCK   533991      1.512.00
       94068     OEN     OAKWOOD CORPORATE HOUSING         FILE56739                                           LOS ANGELES    CA       90074-6739    UNITED STATE   71311200792263050731                 9/1412007    SCK   533500      2.398.00
       94118     OEN     SPEARFISH LIONS DILLY             C/O MIKE KONSTANT PO BOX 172                        SPEARFISH      SD       57183         UNITED STATE    7/112007 2007 GOLF TOURNAMENT        8132007     SCK   390612        125.00
       94227     GEN     WASTE CONNONS OF WEST SD          BELLE FOURCHE DISTRICT 3030 DEPT 1433               LOS ANGELES    CA       90084-1433    UNITEDSTATE     7/112007 4580530                     81312007    SCK   390621      \,023.71
       94227     GEN     WASTE CONNECONS OF WEST SD        BELLE FOURCHE DISTRICT 3030 DEPT 1433               LOS ANGELES    CA       90084-1433    UNITE STATE     8/112007 499503                     9/2IJ2007    SCK   390905        986.25
       94254     OEN     MID.vALLEY NEWSPAPER              P.O.BOX368                                          CORVALLIS      GR       97339.036lì   UNITE STATE    713/2007 25748020                    9/2412007    SCK   533703        524.86
       94254     OEN     MID-VALLEY NEWSPAPER              P.0.80X368                                          CORVALLIS      GR       97339.0368    UNITEDSTATE    713/2007 2574lì020.                   101912007   SCK   533978        524.86
       94254     OEN     ~lio.VALLEY NEWSPAPER             P.O.BOX368                                          CORVALLIS      GR       97339-0368    UNITEDSTATES   71311200725748020CM                   101912007   SCK   533978       (524.lì6)
       94254     OEN     Mlo.VALLEY NEWSPAPER              P.O. BOX 368                                        CORVALLIS      OR       97339-0368    UNffSTATE      6130/2007 31627401                    8131207     SCK   53280lì     U41.2
       94340     GEN     Q\VET                             P.O. BOX 91073                                      SEATTE         WA       98111-9173    UNITEDSTATE    718/2007 50322003107/2/07            81112007     SCK   533004          42.24
       94340     GEN     Q\VET                             P.O.BOX91073                                        SEATTE         WA       98111-9173    UNITED STATE   812lì1200750322003108128/07          9124/2007    SCK   533751          42.16
       94340     GEN     Q\VET                             P.0.BOX91073                                        SEATTE         WA       98111.9173    UNITEDSTATE     8/112007 50322179288101107          9/14/2007    SCK   533520          76.83
       94340     GEN     Q\VET                             P.0,BOX91073                                        SEATTE         WA       98111.9173    UNITEDSTATE     7/112007 5032217928547B7fOII07      7130/2007    SCK   532646          75.7
       94340     GEN     Q\VET                             P.0.80X91073                                        SEATTE         WA       98111.9173    UNITEDSTATE    71912007 5032234100712107            81112007     SCK   533004         188.86
       94340     GEN     Q\VET                             P.O.BOX91073                                        SEATTE         WA       98111.917     UNITED STATE   81212007 50322341008129107           912412007    SCK   533751         188.40
       94340     GEN     QWEST                             P.O.BOX91073                                        SEATTE         WA       98111.9173    UNITED STATE    8/512007 503227880390lì/05f07       9/14/2007    SCK   533520          43.71
       94340     GEN     Q\VET                             P.O.80X 91073                                       SEATI          WA       98111.9173    UNITE STATE     8/512007 50322788808/05107          91141207     SCK   533520          43.71
       94340     GEN     Q\VET                             P.O.BOX91073                                        SEATI          WA       98111-9173    UNITE STATE     7/512007 5032278880390B7/05107      713012007    SCK   532646          43.52
                                                                                                                                                                                                                                                           Filed 01/04/08




       94340     OEN     Q\VET                             P.O.BOX91073                                        SEATI          WA       98111-9173    UNITE STATE    7/171007 50322891617/17107            81312007    SCK   532lì30        297.43
       94340     OEN     Q\VET                             P.O.BOX91073                                        SEATI          WA       98111-9173    UNITE STATE    8/1712007 5032289161lì1l7/07         912412007    SCK   533751         293.04
       94340     OEN     Q\\'T                             P.0.BOX91073                                        SEATI          WA       98111-9173    UNITE STATE     8/4/2007 50329511438104/2007        911412007    SCK   533520          92.57
       94340     OEN     Q\VET                             P.0.80X91073                                        SEATI          WA       98111-9173    UNITE STATE    71171200750369736457117107            813/2007    SCK   532830         115.40
       94340     GEN     Q\VET                             P.0.BOX91073                                        SEATI          WA       98111-9173    UNITEDSTATE    7/171007 5031'208027/17107            81312007    SCK   532830          53.79
       94340     GEN     Q\VET                             P.O.OOX91073                                        SEATI          WA       98111-9173    UNITEDSTATE    8117120075031'208028lì3B8I17107      9124/2007    SCK   533751          53.79
       94340     GEN     Q\VET                             P.0.80X91073                                        SEATTE         WA       98111-9173    UNITEDSTATE    71112007 503T6214797/17/07            81312007    SCK   532830         663.10
       94340     GEN     QWET                              P.0.80X91073                                        SEATI          WA       98111.9173    UNITEDSTATE    811112007503T621479597B8/17107       9124/2007    SCK   533751        663.10
       94446     GEN     CVD CONSTRUCTON.INC               514S32NDST.                                         SPEARFISH      SD       57783         UNITEDSTATE     8/612007 8750                       81112007     SCK   390640         416.00
       94539     EM'     MIKE BRENDEN                      C/ POPE& TALBOT INC.                                HALSEY         OR       97348         UNITEDSTATE    9/2612007 92507                      9/28/2007    SCK   533827         246.38
       94660     OEN     AUTOLINECONTROLS.INC              P.O. BOX 12839                                      MILL CREEK     WA       98082         UNITE STATE    6/612007 306499                      7130/2007    SCK   532582        641.00
       94856     OEN     JAMES BRIKLEY CO. INC.            3327 NE 125TH.SUITE 104                             SEATIE         WA       98125         UNITED STATE   61221007 23302                       7130/2007    SCK   532586      6,555.00
       94856     GEN     JAMES BRIKLEY CO.
                                        INC.               3327 NE 125TH. SUITE 104                            SEATTE         WA       98125         UNITEDSTATE     7/212007 23302.F                    9/14'2007    SCK   533437         140.74
       94lì59    GEN     WOODFORD CONSTRUCTION INC.        P.O.BOX6039                                         CUSTE          SD       57730         UNITEDSTATE     9n12007 9n12007                     10'512007    SCK   533908     llì.OOO.OO
       94lì59    OEN     \..OODFORD CONSTRUCTION INC.      P.0.80X6039                                         CUSTER         SD       57730         UNITE STATE    713012007PlANTING TS 7130/07         81112007     SCK   390712      2.224.80
       94lì59    GEN     WOODFORD CONSTRUCTION INC.        P.O.80X6039                                         CUSTE          SD       57130         UNITE STATE    lìlll12007 PlANTIG TS ROAD AUG07     911412007    SCK   390lì09    14,460.lìO
                                                                                                                                                                                                                                                           Page 5 of 25




       94lì59    GEN     WOODFORD CONSTRUCTON INC.         P.O.BOX6039                                         CUSTE          SD       57730         UNITE STATE    lì/2012007PlANTlGTSROAD 8/20/07      912I2007     SCK   390910     28.224.20
       94859     GEN     WOODFORD CONSTRUCTON INC.         P.O. BOX
                                                                  6039                                         CUSTE          SD       57130         UNITE STATE    811112007STRKE TS AUG 07             91141207     SCK   390lì09     1.872.00
       94859     OEN     WOODFORD CONSTRUCTON INC.         P.O.BOX6039                                         CUSTER         SD       57730         UNITE STATES   711612007STRKE TS ROAD 7/2007        713012007    SCK   W0562      15.104.00
       94859     OEN     WOODFORD CONSTRUCTON INC.         P.O.BOX6039                                         CUSTER         SD       57730         UNITED STATE    81912007 ULI04315                   811012007    SCK   532898      1.062.50
       94lì59    OEN     \VOODFORD CONSTRUCTION INC.       P.0.80X6039                                         CUSTER         SD       57730         UNITED STATE   813/2007 ULI04422                    8/24/2007    SCK   533149     13.745.01
       94lì59    GEN     WOODFORD CONSTRUCTION INC.        p.O.nOX6039                                         CUSTER         SD       57730         UNITEDSTATE    8130/2007 ULI04460                   813112007    SCK   533243      2.355.96
       94lì59    OEN     WOODFORD CONSTRUCTION INC.        P.O.BOX6039                                         CUSTER         SD       57730         UNITED STATE    9/6/007 ULI04495                     9nJ2007     SCK   533282        705.00
       94lì59    GEN     WOODFORD CONSTRUCTION INC.        P.O.80X6039                                         CUSTER         SO       57730         UNITED STATE   9/13/2007 ULI04566                   9/1412007    SCK   533397      1.487.50
       94859     GEN     WOODFORD CONSTRUCTON INC.         P.O.BOX6039                                         CUSTE          SD       57130         UNITEDSTATE    912012007ULI04598                    912/2007     SCK   533617      1.020.00
       94859     GEN     WOODFORD CONSTRUCTON INC.         P.O. BOX 6039                                       CUSTE          SD       57130         UNITED STATE   91212001 ULI04625                    9/2lì12oo7   SCK   533820        935.00
       94859     OEN     WOODFORD CONSTRUCTON INC.         P.O. BOX 6039                                       CUSTE          SD       57730         UNITE STATE    10/412007ULi04653                    101512007    SCK   53~937      2.125.00
       94859     GEN     WOODFORD CONSTRUCTON INC.         P.O.BOX6039                                         CUSTE          SD       57130         UNITEDSTATE    1012512007 ULl04739                  1012412007   SCK   534218      1.418.64




                                                                                                                             700'137                                                                                        SOFA Atl3-a1 Vendor Payments
Pope & Talbot, Inc.
Case No. 07-11738 (CSSl
Attachment SOFA 3-a1
Payments to Creditors Between 07130/2007 and 10/28/2007

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       94862   CRT   STERN OIL CO. INC.             P.O. BOX 218                           FREN            SO       57029        UNITEDSTATE    71812007 1353-IN               81212007     EDI    39026        520.58
       94862   CRT   STERN OIL CO. INC.             P.O. BOX 218                           FREBvN          SO       57029        UNITEDSTATE    7118/2007 1356-IN              10122/2007   EDI   101910      4,301.16
       94862   CRT   STERN OIL CO. INC.             P.O. BOX 218                           FREEMAN         SO       57029        UNITEDSTATE    71812007 1356-1N               10/2212007   EDI   101910     (4,301.6)
       94862   CRT   STERN OIL CO. INC.             P.O. BOX 218                           FREEMN          SO       57029        UNITED STATE   71812007 1356-IN.              9/121007     EDI    39040      4~'01.16
       94862   CRT   STERN OIL CO. INC.              P.O.BOX218                            FREEMN          SO       57029        UNITED STATE   71912007 1392-1N               81212007     ED!    39026      4~'4i.44
       94862   CRT   STERN OIL CO. INC.              P.O.BOX218                            FREEMN          SO       57029        UNITED STATE   7/19/2007 1394-IN              812/2007     EDI    39026      3,552.70
       94862   CRT   STERN OIL CO. INC.              P.O.BOX218                            FREN            SO       57029        UNITEDSTATE    7/19/2007 n95.IN               812/2007     EOI    39026        512.26
       94862   CRT   STERN OIL CO. INC.              P.O.BOX218                            FREtAN          SO       57029        UNITEDSTATE    7121/2007 1651-IN              8130/.2007   EDI    39027        780.78
       94862   CRT   STERN OIL CO. INC.             P.O. BOX 218                           FREtAN          SO       57029        UNITEDSTATE    7131120072363-IN                9n/2007     ED!    39038        411.90
       94862   CRT   STERN OIL CO. INC.              l.O. BOX218                           FREEMN          SO       57029        UNITED STATE   8117/20073469_IN               9/21/2007    EOI    39048      7.201.10
       94862   CRT   STERN OIL CO. INC.             P.O. BOX 218                           FREEMN          SO       57029        UNITEDSTATE    8/21007 3847.IN                9/27/2007    EDI    ;\9067       52058
       94862   CRT   STERN OIL CO. INC.             P.O. BOX 218                           FREatAN         SO       57029        UNITEDSTATE    8124/20074033-IN                1011/2007   ED!    ;\9073     2.441.71
       94862   CRT   S'fRN OIL CO. INC.             P.O. BOX 218                           FREEMAN         SO       57029        UNITEDSTATE    8/9/2007 4305-IN               IOm/2007     ED!    39084      5.001.6
       94862   CRT   STERN OIL CO. INC.              P.O.BOX218                            FREN            SO       57029        UNITED STATE   8131120074618.IN               10/17/2007   EOI    ;\9084     1.796.80
       94862   CRT   STERN OIL CO. INC.              P.O.BOX218                            FREEMN          SO       57029        UNITEDSTATE    811/2007 4619-IN               IOm/2007     EDI    39084      1.540.84
       94862   CRT   STERN OIL CO. INC.              P.O.BOX218                            FREatAN         SO       57029        UNITEDSTATE    8131120074623-IN               10J1712007   EOI    39084      5.660.87
       94862   CRT   STERN OIL CO. INC.             P.O. BOX 218                           FREatAN         SO       57029        UNITED STATE   51311200748221                  8/112007    EDI    39012      5.838.05
       94862   CRT   STERN OIL CO. INC.             P.O. BOX 218                           FREtAN          SO       57029        UNITED STATE   51311200748224                  8JJ2007     EDI    39012      1.132.09
       94862   CRT   STERN OIL CO. INC.             P.O. BOX 218                           FREN            SO       57029        UNITEDSTATE    6125/2007 48368                 8/112007    ED!    39012        494.52
       94862   CRT   STERi~ OIL CO. INC.            P.O. BOX 218                           FREN            SO       57029        UNITEDSTATE    6/29/2007 48414                 8/812007    EDI    39014      6,537.0
       94862   CRT   STERN OILCO. INC.               P.O.BOX218                            FREEMN          SO       57029        UNITED STATE   619/2007 48415                  8/8/2007    ED!    39014      1,888.48
       94862   CRT   STERN OILCO. INC.              P.O. BOX 218                           FREEMN          SO       57029        UNITEDSTATE    612/2007 48469                  8JJ2007     EOI    39012        511.94
       94862   CRT   STERN OIL CO. INC.             P.O. BOX 218                           FREN            SO       57029        UNITEDSTATE    9112120075090_IN               1012212007   EOI   101910      1.545.03
       94862   CRT   STERN OILCO.INC.               P.O.BOX218                             FREN            SO       57029        UNITEDSTATE    911/2007 5199-IN               10122/2007   ED!   101910      7,908.39
                                                                                                                                                                                                                                   Case 07-11738-CSS




       94862   CRT   STERN OILCO. INC.              P.O.BOX218                             FREN            SO       57029        UNITEDSTATE    9/17/2007 5545-IN              1012/2007    ED!   101923        394.20
       94&62   CRT   STERi~ OIL CO. INC.            P.O.BOX21&                             FREtAN          SO       57029        UNITEDSTATE    612912007619/2007              1012512007   EDI   101923        528.32
       94909   GEN   CULLIGAN OF THE NORTHERN HILLS3335 EAST COLORADO BLVD.                SPEARFISH       SO       57783-9404   UNITEDSTATE    7/26/2007 45.                  9Jl412007    SCK   390771        180.00
       94919   GEN   NORTHWEST PRINT STRTEGIES      8175SWNIMBUS                           BEAVERTON       OR       97008        UNITEDSTATE    615/2007 156572                713012007    SCK   5n629         136.82
       94919   GEN   NORTH\VET PRINT STR TEOIES     8175SWNIMBUS                           BEAVERTON       OR       97008        UNITEDSTATE    7/1112007 156915               8/1312007    SCK   532988        872.6
       949~6   DEN   S8A                            DEPT LA 1368         PO BOX 836R9      CfICAGO         IL       60690_3689   UNITED STATE    7n/2007 8007317531            81112007     SCK   5HOIO       3~"9.15
       94936   GEN   SEA                            DEPTI. 136&          PO BOX R3689      CHICAGO         IL       60690-3689   UNITEDSTATE     8/4/2007 8007516214           911412007    SCK   533525      2J62.13
       94973   GEN   COURTEY DEUVERY SERVICE        P.O.BOX26001                           EUGENE          OR       97402        UNITEDSTATE    6119/2007 199137               9/2412007    SCK   533663         3260
       94973   GEN   COURTEY DELIVERY SERVICE        P.O.BOX26001                          EUGENE          OR       97402        UNITED STATE    3/612007 2~0008               8/24/2007    SCK   533182         30.95
       94973   GEN   COURTEY DEll VERY SERVICE      P.O.BOX26001                           EUGENE          OR       97402        UNITED STATE    319/2007 131738               8/2412001    SCK   5)3182         30.95
       94973   GEN   COURTESY DELIVERY SERVICE      P.O.BOX26001                           EUGENE          OR       97402        UNITEDSTATE     3/812007 2~1810               9/24/2007    SCK   533663         ;\1.00
       94973   GEN   COURTEY DELlVERY SERVICE       P.O.BOX26001                           EUGENE          OR       97402        UNITEDSTATE    3/1312007 231982               9/242001     SCK   533663         ~0.95
       94973   GEN   COURTEY DELlVERY SERVICE       P.O.BOX26001                           EUGENE          OR       97402        UNITEDSTATE    6/1312007 239525               8/24/2007    SCK   533182         31.5
                                                                                                                                                                                                                                   Doc 266-2




       94980   GEN   LlNWELD INC.                    1311 E ST. JOSEPH                     RAPID CILY      SO       57701        UNITE STATE    713112007R058160               8/13/2007    SCK   ~90669         ~9.79
       949&0   GEN   LlNWELD INC.                    1311 EST. JOSEPH                      RAPID CILY      SO       57701        UNITEDSTATE    713112007R058161               81112007     SCK   390669        188.81
       94980   GEN   UNWELD INC.                     1311 EST. JOSEPH                      RAPID CLn'      SO       57701        UNITED STATE   6/1112001 RC303&1              811/2007     SCK   390669         92.14
       949&0   GEN   UN\VELD INC.                    1311 EST. JOSEPH                      RAPID CLLY      SO       57101        UNITE STATE    611812007RC306&0               811312007    SCK   ~90669       33368
       94980   GEN   UN\VELD INC.                    131 E ST. JOSEPH                      RAPID CILY      SO       57101        UNITE STATE    ,7/3/2007 RC31191              8/13/2007    SCK   390669        166.09
       94980   GEN   UN\VELD INC.                    131 E ST. JOSEPH                      RAPID CLLY      SO       57101        UNITEDSTATE    7110/2007 RC31436              8113/2007    SCK   390669         28.96
       94980   GEN   UNWELD INC.                     13 I I E ST. JOSEPH                   RAPID CLLY      SO       57101        UNITE STATE    71161007 RC31710               8/13/2007    SCK   390669         92.50
       94980   GEN   UN\VELD INC.                    13 I I E ST. JOSEPH                   RAPID CLLY      SO       57101        UNIT STATE     7/2312007 RC31956              8113/2007    SCK   390669        109.61
       94980   GEN   UN\VELD INC.                    1311 EST.JOSEPH                       RAPID CLLY      SO       57101        UNITEDSTATE     8nJ2007 RC32286               9/2112007    SCK   390&71         52oS8
       94980   GEN   UNWELD INC.                     13 lIE ST. JOSEPH                     RAPID CLLY      SO       57101        UNITE STATE    8117/2007 RC3287I              9/2112007    SCK   390&71         89.75
       94980   GEN   LINWELD INC,                    1311 EST.JOSEPH                       RAPID CLLY      SO       57701        UNITEDSTATE    8117/2007 RC33045              9/21/2007    SCK   390871        166.82
       94981   GEN   ~tA TERIALS HANDLING EQUIPMENT POBOX30020                             SALTl.KECIlY    UT       84130        UNITEDSTATE    8/14/2007 M87719               9/21/2007    SCK   390874         99.52
       94998   GEN   EXPRES MESSENGER   SYSTEMS INC 2801 S.ECOLUMBIA WAYSUITE 110          VANCOUVR        WA       98661        UNITED STATE   7/15/2007 7-113610             811312007    SCK   532956         55.81
       94998   GEN   EXPRES MESSENGER   SYSTEMS INC 2801 S.E COLUMBIA WAYSUITE 110         VANCOUVR        WA       98661        UNITEDSTATE    7/3112007 7-113833             9/14/2007    SCK   5~3458         73.85
       94998   GEN   EXPRES MESSENGER SYSrnMS INC 2801 S.E COLUMBIA WAYSUITE 110           VANCOUVR        WA       98661        UNITED STATE   8/15/2007 7-114090             9/24/2007    SCK   533671         67.19
       95016   GEN   KNECHT TRUE VALUE HOME CENTER 310 - 26TH STRET                        SPEARFISH       SO       57783        UNIT STATE     716/2007 Jul.07                8/13/2007    SCK   390667       355.45
       95045   GEN   WAREI-tUSESPECIALISTS INC.     DEPT./I59755                           MILWAUKEE       \V       53259.0155   UNITEDSTATE     711201 47368                  7/30/2007    SCK   532670       794.88
       95045   GEN   WAREHOUSE SPECIALISTS INC.     DEPT./I59755                           MILWAUKE        WI       53259.0155   UNITED STATE   7/1612007 48471                713012007    SCK   532670      1~'50.00
                                                                                                                                                                                                                                   Filed 01/04/08




       95045   GEN   WAREHOUSE SPECIALISTS INC.     DEPT./I59755                           MILWAUKE        \V       53259.0155   UNITEDSTATE    713/2007 48683                  81312007    SCK   532854       675.00
       95045   GEN   WAREHOUSE  SPECIALISTS INC.    DEPT./I59755                           MILWAUKE        \V       53259.0155   UNITEDSTATE    7130/2007 48&82                8/1312007    SCK   533028      1~'50.00
       95045   GEN   WAREHOUSE SPECIALISTS INC,     DEPT./I59755                           MILWAUKE        WI       53259.0755   UNITEDSTATE     8/112007 49451                9/14/2007    SCK   533546      3,535.12
       95045   GEN   WAREHOUSE SPECIALISTS INC,     DEPT./15975S                           MILWAUKEE       \V       53259-0755   UNITEDSTATE     8/112007 49564                911412007    SCK   n3546       1,658.23
       95045   GEN   WAREHOUSE SPECIALISTS INC.     DEPT./IS975S                           MILWAUKE        WI       53259.o7S5   UNITEDSTATE    71311200749673                 9/1412007    SCK   533546       900.00
       95045   GEN   WAREHOUSE  SPECIALISTS INC.    DEPT./IS975S                           MILWAUKE        WI       53259.0755   UNITEDSTATE    811/2007 50405                 9/24/2007    SCK   5337&9      2,025.00
       95045   GEN   WAREOUSE SPECIALISTS INC.      DEPT./IS975S                           MILWAUKE        IVI      53259.07S5   UNITEDSTATE    81012007 50672                 9/2412007    SCK   5337&9       675.00
       95045   OEN   WAREOUSE SPECIALISTS INC.      DEPT./I59755                           ~ULWAUKE        IVI      53259.01S5   UNITEDSTATES   81212007 50840                 1019/2007    SCK   533983       900.00
       95045   GEN   WAREOUSE SPECIALISTS INC.      DEPT./I59755                           MILWAUKEE       IVI      53259-07S5   UNITEDSTATE    8/311200751240                 1019/2007    SCK   533983      1,575.00
       95045   GEN   WAREHOUSE SPECIALISTS INC.     DEPT./I59755                           ~ULWAUKE        IVI      53259.0755   UNITEDSTATE     9/112007 51321                 1019/2007   SCK   533983      3,768.05
       95045   GEN   WAREHOUSE SPECIALISTS INC.     DEPT./I59755                           MILWAUKE        IVI      53259.0755   UNITEDSTATE     9JJ2oo7 51904                  101912007   SCK   533983      2,434.08
       95134   OEN   TANGENT BUSlNESS PARK I LL     33464 EAGLE ROAD                       TANGEN          OR       91389        UNITEDSTATE     91512007 20070905             10/2/2007    SCK   S34195     26,284.53
       95136   GEN   MOnON INDUSTRES, INC.          P.O.BOX98412                           CHICAGO         IL       60693        UNITE STATE     7/512007 OR02-175342          &/13/2007    SCK   532980      1,091.36
       95136   GEN   MonON INDUSTRES, INC.          P.O.BOX98412                           CHICAGO         IL       60693        UNITED STATE   7/1112007 S001.o37919          7/30/2007    SCK   390541       409.21
       95136   GEN   MonON INDUSTRES,INC.           P.O.BOX9&412                           CHICAGO         IL       60693        UNITEDSTATE    7/1812007 SOOL.037972          811/2007     SCK   390678         50.70
       95136   GEN   MonON INDUSTRES,INC.           P.O.BOX98412                           CHICAGO         IL       60693        UNITEDSTATE    71512007 SOOL.038035           8'13/2007    SCK   390678        257.81
                                                                                                                                                                                                                                   Page 6 of 25




       95136   GEN   MonON INDUSTRES, INC.          P.O.BOX984I2                           CHICAGO         IL       60693        UNITEDSTATE    71512007 SOOl.038036           811/2007     SCK   390678       732.27
       95136   GEN   MOTION INDUSTRES,INC.          P.O.BOX98412                           CHICAGO         IL       60693        UNITEDSTATE    715/2007 SOOL.038043           811/2007     SCK   390678        174.62
       95136   GEN   MOTION INDUSTRES, INC.         P.O. BOX98412                          CHICAGO         IL       60693        UNITED STATE    8/1/2007 SOOL.03&098          9/2112007    SCK   390882       557.8~
       95136   GEN   MOTION INDUSTRES. INC.         P.O,BOX98412                           CHICAGO         IL       60693        UNITEDSTATE     8n12oo1 SOOL.038161           9/2112007    SCK   390882       676.6
       95145   GEN   K& K FORWARDING LTD.           BOX459                                 SPARWOOD        BC       VOB2GO         CANADA       8/101200777462                 9/1412007    SCK   533474      1,542.00
       95185   OEN   COMMONWEALTH OF PENSYLVANIA DEPT. OF REVENUE BUREAU OF RECEIPT & CONTROL HARRSBURG    PA       1728.0404    UNITEDSTATE    8/13/2007 1395&11107           9/1212007    SCK   533314         75.00
       95185   GEN   COMMONWEALTH OF PENNSYLVANIA DEPT. OF REVENUE BUREU OF REEIPT & CONTROL HARRSBURG     PA       172&.0404    UNITEDSTATE    &/13120071395 AUGUST 03 2007   9/1212007    SCK   533314       634.00
       95189   GEN   PACIFIC STE&. REYCliNG         P.O.BOX4190                            RAPID CIn'      SO       57709        UNITEDSTATE    612112007474528                7130/2007    SCK   390547       216.32
       95189   GEN   PACIFIC STEEL& RECLING         P.O.BOX4190                            RAPID CLLY      SO       57709        UNITED STATE    7/512007 475011               &/1312007    SCK   390685          6.24
       951&9   GEN   PACIFIC STEEL& RECLING         P.O.BOX4190                            RAPID CLLY      so       51709        UNITED STATE   7/1212007 415168               9/14/2007    SCK   390795         46.59
       95189   GEN   PACIFIC STEEL& RECYCLING       P.O.BOX4190                            RAPID CILY      SO       57709        UNITE STATE    7/1712007 475383               91212007     SCK   ~90890       878.02
       95189   GEN   PACIFIC STE& RECLING           l'.O.BOX4190                           RAPID CILY      SO       57709        UNITEDSTATE    7/1912007 475444                81312007    SCK   390606        10M~




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Pope & Talbot, Inc.
Case No. 07-11738 (CSS)
Attachment SOFA 3-al
Payments to Creditors Between 07/3012007 and 1012812007

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        95189   GEN   PACIFIC STEEL &. RECLING       P.O.BOX4190                                RAPID CITY      SD       57709         UNITED STATE     1/2412007 475530                  91212007    SCK   390890          205.69
        95189   GEN   PACIFIC STEEL.t RECYCLING      P.O.BOX4190                                RAPID CITY      SD       51709         UNITED STATE     112612007475713                   9/212007    SCK   390890          475.63
        95189   GEN   PACIFIC STEEL& RECLING         P.O. BOX4190                               RAPID CITY      SD       57709         UNITED STATE     71261007 475715                   91212007    SCK   390890          861.12
        95189   GEN   PACIFIC STEEL &. RECYCLING     P.O.OOX41OO                                RAPID CITY      SD       57709         UNITE STATE      7(3112007475986                   91212007    SCK   390890           135.20
        95228   GEN   SIEMENS BUILDING              TECHNOLOGIES. INC. 1850 COLLECTION CENTER DRIVE CHICAGO     IL       60693         UNITED STATE     6/1512007 5440406121              8(3/2007    SCK   532836          465.80
        95228   GEN   SIEMENS BUILDING              TECHNOLOGIES. INC. 1850 COLLECTION CENTER DRIVE CHICAGO     IL       60693         UNITED STATE     7/2512007 5440448052              9/24/2007   SCK   533768          663.20
        95228   GEN   SIEMENS BUILDING              TECHNOLOGIES. INC. 7850 COLLECTION CENTER DRIVE CHICAGO     IL       60693         UNITE STATE      7125120075440448052CR             9/28/2007   SCK   533844         (663.20)
        95228   GEN   SIEMENS BUILDING              TECHNOLOGIES. INC. 1850 COLLECTION CENTER DRIVE CHICAGO     IL       60693         UNITE STATE      7/2512007 5440448052DB            912812007   SCK   533844          663.20
        95228   GEN   SIEMENS BUILDING              TECHNOLOGIES. INC. 1S50 COLLECTION CENTER DRIVE CHICAGO     IL       00693         UNITED STATE     7/2512007 5440448053              9124/2007   SCK   533768          824.36
        95228   GEN   SIEMENS BUILDING              TECHNOLOGIES. INC. 1S5O COLLECTION CENTER DRIVE CHICAGO     IL       60693         UNITED STATE     7125120075440448053CR             91212007    SCK   533844         (824.36)
        95228   GEN   SIEMENS BUILDING              TECHNOLOGIES. INC. 7S50 COLLECTION CENTER DRIVE CHICAGO     IL       60693         UNITED STATE     71251200754404480530B             91212007    SCK   533844          824.36
        95228   GEN   SIEMENS BUILDING              TECHNOLOGIES. INC. 1850 COLLECTION CENTER DRIVE CHICAGO     IL       60693         UNITED STATE     71512007 5440448054               912412007   SCK   533768          832.90
        95228   GEN   SIEMENS BUILDING              TECHNOLOGIES. INC. 7850 COLLECTION CENTER DRIVE CHICAGO     IL       60693         UNITED STATE     71512007 5440448054CR             91212007    SCK   533844         (832.90)
       95228    GEN   SIEMENS BUILDING              TECHNOLOGIES. INC. 1850 COLLECTION CENTER DRIVE CHICAGO     IL       60693         UNITED STATE     71512007 5440448054DB             9/28/2007   SCK   533844          832.90
       95228    GEN   SIEMENS BUILDING              TECHNOLOGIES. INC. 7850 COLLECTION CENTER DRIVE CHICAGO     IL       60693         UNITED STATE     8115120075440471873CR             9/2812007   SCK   533844         (860.60)
       95228    GEN   SIEMENS BUILDING              TECHNOLOGIES. INC. 7850 COLLECTION CENTER DRIVE CHICAGO     IL       60693         UNITED STATE     811512007544047187308             9/2812007   SCK   533844          860.60
       95228    OEN   SIEMENS BUILDING              TECHNOLOGIES. INC. 7850 COLLECTION CENTER DRIVE CHICAGO     IL       60693         UNITED STATE     9/1012007 5440503604CR            9/2812007   SCK   533844         067.10)
       9522S    OEN   SIEMENS BUILDING              TECHNOLOGIES. INC. 7850 COLLECTION CENTER DRIVE CHICAGO     IL       60693         UNITE STATE      9/10/2007 54405036040B            9/28/2007   SCK   533844          367.10
       95228    GEN   SIEMENS BUILDING              TECHNOLOGIES. INC. 7850 COLLECTION CENTER DRIV CHICAGO      IL       60693         UNITED STATE     9/1012007 5440503605CR            9/28/2007   SCK   5.\.\&44    (2.813.00)
       95228    GEN   SIEMENS BUILDING              TECHNOLOGIES. INC. 7850 COLLECTION CENTER DRIVE CHICAGO     IL       60693         UNITED STATE     911012007544050360508            912812007    SCK   5.\3844      2.8D.00
       95228    GEN   SIEMENS BUILDING              TECHNOLOGIES. INC. 7850 COLLECTION CENTER DRIV CHICAGO      IL       60693         UNITED STATE     9/10/2007 5440503638CR           9128/2007    SCK   5.\3844     (U.\3.50)
       95228    GEN   SIEJIENS BUILDING             TECHNOLOGIES. INC. 7850 COLLECTION CENTER DRI CHICAGO       IL       60693         UNITED STATE     9/10/2007 5440503638DB           91212007     SCK   533844        l~l33.50
       95259    GEN   STOEL RIVE LLP                900 S.W. FIFTH AVENUESUITE2600             PORTIND          GR       97204-1268    UNITED STATE     7/1912007 3258080                911212007    SCK   533.IS     102.822.53
       95259    GEN   STOEL RIVE LLP                900 S.W. FIFTH AVENUESUITE2600             PORTLND          GR       97204-126S    UNITED STATE     81912007 3261052RAB              9114/2007    SCK   5n53J      110.785.05
                                                                                                                                                                                                                                            Case 07-11738-CSS




       95259    GEN   STOEL RIVE LLP                900 S. W. FIFTH AVENUESUITE2600            PORTlND          GR       97204-1268    UNITED STATE     81912007 3261052RAB              9/1412007    SCK   5.\3531    110.785.05
       95259    GEN   STOEL RI LLP                  900 S. W. FIFTH AVENUESUITE2600            PORTLND          GR       97204-1268    UNITED STATE    9/1112007 3265797                 1011112007   SCK   5.\4028     57.845.9
       95259    GEN   STOEL RIVES LLP               900S.W. FiFTHAVENUE SUITE2600              PORTLND          OR       97204-1268    UNITED STATE     11812007 3271301RAB              10/1112007   SCK   534028      55.228.4&
       95259    GEN   S10EL RIVE LLP                900S.W. FiFTHAVENUE SUITE2600              PORTIND          GR       97204.1268    UNITED STATE    10/24120073274993                 10/2512007   WRE     6990      90,080.32
       95259    GEN   S10EL RI LLP                  900S.W. FiFTH AVENUE SUITE2600             PORTIND          OR       97204.1268    UNITED STATE    8/3112007 FEEARRNGMENT 8/07       8(31/2007    WRE    69646      50,000.00
       95259    GEN   S10EL RI LLP                  9QOS.W. FiFTHAVENUE SUITE 260              PORTLND          OR       97204-1268    UNITED STATE     81812007 Miiy.07                 8/1312007    SCK   533015     137.484.29
       95259    GEN   S10EL RI LLP                  900 S.W. FIFTH AVENUESUITE2600             POR11ND          OR       97204_1268    UNITED STATE    10/1012007 RABfOl03               10/1112007   SCK   534028      25.000.00
       95263    GEN   LIBERTY NORTIWEST             P.O.OOX5089                                PORlLND          OR       97208.5089    UNITED STATE     101912007OR WIC 3RDTR 10110/07   10/1112007   SCK   534006       3.496.21
       95269    GEN   OREON MEDICAL lABORATORIES    P.O.BOX77003        123 INTERNATIONAL WAY  EUGENE           OR       97401         UNITED STATES   7/3112007 920097/31107            9/14/2007    SCK   533505           76.51
       95269    GEN   OREON MEDICAL lABORATORIES    P.O.BOX77003        123 INTERNATIONAL WAY  EUGENE           OR       97401         UNITE STATE     7/3112007 920097/31107"            10/5/2007   SCK   533903           76.51
       95269    GEN   OREON MEDICAL lABORATORIES    P.O. BOX 77003      12 INTERNATIONAL WAY   EUGENE           GR       97401         UNITE STATE     7/3112007 920097/31107CM           10/5/2007   SCK   533903          (76.51)
       95270    GEN   WEYERHEUSER     COMPANY       FIBER MANAGEMENT DEPTPO BOX907             ALBANY           GR       97322         UNITE STATE     7/1912007 95270107072             7/3112007    SCK   532694       1.976.00
       95270    GEN   WEYERHEUSER     COMPANY       FIBER MAAGEMENT DEPT POBOX907              ALBANY           GR       97322         UNITE STATE      8(3/2007 95270107081             S1I5/2007    SCK   533059       3.744.14
       95270    GEN   WEYERHEUSER COMPANY
                                                                                                                                                                                                                                            Doc 266-2




                                                    FIBER MAAGEMENT DEPT POBOX907              ALBNY            GR       97322         UNITED STATE    8120/200795270107082              8/3112007    SCK   53.\209      1,854.02
       95425    GEN   QUALITY ENGINEERED SYSTEMS LTDRRII7. 1016 SEAOUNTWAY                     GIBSON           BC       VONIV7          CANADA        710/2007 7PT-02                    8132007     SCK   532829          665.00
       95425    GEN   QUALITY ENGINEERED SYSTEMS LTDRR  117.1016 SEAOUNT   WAY                 GIBSON           BC       VONIV7          CANADA        8127120077PT.03                   9124/2007    SCK   533750       3.275.00
       95457    GEN   r.fEDIlE DIVSION OF SIERRPINE P.O.BOX4040                                l.fEDFORD        GR       97501         UNITED STATE     9/612007 95457107091             911412007    SCK   533353      14.232.02
       95457    GEN   MEDITE DIVISION OF SIERR
                                             PINE   P.O.BOX4040                                MEDFORD          GR       97501         UNITED STATE    91201200795457107092               101512007   SCK   533948          807.68
       95482    GEN   IRON Mr. OFF-SITE DATA PROTE. POBOX27129                                 NEWYORK          NY       10087-7129    UNITED STATE    7/3112007 101526624               9/24/2007    SCK   533696       1.265.30
       95482    GEN   IRON MT. OFF-SITE DATA PROTE. POBOX21129                                 NEWYORK          NY       10087-7129    UNITED STATE    21112007 101341161                7/3012007    SCK   532616       4.242.50
       95482    GEN   IRON MT. OFF-SITE DATA PROTE. POBOX27129                                 NEWYORK          NY       10087-1129    UNITED STATE    7/1912007 101515201               9/24/2007    SCK   533696       1.427.00
       95522    GEN   TERRY STEELE TRUCKIG          941 ARGYLE STRET                           PENTICTN         BC       V2A5PI          CANADA        71612007 2677                     7/30/2007    SCK   532659          959.36
       95522    GEN   TERRY STEELE TRUCKIG          941 ARGYLE STR                             PENCTN           BC       V2A5PI          CANADA        7/3012007 2711                    81112007     SCK   533019       3,201.06
       95522    GEN   TEY STEELE TRUCKING           941 ARGYLE STRT                            PENTICTN         BC       V2A5PI          CANADA        7/30/2007 2712                    8/1312007    SCK   533019       6,350.31
       95522    GEN   TERRY STEELE TRUCKING         941 ARGYLE STR                             PENl1CTN         BC       V2A5PI          CANADA         71812007 2116                    8/24/2007    SCK   533185          67200
       95522    GEN   TERRY STEELE TRUCKIG          941 ARGYLE STRET                           PENTICTN         BC       V2A5PI          CANADA        7/3112007 2720                    8/2412007    SCK   533185          725.76
       95522    GEN   TERRY STEE TRUCKING           941 ARGYLE STRET                           PENTICTN         BC       V2A5PI          CANADA        7(31120072721                     8/2412007    SCK   533185          780.86
       95522    GEN   TERRY STEELE TRUCKIG          941 ARGYLE STRET                           PENl1CTN         BC       V2A5PI          CANADA        7(31/2007 2725                    8/2412007    SCK   533185          989.98
       95522    GEN   TERRY STEELE TRUCKING         941 ARGYLE STRET                           PENl1CTON        BC       V2A5PI          CANADA        8/1412007 2728                    9/14/2007    SCK   53.534       1.893.74
       95526    GEN   R.L. REIMERS COMPANY          3939 OLD SALEM ROAD SUITEII200             ALBANY           OR       97321         UNITED STATE    71101200727131A                   7(30/2007    SCK   532649      18.104.88
       95526    GEN   R.L. REIMER COMPANY           3939 OLD SALEM ROAD SUITE II 200           ALBANY           OR       97321         UNITED STATE    71101200727131B                   81112007     SCK   533005      14.638.52
                                                                                                                                                                                                                                            Filed 01/04/08




       95526    GEN   R.L. REIr.fERS COMPANY        3939 OLD SALEM ROAD SUITEII200             ALBNY            OR       97321         UNITED STATE    8/1512007 21168                   9124/2007    SCK   533755       3.037.42
       95645    GEN   MOSS.ADAMS LLP                805 SW BROADWAY, SUITE 1200                PORlLNo          GR       97205         UNITED STATE    61261007 1315098                  7/3012007    SCK   532626       4.682.00
       95645    GEN   MOSS.ADAMS LLP                80S SW BROADWAY. SUITE 1100                PORlLND          GR       97205         UNITED STATE    7(3112007 135715                   9n12007     SCK   533303      39.093.07
       95645    GEN   MOSS.ADAMS LLP                SOS SWBROADWAY,SUlTE 1200                  PORlLND          OR       97205         UNTED STATE      8(312007 1340206                  9n12007     SCK   533303      19,341.00
       95645    GEN   MOSS.ADAMS LLP                805SWBROADWAY.   SUITE 1100                PORTlND          GR       97205         UNITED STATE    8/1712007 1343748                  9n12007     SCK   533303       4.500.00
       9!'645   GEN   MOSS-ADAMS LLP                805SWBROADWAY.   SUITE 1200                PORTIND          GR       97205         UNITED STATE    9/24/2007 1361141                 1012212007   SCK   534166       3.559.85
       95656    OEN   TIREEOIL.INC.                 P.O.BOX2706        101 BLAR BOULEVARD      EUGENE           GR       97402         UNITED STATES   51112007 244336.IN                911412007    SCK   533541          1&0.16
       95656    GEN   TYREEOIL. INC.                P.O.BOX2706        101 BL.AJR BOULEVARD    EUGENE           OR       97402         UNITED STATE    6f1S/2007 247013.1N               9114/2007    SCK   533541          504.60
       95656    GEN   TIREEOIL. INC.                P.O.BOX2706        101 BLAR BOULEVAR       EUGENE           OR       97402         UNITED STATE     71512007 24&645.IN                8/3/2007    SCK   532&4&          692.16
       95656    GEN   TIREE OIL. INC.               P.O.BOX2106        101 BLAR BOULEVARD      EUGENE           OR       97402         UNITED STATE    711212007249327I.IN               9114/2007    SCK   533542          338.45
       95656    GEN   TIREE OIL. INC.               P.O.BOX2706        101 BLAR BOULEVARD      EUGENE           OR       97402         UNITED STATE    7/2/2007 250535-1N                9/2412007    SCK   533785          366.60
       95656    GEN   TIREE 01L. INC.               P.O.BOX2706        101 BLAR BOULEVARD      EUGENE           OR       97402         UNITED STATE    71272007 250701-IN                9124/2007    SCK   533785          436.95
       95670    GEN   KPMG LLP                      DEPT0771          PO BOX 120001            DALlAS           TX       75312.0771    UNITED STATE    6/1512007 42805680                81112007     SCK   532909      II,SOO.OO
       95670    GEN   KPMG LLP                      DEPT0771          PO BOX 120001            DALLS            TX       75312.0771    UNITED STATE    81212007 42818345                 912112007    SCK   533623     150,000.00
       95670    GEN   KPMG LLP                      DEPT0771          PO BOX 120001            DALLS            TX       75312-0771    UNITED STATE     71912007 42822476                 8/3/2007    SCK   532745      40,000.00
       95670    GEN   KPMG LLP                      DEPT077           PO BOX 120001            DALLS            TX       75312-0771    UNITE STATE      Snl2007 428474&2                 91121007     SCK   533317     150.000.00
                                                                                                                                                                                                                                            Page 7 of 25




       95670    GEN   KPMG LLP                      DEPT0771          PO BOX 120001            DALLAS           TX       75312-0771    UNITED STATE    1019/200742900&42                 10111/2007   SCK   534021     192.238.00
       95670    GEN   KPMG LLP                      DEPT0771          PO BOX 120001            DALLAS           TX       75312-0771    UNITE STATE     101241200742909751                10/2512007   WRE     6989      72,941.00
       95839    CRT   UNIVAR USA INC.               FlLE56019                                  LOS ANGELES      CA       90074-6019    UNITE STATE     8/3112007 LlQ MAG SULFSALTSf07    91201207     lYR     6749       3.21.\.32
       95839    CRT   UNIVAR USA INC.               FILE56019                                  LOS ANGELE       CA       90074.6019    UNITED STATE    713112007LlQMAGSULEPSALT7/07       8/3/2007    SCK   532&50       6.401.18
       95839    CRT   UNIVAR USA INC.               FlLE56019                                  LOS ANGELES      CA       90074-019     UNITED STATE    101912007MElANOL 10/07            10110/2007   lYR     6863      13.608.&7
       95839    CRT   UNIVARUSA INC.                FILE56019                                  LOS ANGELES      CA       90074.6019    UNITED STATE    10/212007METNOL 9/07              101212007    lYR     6814      10,289.41
       95839    CRT   UNIVAR USA INC.               FILE56019                                  LOS ANGELES      CA       90074-6019    UNITED STATE    813112007MEANOL AUG2007           9/2012007    lYR     6749      18.839.18
       95839    CRT   UNIVAR USA INC.               FILE56019                                  LOS ANGELES      CA       90074-019     UNITED STATE    7(3112007 METANOL nJLY 2007       9/10/2007    SCK   533312      18.224.64
       958;.9   CRT   UNIVAR USA INC.               FILE56019                                  LOS ANGEL        CA       90074.6019    UNITED STATE     71312007 PO.030895                8n/2007     ED!   102S27       2.032.80
       95839    CRT   UNIVAR USA INC.               FILE56019                                  LOS ANGELES      CA       00074-019     UNlffD STATE    71412007 PO.OnI83                  81312007    SCK   532&50       2.632.50
       95839    CRT   UNIVAR USA INC.               FILE56019                                  LOS ANGEL        CA       00074_6019    UNITED STATE    712412007PO.032393                 8132007     SCK   532850       2.032.80
       95839    CRT   UNIV AR USA INC.              FILE56019                                  LOS ANGEL        CA       90074-0019    UNITE STATE      81912007 Po.033&29               911012007    SCK   533312         387.S8




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Pope & Talbot, Inc.
Case No. 07-11738 (CSS)
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Payments to Creditors Between 07/30/2007 and 10/28/2007

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       958S3   GEN     CANADIAN PACIFIC RAILWAY       P.O. BOX 9200      STATION TERJilNAL        VANCOUVR         Be      V6ß6E7           CANADA         81312007 9.94252E+II            8/2712007    ACH     6596      7,046.81
       95883   GEN     CANADIAN PACIFIC RAILWAY       P.O. BOX 9200      STATION TERMINAL         VANCOUVR         Be      V6B6E7           CANADA         8131207 9.9430IE'HI             8/271007     ACH     65!l      7,046.81
       95883   GEN     CANADIAN PACIFIC RAILWAY       P.O.BOX9200        STATION TERMINAL         VANCOUVER       BC       V6B6E7           CANADA         81312007 9.94304E+II            8/271007     ACH     6596      7,046.81
       95&B3   GEN     CANADIAN PACIFIC RAILWAY       P.O.BOX9200        STATION TERMINAL         VANCOUVER       BC       V6B6E7           CANADA         8132007 9.94&91£+11             8/271007     ACH     6596      7,020.44
       95924   CRT     SIERRA PINE LTO.               POBOX90                                     SPRIGFIELD      OR       97477        UNITED STATE       8132007 95924107081             811512007    SCK   533050      7,768.18
       95924   CRT     SIERRPINE LTD.                 POBOX90                                     SPRINGFIELD     OR       97477         UNITE STATE      9/20'2007 95924107092            101512007    SCK   533954      2,696.05
       95924   CRT     SIERRplNE LTD.                 POBOX90                                     SPRINGFIELD     OR       97477         UNITEDSTATE      8110/2007 PRE pYMT 1ST AUG2007   81112007     IVR     6550     20,000.00
       95924   CRT     SIERR;pINE LTD.                POBOX90                                     SPRIGFIELD      OR       97477        UNITED STATE      101912007SIERI00907              10/912007    IVR     6852      3,000.00
       95924   CRT     SIERR PINE LTD.                POBOX90                                     SPRIGFIELD      OR       97477         UNITED STATE     10110'2007 SIERIOI007            10110/2007   \VR     6858      3,000.00
       95924   CRT     SlERRpINELTD.                  POBOX90                                     SPRINGFIELD     OR       97477         UNITED STATE     1011112007 SIERIOII07            10111/2007   \VR     6S67      3,000.00
       95924   CRT     SIERR PINE LTD.                POBOX90                                     SPRINGFIELD     OR       97477         UNITED STATE     10/121007 SIERI01207             101121007    \VR     6880      3,000.00
       95924   CRT     SIERRplNE LTD.                 POBOX90                                     SPRIGFIELD      OR       97477        UNITED STATE      1011512007 SIERIOl507            10/1512007   \VR     6895      3,000.00
       95924   CRT     SIERRplNE LTD.                 POBOX90                                     SPRINGFIELD     OR       97477        UNITED STATE      1011612007 SIERI01607            1011612007   \VR     6904      3,000.00
       95924   CRT     SIERRpINELTD.                  POBOX90                                     SPRIGFIELD      OR       97477        UNITED STATE      10/1712007 SIERI01707            101112007    \VR     6914      3,000.00
       95924   CRT     SIERRpINELTO,                  POBOX90                                     SPRIGFIELD      OR       97477        UNITED STATE      10/181007 SIERI01807             101181207    \VR     6926      3,000.00
       95924   CRT     SIERRpINELTD.                  POBOX90                                     SPRINGFIELD     OR       97477        UNITED STATE      10/1912007 SIERIOl907            1011912007   \VR     6941      6,000.00
       95924   CRT     SIERRpINELTD.                  POBOX90                                     SPRIGFIELD      OR       97477        UNITED STATE      10/221007 SIERI02207             10/2212007   \VR     6948      3,000.00
       95924   CRT     SIERRpINELTO.                  POBOX90                                     SPRIGFIELD      OR       97477         UNITED STATE     101212007 SIERI02307             10/2312007   \VR     6962      9,000.00
       95924   CRT     SIERRPINE L TO.                POBOX90                                     SPRIGFIELD      OR       97477        UNITED STATE      10/2412007 SIERI02407            10/24/2007   \VR     6972      6,000.00
       95924   CRT     SIERR PINE L TO.               POBOX90                                     SPRINGFIELD     OR       97477        UNITE STATE       1012512007 SIERI02507            10/25/2007   \VR     6986      6,000.00
       95924   CRT     SIERRPINELTO.                  POBOX90                                     SPRIGFIELD      OR       97477        UNITE STATE       10/2612007 SIERI02607            10/2612007   \VR     7006      6,000.00
       95984   GEN     HILLS ~tA TEL                  P.O.BOX2320                                 RAPID CITY      SD       57709        UNITE STATE        612007 101007                   9/14/2007    SCK   390782        297.86
       95984   GEN     lILLS MATERIAL                 P.O.BOX2320                                 RAPID Cirr      SD       57709        UNITE STATE       71271007 102997                  8113/2007    SCK   390660        184.89
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       96039   GEN     '\'TER.~ CASCADE IND.          P.O.BOX460                                  TOLE            OR       97391        UNITE STATE       71191200796039107072             713112007    SCK   532693      5,120.88
       96039   GEN     \\'TERN CASCADE IND.           P.O.BOX460                                  TOLEDO          OR       97391        UNITE STATE        81312007 96039107081            8/15/2007    SCK   533058      6,24.66
       96039   GEN     WESTERN CASCADE IND.           P.O.BOX460                                  TOLEOO          OR       97391        UNITED STATE      8/201200796039107082             813112007    SCK   533208      8.526.82
       96039   GEN     WESTERN CASCADE IND.           P.O, BOX 460                                TOLE            OR       97391        UNITE STATE        91612007 96039107091            9/14/2007    SCK   533363      9,127.98
       96039   GEN     \\'TERi~ CASCADE IND.          P.O.BOX460                                  TOLEO           OR       97391        UNITE STATE       91201200796039107092             1015/2007    SCK   533960      6,96.94
       96039   GEN     \\'TERN CASCADE IND.           P.O,BOX460                                  TOLED           OR       97391        UNITED 5TA 1r,S   10132007 96039107101             10/15/2007   SCK   534070      6,201.60
       96059   GEN     APEX INSTRUMENTS,INC.          204 TECHNOLOGY PARK LAE                     FUQUAY-VARIA    NC       27526        UNITED STATE      7/2412007 88437-IN               9/24/2007    SCK   533639         62.75
       96076   GEN     BRIOGEWA TER GROUP INC.        4500 KRUSE WAY.SUITE 110                    LAKEOS\VEO      OR       97035        UNITED STATE       712007 2007341                   8r.Y2oo7    SCK   532768        7S0.00
       96103   OEN     OFFICEMAX. A BOISE COMPANY     75 REMITTANCE DRIVE #2698                   CmCAGO          IL       60675.2698   UNITED STATE      612512007168257                  9/14/2007    SCK   390794        196.77
       96103   GEN     OFFICEMAX. A BOISE COMPANY     75 REMITTANCE DRIVE 112698                  CHICAGO         IL       60675.2698   UNITED STATE      6128/2007 283468                 9/14/2007    SCK   390794         68.23
       96103   GEN     OFFICEMAX. A BOISE COMPANY     75 REMITTANCE DRIV 112698                   CHICAGO         IL       60675.2698   UNITED STATE       8112007 377228                  9/1412007    SCK   390794          6.23
       96103   GEN     OFFICEMAX. A BOISE COMPANY     7S REMITTANCE DRIV #2698                    CHICAGO         IL       60675.2698   UNITED STATE      8110120073788S6                  9/14/2007    SCK   390794        187.18
       96103   GEN     OFFICEMAX. A BOISE COMPANY     1S REMITTANCE DRIVE 112698                  CHICAGO         IL       60675.2698   UNITED STATE      712/2007 6123/07TO7122107        8/1312007    SCK   390683        439.67
       96103   GEN     OFFICEttAX-A BOISECO~WANY      7S REMITTANCE DRI #2698                     CHICAGO         IL       60675.2698   UNITED STATE      7/2/2007 6/23/07TO712107A        811312007    SCK   390683        131.00
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       96103   GEN     OFfICEMAX. A BOISE COMPANY     7S REMITTANCE DRIV 112698                   CHICAGO         IL       60675.2698   UNITED STATE      712/2007 6/2/07 TO7122107B       8113/2007    SCK   390683        340,91
       96103   GEN     OFFICEM. A BOISE COMPANY       75 REMITTANCE DRI #2698                     CHICAGO         IL       60675.2698   UNITED STATE      81221007 760300                  9/21/2007    SCK   390888        261.15
       96103   GEN     OFFICF.itAX.A BOISE
                                         COMPANY      7S REMITTANCE DRIVE 112698                  CHICAGO         IL       60675.2698   UNITE STATE       7123(20079014111                 911412007    SCK   390794         65,44
       96276   GEN     BIT BY BITCOMPUTER RETALS      POBOX907                                    EUGENE          OR       97440        UNITED STATE      4/1112007 132678                 9/1412007    SCK   533435      1,925.00
       96276   GEN     BITBY BITCOMPUTER RETALS       POBOX907                                    EUGENE          OR       97440        UNITE STATE       513112007133964                  9/14/2007    SCK   533435      1.800.00
       96276   GEN     BITBY BITCOMPUTER RETALS       POBOX907                                    EUGENE          OR       97440        UNITE STATE        6n/2007 134165                  911412007    SCK   533435      1,625.00
       96276   OEN     BIT BY BIT COMPUTER RETALS     POBOX907                                    EUGENE          OR       97440        UNITE STATE       613012007134726                   81312007    SCK   532765      1,800.00
       96391   GEN     ROSEBURG FORET PRODUCT         UNIT49         P.O. BOX
                                                                            4900                  PORllND         OR       97208-4900   UNITED STATE       81312007 96391107081            8/1512007    SCK   533048      7,090.52
       96391   GEN     ROSEBURG FORET PRODUCTS        UNIT49         P.O.BOX4900                  PORTlND         OR       97208-4900   UNITED STATE      8/20/2007 96391107082            813112007    SCK   533203     11.22.10
       96391   GEN     ROSEBURG FORET PRODUCT         UNIT49         P.O.BOX4900                  PORTLND         OR       97208.4900   UNITED STATE       9(612007 96391107091            9/14/2007    SCK   533358      5,134.28
       96485   GEN     JAMES L. BALDWIN               105 WILD BRONC WAY                          GILLET          ivy      82716        UNITED STATE      6'6f2007 1007                    9114/2007    SCK   390762      1,200.00
       96485   GEN     JAMES 1. BALDWIN               105 WILD BRONC WAY                          G1LL            ivy      82716        UNITED STATE      712/2007 110                     912112007    SCK   390843      1,355.00
       96494   GEN     CON-WAY FREIGHT                POBOX5160                                   PORTLND         OR       97208        UNITED STATE       7161007 273-30913               7130/2007    SCK   390511        5S0.28
       96494   GEN     CON-WAY   FREIGHT              POBOX5160                                   PORTLND         OR       97208        UNITED STATE       8n12007 273-319605              91212007     SCK   390852        753.83
       96494   GEN     CON-WAY FREIGHT                PO BOX5160                                  POR11ND         OR       97208        UNITED STATE      710/2007 273-328576              9/2112007    SCK   390852       453.30
       96494   GEN     CON-WAY FREIGHT                POOOX5160                                   PORTLND         OR       97208        UNITED STATE      612212007438-3713Z3              8/2412007    SCK   533181        168.97
       96494   OEN     CON-WAY FREIGIIT               PODOX516O                                   PORTLND         OR       97208        UNITED STATE      81912007 438-377844              9/24/2007    SCK   533660        136.60
                       CON_WAY FREIGHT
                                                                                                                                                                                                                                               Filed 01/04/08




       96494   GEN                                    POBOX5160                                   POR11ND         OR       9720S        UNITED STATE      61612007 645-244386              8124'2007    SCK   533181      3,105.08
       96494   GEN     CON.WAY FREIGHT                POBOX5160                                   POR11ND         OR       97208        UNITE STATE       6Il3fZ007 850.617865             8/2412007    SCK   533181       612.95
       96547   EMP     DEEANN LINDSLEY                CLO POPE&: TALBOT                           POR11ND         OR       97201        UNITED STATE      10/412007 100307                 101512007    SCK   5338S8       484,11
       96561   GEN     A TASTE ABOVE                  720 N,W, DIVISION STREET                    GREHAM          OR       97030        UNITED STATE      71191200746'                     8/23/Z007    SCK   533081       421.85
       96561   GEN     A TASTE ABOVE                  720 N.W. DIVISION STREET                    GREHAM          OR       97030        UNITED STATE      711912007'"                      8/2312007    SCK   533082       411,53
       96590   GEN     ALLTEL                         POBOX94255                                  PALATINE        IL       60094-255    UNITED STATE      8/261007 1500190572-8358'26107   9/1212007    SCK   390740         51,40
       96590   GEN     ALLTEL                         POBOX94255                                  PALATIE         IL       60094-255    UNITED STATE      71261007 15001905728357/26107    81112007     SCK   390634         51.40
       96590   GEN     ALLTEL                         POBOX94255                                  PALATIE         IL       60094-4255   UNITED STATE      6/271007 28915i1053.556          710/2007     SCK   390501         46.76
       96590   GF.N    ALLTEL                         POBOX94255                                  PALATIE         IL       60094-4255   UNITE STATE       71271007 28915110535567127107    911212007    SCK   390741         51.80
       96635   GEN     WYOMING OFFICE OF STATE        LANDS AND INVTMENTS P.O. BOX 639            NEWCASTIE       IVY      82701        UNITED STATE      812112007BUCKHORN FORETS/21/07   101512007    SCK   390927     26,570.06
       96762   GEN     REERVEACCOUNT                  PITNEY BOWE-POSTAGE BY PHONE ACCT# 33318023
                                                                                                ) STLOUIS         MO       63195-2856   UNITE STATE       7/1112007 242023437/11107        81112007     SCK   390629      1,000.00
       96873   GEN     SIERR SPRINGS                  Os WATERS OF AMERICA. LP PO BOX 660579      DALLAS          lX       752(\.0579   UNITED STATE      7161007 7.0730IE+16              9114/2007    SCK   533530        178.10
       96873   GEN     SIERR SPRINGS                  OS WATERS OF AMERICA, PO LP BOX 660579      DALLAS          lX       75266-0579   UNITEDSTATE       7/121007 7.07297E+16             8/13/2007    SCK   533013        167.21
       96873   GEN     SIERRA SPRINGS                 OS WATERS OF AMERICA, PO LP BOX 660579      DALLAS          lX       75266.0579   lJlTEDSTATE       7n12007 7.07298E+16              8/1312007    SCK   533013       786.23
       96873   GEN     SIERR SPRINGS                  OS WATERS OF M'IERICA LP PO BOX 660579      DALLAS          lX       7526(\579    UNITEDSTATE       7112120077.0730IE+16             9/14/2007    SCK   533530       533.31
       96873   GEN     SIERR SPRINGS                  Os WATERS OF AMERICA. LP PO BOX 660579      DALLAS          lX       75266'(579   UNITEDSTATE       7112120077.0730IE+16             9/1412007    SCK   533530       326.02
       96S73   GEN     SIERR SPRIGS                   OS WATERS OF AMERICA. PO LP BOX 660579      DALLAS          lX       75266'(579   UNITE STATE       7/2612007 7,07301E+16            9/14/2007    SCK   533530         91.01
       96S73   GEN     SIERRA SPRINGS                 Os WATERS OF AMERICA, LP PO BOX 660579      DALLAS          lX       7526(\579    UNITEDSTATE       7119120077.0730IE+16             9/14/2007    SCK   533530         51.41
                                                                                                                                                                                                                                               Page 11 of 25




       96873   GEN     SIERR SPRINGS                  os WATERS OF AMERICA, LP PO BOX 660579      DALLAS          lX       75266-0579   UNITEDSTATE       8/412007 80729721353529698/07    9'14/2007    SCK   533529        195.16
       96873   GEN     SIERRA SPRINGS                 os WATERS OF AMERICA. LP PO BOX 660579      DALLAS          lX       75266579     UNITEDSTATE       81912007 80729743978/09/07       9114/2007    SCK   533529        263.05
       96873   GEN     SIERR SPRINGS                  Os WATERS OF AMERICA, LP PO BOX 660579      DALLAS          lX       75266'(579   UNITEDSTATE       81912007 80730122728109107       9/14/2007    SCK   533530       241.61
       96873   GI:'N   SIERR SPRINGS                  os WATERS OF MiERICA LPPO BOX 660579        DALLS           lX       75266-0579   UNITEDSTATE       8/12007 80730122828/09/07        9'14/2007    SCK   533530       227.57
       96873   GEN     SIERR SPRIGS                   Os WATERS OF AMERICA LP  PO BOX 660579      DALLAS          lX       75266-0579   UNITEDSTATE       813/2007 8.0730IE+16             9124/2007    SCK   533769         96.55
       96873   GEN     SIERR SPRIGS                   OS WATERS OF MiERICA. LP PO BOX 660579      DALLAS          lX       75266'(579   UNITEDSTATE       812/2007 8.0730IE+16             9/2412007    SCK   533769         37.16
       96873   GEN     SIERR SPRIGS                   os WATERS OF AMERICA, LP PO BOX 66579       DALLAS          lX       75266.0579   UNITEDSTATE       8116120078.0730IE+16             9/24/2007    SCK   533769         81.8
       96890   GEN     AON RISK SERVlCES OF OR.       FILE56276                                   LOS ANGELE      CA       90074.6276   UNITEDSTATE       9126120077E+IZ                   10132007     WRE     6820    375,000.00
       96912   GEN     Zlp.O.LOG MILL, INC            POBOX2130                                   EUGENE          OR       97402        UNITE STATE       7/191200796912107072             713112007    SCK   532697     25,952.22
       9691Z   GEN     Zlp-o.LOG MILL,INC             POBOX2130                                   EUGENE          OR       97402        UNITEDSTATE       8112007 96912107081              8115/2007    SCK   533064     25,064.10
       96912   GEN     ZIP-a-LOG MILLS,INC            POBOX2130                                   EUGENE          OR       97402        UNITED STATE      8/20/2007 96912107082            813112007    SCK   533213     29,948.16




                                                                                                                 7601137                                                                                      SOFA Att. 3.a1 Vendor Payments
Pope & Talbot, Inc.
Case No. 07-11738 (CSS)
Attachment SOFA 3-al
Payments to Creditors Between 07/30/2007 and 10/28/2007

\'ciid"r CI:.\\ Vendor ;.:.ulc Aildrc" Cit), ,\ddr..,s ~:~,~.: 1'".i:.IC"d.. Cuiiiitr In~'ulcc Iliile Iii,.ulce Cli~ck Ualc I':.r;i:~ll 1"~:~~~I~:~1I USU,\m"unl
       96912 GEN ZIP-O_WG MILLS, 1NC                   POBOX2130                                   EUGENE           OR      91402        UNITEDSTATE     9/6/001 96912107091              911412001 SCK    533366      27,369.60
       96912 GEN ZIP.O-LOGMILLS,INC                    POBOX2130                                   EUGENE           OR      97402        UNITEDSTATE    9/201007 96912107092               101512007 SCK   533962      22,143.36
       96912 GEN ZIP-O-LOG MILLS, INC                  POHOX2130                                   EUGENE           OR      97402        UNITEDSTATE     1013/2007 9(912107101            10/1512001 SCK   534012      26,253.12
       96917 GEN CONSOLIDATEDELECCALD!STR              POBOX2820                                   ISSAQUAH         \VA     98021        UNITD STATE     7122007 111-434550                813/2007 SCK    532716         555.00
       96926 GEN LENHARD TRUCKING                     988 TWELVE MILE ROAD                         COLVILLE         \VA     99114        UNITEDSTATE    7/25/2007 316138                   8n12001 ED!     102823       3.156.4
       96926 GEN LENHARD TRUCKIG                      988 TWELVE MILE ROAD                         COLVILLE         \VA     99114        UNITED STATE   713112007 31614ó                  8113/2007 EDI    102863       9,681.29
       96926 GEN LENHARD TRUCKING                     988 TWELVE MILE ROAD                         COLVILLE         \VA     99114        UNITEDSTATE     81812001 316151                  81212001 EDI     102896       6,332.18
       96926 GEN LENHARD TRUCKING                     988 TWELVE MILE ROAD                         COLVILLE         WA      99114        UNITE STATE    8/15/2001 316170                   91512001 EDI    102932      10,262.48
       96926 GEN LENHARD TRUCKING                     988 TWELVE MILE ROAD                         COLVILLE         \VA     99114        UNITE STATE    8/2212001 316181                   915/2007 ED!    102932       5,105.83
       96926 GEN LENHARD TRUCKIG                      988 TWELVE MILE ROAD                         COLVILLE         WA      99Jl4        UNITE STATE    8130/2001 316213                  911212001 EDI    102966       5,140.08
       96926 GEN LENHARDTRUCKIO                       988 TWELVE MILE ROAD                         COLVILL          \VA     99114        UNITESTATE      915/2007 316220                  9/1712007 ED!    102984       8,808.83
       96926 GEN LENHARD TRUCKING                     988 TWELVE MILE ROAD                         COLVILLE         \VA     99114        UNITEDSTATE    911412007 316243                  9/26/2001 EDI    103003      10,381.93
       96926 GEN LENHARD TRUCKING                     988 TWELVE MILE ROAD                         COLVILLE         \VA     99114        UNITE STATE    9114/2007 316241                  9/2012007 ED!    102991       1,151.30
       96926 GEN LENHARD TRUCKIG                      988 TWELVE MILE ROAD                         COLVILL          \VA     99114        UNIT STATE     9119/2007 316259                   10/112007 EDI   103018         105.60
       96926 GEN LENHARD TRUCKING                     988 TWLVE MILE ROAD                          COLVILL          \VA     99114        UNITEDSTATE    911912007 316261                  10/112007 EDI    103018       1,431.5&
       96926 GEN L£HARDTRUCKIO                        988 TWELVE MILE ROAD                         COLVILL          \VA     99114        UNITEDSTATE    9/2112001 316266                  10/112007 ED!    103018       2,016.00
       96926 GEN LENIIARDTRUCKIG                      988 TWELVE MILE ROAD                         COLVILLE         \VA     99114        UNITEDSTATE    9/2/2001 316268                   10~i2007 ED!     103018       3.201.29
       96926 GEN LENHARD TRUCKIG                      988 TWELVE MILE ROAD                         COLVILLE         \VA     99114        UNITEDSTATE    9/2412007 316270                  10/112007 ED!    103018       5.211.11
       96926 GEN LENHARD TRUCKING                     988 TWELVE MILE ROAD                         COLVILLE         \VA     99114        UNITEDSTATE    91212007 316215                   1011/2007 EDI    103049         918.00
       96926 GEN LENllARD TRUCKING                    988 TWELVE ~ßLE ROAD                         COLVILLE         \VA     99114        UNITEDSTATE    912/2001 316218                   10/171001 ED!    103049       1.810.56
       96926 GEN LENHARD TRUCKING                     988 TWELVE MILE ROAD                         COLVILLE         \VA     99114        UNITED STATE   9/2812001 316286                  10/17/2007 ED!   103049         815.63
       96926 GEN LENUARD TRUCKING                     988 TWELVE MILE ROAD                         COLVILLE         \VA     99114        UNITED STATE   912ll007 316290                   10/1712007 ED!   103049       3.110.16
       96926 GEN LENHARD TRUCKIG                      988 TWELVE MILE ROAD                         COLVILLE         \VA     99114        UNITE STATE     10/21001 316294                  10111/2001 ED!   103049         132.61
                                                                                                                                                                                                                                            Case 07-11738-CSS




       96926 GEN LENHARD TRUCKING                     988 TWELVE MILE ROAD                         COLVILLE         \VA     99114        UNITEDSTATE     10/4/2001 316296                 1011/2001 EDI    103049       3,289.99
       96926 GEN LENUARDTRUCKING                      988 TWELVE MILE ROAD                         COLVILLE         \VA     99114        UNITE STATE     10/8/2001 316301                 10126/2001 EDI   103071       8,110.10
       96926 GEN LENHARD TRUCKING                     988 TWELVE MILE ROAD                         COLVILLE         \VA     99114        UNITEDSTATE     10/812007 316302                 10126/2001 ED!   101926       1,947.12
       96926 GEN LENHARD TRUCKING                     988 TWELVE MILE ROAD                         COLVILLE         \VA     99114        UNITE STATE    10112/2001316310                  10/26/2001 EDI   103071       7,080.95
       96926 GEN LENHARD TRUCKING                     988 TWELVE MILE ROAD                         COLVILLE         \VA     99114        UNITED STATE   1011/2007316318                   10/26/2001 EDI   103071       9,048.12
       96950 GEN VALOIS VISION MARKETING              #10.1108 RIVERSIDE CLOSE                     PORTCOQUITIM     BC      ~ß8C2           CANADA       5JJ2001 US20111650.5/01_8/07     9/14/2007 SCK    533544         580.00
       97089 GEN METSO AUTOMA nON                     POBOX945865                                  ATlNTA           GA      30394-5865   UNITEDSTATE    6/18/2007 413159                  81112007 SCK     532971       6.90\.25
       97089 GEN METSO AUTOMA nON                     POBOX945865                                  ATlNTA           GA      30394-5865   UNITEDSTATE    6/812007 413955                   811'2007 SCK     532971         101.04
       97089 GEN METSO AUTO?vtA nON                   POBOX945865                                  ATlNTA           GA      30394-5865   UNITEDSTATE     11312007 414083                  811'2007 SCK     532911       2,300.41
       97099 GEN 3D! WEST                             GEOTERRA ~iAPING GROUP 3400 WET I I TH AVE   EUGENE           OR      91402        UNITEDSTATE    6/121007 1.063IN.2:               1130/2001 SCK    532511       1.95.00
       97119 GEN ABBOlTFIELD 1NDS TRINING INC         10157 SW BARBER BLVD SUITE 200C              PORTlND          OR      97219        UNITEDSTATE    1/1012001 PT481.31                811'2001 SCK     532926        495.00
       97119 GEN ABBOlTFIELD INDS TRINING INC         10157 SWBARBER BLVD SUITE LOOC               PORTlND          OR      97219        UNITEDSTATE    1/1012007 PT588.2                 81112001 SCK     5n926           15.00
       97119 GEN ABBOTIFIELD INDS TRINING INC         10157 SW BARBER BLVD SUITE 200C              PORTLND          OR      97219        UNITEDSTATE    111012001 PT588.3                 811/2001 SCK     532926         105.00
       97119 GEN A8BOTIFIELD INDS TRINING INC         10157 SW BARBER BLVD SUITE 200C              PORTLND         OR       97219        UNITEDSTATE    1110/2001 PT588.4                 8/13/2001 SCK
                                                                                                                                                                                                                                            Doc 266-2




                                                                                                                                                                                                           532926          80.00
       91150 GEN CREDITORS COLLECTIONSER.INC.         POBOX628                                     ALBANY          OR       91321        UNITE STATE    9/271001 1-0220ClVANDEHE9/2&/07   101312007 SCK    533862         140.61
       97150 GEN CREDITORS COLLECTION SER. INC.       POBOX628                                     ALBANY          OR       97321        UNITEDSTATE    10/121001 1-439CTGOURLEY 10/12    101171001 SCK    534083        564.11
       91150 GEN CREDITORS COLLECTION SERINC.         POBOX628                                     ALBNY           OR       97321        UNITEDSTATE    10/1312007 VANDEHEY 10/13'07      101112001 SCK    534083         126.3&
       91150 GEN CRED!TORS COLLECTION SER. INC.       lOBOX628                                     ALBANY          OR       97321        UNITEDSTATE    81291201 VANDEHEY   8131107       9114/2001 SCK    533401         185.62
       91150 GEN CREDITORS COLLECTIONSER.INC.         PO BOX 628                                   ALBANY          OR       97321        UNITEDSTATE    9/1312001 VANDEHEY9/14/07         9/20/2001 SCK    533572         179.41
       91327 CRT PUGETSOUNDTRUCKLlNES,INC.            lO BOX24286                                  SEATI           \VA      9&124-0286   UNITE STATE    1113/2001 3.0234IE+13             7130/2007 ED!    102813        569.49
       91327 CRT PUGET SOUNDTRUCKLINES,INC.           POBOX24286                                   SEA TI          \VA      9&124-0286   UNITEDSTATE    111312001 3.0234IE+13             1130/2001 ED!    102813        57\.70
       97327 CRT PUGET SOUND TRUCK LINES, INC.        POBOX24286                                   SEATI           \VA      9&124'(286   UNITE STATE    111/2001 3.0234IE+13              7130/2007 ED!    102813        558.85
       97327 CRT PUGET SOUND TRUCK L1NES,INC.         POBOX24286                                   SEATI           \VA      9&124.286    UNITEDSTATE    7/13/2001 3.02341E+13             7130/2007 ED!    102813        55\.71
       91321 CRT PUGETSOUNDTRUCKLlNES,INC,            POBOX24286                                   SEATI           \VA      98124.(286   UNITESTATE     713/2007 3.02342E+13              1130/2007 ED!    102813        695.00
       91321 CRT PUGET SOUND TRUCK LINES, INC,        POBOX24286                                   SEATI           \VA      98124.0286   UNITED STATE   713/2007 3.02342E+13              113012007 ED!    102813        695.00
       91321 CRT PUGET SOUND TRUCK LlNES,INC.         POBOX24286                                   SEATIE          \VA      98124.(286   UNITDSTATE     1113/2007 3.02342E+13             1130/2007 EDI    102813        695.00
       91321 CRT PUGET SOUND TRUCK LINES,INC.         POBOX24286                                   SEATI           \VA      98124.2&6    UNITEDSTATE    1/13/2007 3.02342E+13             11012001 EDI     102813        480.81
       91327 CRT PUGET SOUND TRUCK LlNES,INC.         POBOX24286                                   SEATIE          \VA      98124-02&6   UNITESTATE     7/13/2001 3.02342E+13             1130/2007 EDI    102813        494.61
       97321 CRT PUGET SOUND TRUCK LINES, INC.        POBOX24286                                   SEATIE          \VA      98124.02S6   UNITEDSTATE    111/2007 3.02342E+13              1130/2007 EDI    102813        486.55
       91n1 CRT PUGET SOUND TRUCK LINES,INC.          POBOX24286                                   SEATIE          \VA      98124.0286   UNITED STATE   1/13/2001 3.02342E+l3             113012007 ED!    102813        484.69
       91321 CRT PUGEr SOUND TRUCK LINES, INC.        POBOX24286                                   SEATIE          \VA      98124.0286   UNITEDSTATE    111312001 3.02342E+13             1130/2007 EDt    102813        490.51
       91321 CRT PUOET SOUND TRUCK LINES, INC.
                                                                                                                                                                                                                                            Filed 01/04/08




                                                      POBOX24286                                   SEATIE          \VA      98124.0286   UNITEDSTATE    111/2007 3.02343£+13              1130/2001 EDt    102813        492.90
       91321 CRT PUGET SOUND TRUCK LlNES,INC.         POBOX24286                                   SEATI           \VA      98124.0286   UNITED STATE   111/2001 3.02343£+13              113012001 EDt    102813        485.49
       97321 CRT PUGETSOUNDTRUCKLlNES,INC.            POBOX24286                                   SEATTE          \VA      98124-0286   UNITED STATE   1113/2001 3.02343E+l3             1130/2001 ED!    102813        490.23
       91321 CRT PUGETSOUNDTRUCKLINES,INC.            POBOX24286                                   SEATIE          \VA      98124-0286   UNITE STATE    1113/2001 3.02343£+13             113012001 ED!    102813        461.25
       91321 CRT PUGETSOUNDTRUCKLlNES,INC.            POBOX24286                                   SEATI           \VA      98124-0286   UNITED STATE   11112001 3.02343E+13              1130/2001 ED!    102813        48S.94
       97321 CRT PUGETSOUNDTRUCKLlNES,INC.            POBOX24286                                   SEATIE          \VA      98124-0286   UNITEDSTATE    111312007 3.02343E+13             1130/2001 EDI    102:813       491.24
       91321 CRT PUGETSOUNDTRUCKLlNES,INC,            PO BOX 24286                                 SEATI           \VA      98124-0286   UNITE STATE    1/1312001 3.02343E+13             1130/2001 EDI    102S13        492.8&
       91327 CRT PUGET SOUND TRUCK LINES, INC.        POBOX24286                                   SEATI           \VA      98124-0286   UNITEDSTATE    111/2001 3.2343E+13               113012001 EDI    102813        48&.49
       91327 CRT PUGETSOUNDTRUCKLINES,INC.            POBOX24286                                   SEATI           \VA      98124-0286   UNITE STATE    1113/2001 3.02343E+13             1130/2001 EDt    102813        327.89
       91n7 CRT PUGET SOUND TRUCK LINES,INC.          POBOX24286                                   SEATI           \VA      98124-0286   UNTTEDSTATE    1113/2001 3.2344E+13              7130/2001 EDt    102813        327.36
       97n7 CRT PUGETSOUNDTRUCKLINES, INC.            POBOX24286                                   SEATI           \VA      98124-0286   UNITE STATE    1/13/2007 3.02344E+13             7130/2001 ED!    102813        329.96
       97327 CRT PUGETSOUNDTRUCKLlNES,INC.            POBOX24286                                   SEATI           \VA      98124.(286   UNITEDSTATE    7/13/2001 3.02344E+13             7130/2007 EDI    102813        479.69
       91327 CRT PUGET SOUND TRUCK LINES, INC.        POBOX24286                                   SEA TIE         \VA      98124-0286   UNITEDSTATE    1/13/2007 3.02344E+13             713012007 EDt    102813        479.68
       91n1 CRT PUGET SOUND TRUCK LINES, INC.         POBOX24286                                   SEA TIE         \VA      98124-0286   UNITEDSTATE    711312007 3.02344E+13             7130/2007 EDI    102813        414.25
       91321 CRT PUGET SOUND TRUCK LINES, INC.        POBOX24286                                   SEATTE          \VA      98124-0286   UNITEDSTATE    7114/2007 3.02355E+13             113012007 EDI    102813        566.44
       91321 CRT PUGET SOUND TRUCK LINES, INC.        POBOX24286                                   SEATTE          \VA      98124-0286   UNITED STATE   714/2007 3.02355E+13              7130/2007 ED!    102813        318.19
       91321 CRT PUGET SOUND TRUCK LINES, INC.        POBOX242S6                                   SEATTE          \VA      98124-02&6   UNITEDSTATE    71412007 3.02355E+13              1130/2007 EDI    102813        551.66
       91321 CRT lUGET SOUND TRUCK LINES, INC.        POBOX24286                                   SEATIE          \VA      98124-0286   UNITEDSTATE    714/2007 3.02355E+13              7130/2007 EDI    102813        572.39
                                                                                                                                                                                                                                            Page 12 of 25




       91321 CRT Pl1GETSOUNDTRUCKLlNES,INC.           POBOX242S6                                   SEATIE          \VA      98124-0286   UNITEDSTATE    111/2007 3.02355E+13              7130/2007 EDI    102813        561i.42
       97321 CRT PUGET SOUND  TRUCKLlNES,INC.         POBOX242&6                                   SEATIE          \VA      98124-0286   UNITEDSTATE    715/2007 3.02355E+13              7130/2007 EDI    102813        563.45
       91321 CRT PUGET SOUND  TRUCKLlNES,INC.         POßOX24286                                   SEATIE          \VA      98124-0286   UNITEDSTATE    1115/2001 3.02356£+13             1130'2007 EDt    102813        544.56
       97n7 CRT PUGETSOUNDTRUCKLINES,INC.             POBOX24286                                   SEATTE          \VA      98124-0286   UNITEDSTATE    1/15/2001 3.02356E+13             1130/2001 EDt    102813        544.42
       97327 CRT PUGET SOUND TRUCK LlNF.s,INC.        POBOX24286                                   SEATI           \VA      98124-0286   UNITEDSTATE    1/161001 3.02356E+13              8112007 EDt      102818        553.11
       91327 CRT PUGETSOUND TRUCKLINES,INC.           POBOX24286                                   SEATI           \VA      98124-0286   UNITE STATE    7/16/2007 3.02356E+13             811/2007 EDI     102818        51i.16
       91321 CRT PUGET SOUND TRUCK LlNES,INC.         POBOX24286                                   SEATTE          \VA      9&124-0286   UNIT STATE     7/16/2007 3.02356E+13             81112001 EDI     102818        561.42
       91327 CRT PUGET SOLIND TRUCK LINES, INC.       POBOX24286                                   SEATTE          \VA      98124-0286   UNITE STATE    7/1112007 3.02356E+13             8/112007 ED!     102818        51i2.55
       97327 CRT PUGET SOUND TRUCK LlNES,INC.         POBOX242S6                                   SEATI           \VA      98124.286    UNITEDSTATE    71161007 3.02351E+13              8'"2007 EDI      102818          25.41
       91327 CRT Pl1GET SOUND TRUCK LlNES,INC.        POBOX24286                                   SEAllE          \VA      98124'(2&6   UNITE STATE    71161007 3.02351E+13              81112007 ED!     102818        456.12
       91321 CRT PUGETSOUNDTRUCKLINES,INC.            PO BOX 24286                                 SEATI           \VA      98124.02&6   UNITEDSTATE    71612007 3.02351E+13              8fl/2007 ED!     10281&        695.00




                                                                                                                  77of137                                                                                  SOFA Atl. 3.a1 Vandor Payments
Pope & Talbot, Inc.
Case No. 07-11738 (CSS)
Attachment SOFA 3-a1
Payments to Creditors Between 07/30/2007 and 10/28/2007

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        91327    CRT     PUGET SOUND TRUCK LlNES,INC.      POBOX242S6    SEA TI       WA       98124-0286    UNITED STATE   7116120073.02357£+13     8/112007   ~     102818       695.00
        91327    CRT     PUGET SOUND TRUCK UNES,INC.       POBOX24286    SEA TI       WA       98124-0286    UNITE STATE    7/112007 3.02357£+13     8/112007   ~     102818       695.00
        91327    CRT     PUGET SOUND TRUCK LlNES,INC.      POBOX24286    SEATI£       WA       98124-0286    UNITED STATE   7116/20073.02357£+13     8/112007   ~     102818       480.65
        91327    CRT     PUGET SOUND TRUCK LINES, INC.     POBOX24286    SEA TI       WA       98124-286     UNITED STATE   7116120073.02358E+13     8/112007   ~     102818       330.89
        91327    CRT     PUGET SOUND TRUCK LINES,INC.      POBOX24286    SEA TI       WA       98124-02lt6   UNITED STATE   7116120073.02358E+13     8/112007   ~     102818        152.52
        91327    CRT     PUGET SOUND TRUCK LlNES,INC.      POBOX24286    SEATI        WA       98124-0286    UNITED STATE   7116120073.02358£+13     8/112007   ~     102818       486.38
        97J27    CRT     PUGET SOUND TRUCK LINES.
                                             INC.          POBOX24286    SEA TnE      WA      98124.0286     UNITED STATE   7116120073.0237£+13      8~i2007    ~     102818       479.68
        97327    CRT     PUGET SOUND TRUCK LINES. INC.     POBOX24286    SEATIE       WA      98124_0286     UNITED STATE   7117120073.02372£+13     811/2007   ~     102818       5S7.75
        91327    CRT     PUGET SOUND TRUCK LINES,INC.      POBOX24286    SEA TI       WA      98124-0286     UNITED STATE   1117120073.02372£+13     811/2007   ~     102818       553.40
        91327    CRT     PUGET SOUND TRUCK LINES,INC.      POBOX242lt6   SEATnE       WA      98124-0286     UNITED STATE   7117120073.02372E+13     8f12007    ~     102818       695.00
        97:i7    CRT     PUGET SOUND TRUCK LINES,INC.      POBOX24286    SEATnE       WA      98124-0286     UNITED STATE   7117120073.02372E+13     81112007   ~     102818       695,00
        91327   CRT     PUGET SOUND TRUCK LINES,INC.       POBOX24286    SEATIE       WA      98124-0286     UNITE STATE    7118120073.02376E+13     8m2oo7     m     102826       695.00
        91327   CRT      rUGET SOUND TRUCK LINES.
                                             INC.          POBOX24286    SEATTE       WA      98124-0286     UNITED STATE   7118120073.02383E+13     8n12007    ~     102826       54¡,41
        97327   CRT     PUGET SOUND TRUCK LINES. INC.      POBOX24286    SEATTE       WA      98124-0286     UNITDSTATE     71912007 3.02383E+13     8n12007    ~     102826       695.00
       97327    CRT     PUGET SOUND TRUCK LINES. INC.      POBOX24286    SEATTE       WA      98124-0286     UNITEDSTATE    71912007 .J.2383E+13     8n12007    Wi    102826       695.00
       97327    CRT     PUGET SOUND TRUCK LINES. INC.      POBOX24286    SEATIE       WA      9lt124.02lt6   UNITEDSTATE    7/19120073.02404E+13     8m2007     m     102826       695.00
       97327    CRT     PUG£T SOUND TRUCK LINES.
                                             INC.          POBOX24286    SEA TI       WA      98124.02lt6    UNITEDSTATE    71012007 3.02413E+13     8/8/2007   ~     102834       695.00
       97327    CRT     PUGET SOUND TRUCK LINES.
                                             INC.         POBOX24286     SEATTE       WA      98124.02lt6    UNITEDSTATE    7/2012007 3.024IJE+13    81812007   Ern   102834       695.00
       97:i7    CRT     rUGET SOUND TRUCK LINES.
                                             INC.         POBOX24286     SEATTE       WA      98124-02lt6    UNITEDSTATE    7123120073.02427E+13     8/812007   Ern   102834       695.00
       97327    CRT     PUGETSOUND TRUCK LINES.
                                             INC.         POBOX24286     SEATTE       WA      98124-0286     UNITEDSTATE    7123120073.02427E+13     8/8/2007   ~     102834       695.00
       97327    CRT     rUGET SOUND TRUCK LINES.
                                             INC.         POBOX24286     SEATTE       WA      98124.0286     UNITEDSTATE    7124120073.02444E+13     81812007   ~     102834       695.00
       91327    CRT     rUGET SOUND TRUCK LINES, INC.     POBOX24286     SEATTE       WA      98124.0286     UNITEDSTATE    71412007 3.02444E+13     818/2007   ~     102834       695.00
       97:i7    CRT     rUGET SOUND TRUCK LlNES,INC.      POOOX24286     SEATTE       \VA     98124-0286     UNITED STATE   71512007 J.2457E+13      81912007   ~     102841       522.21
                                                                                                                                                                                                    Case 07-11738-CSS




       91327    CRT     rUGET SOUND TRUCK LINES, INC.     POBOX24286     SEATTE       WA      98124-0286     UNITE STATE    7125120073.02458E+13     81912007   ~     102841       538.02
       91327    CRT     PUGET SOUND TRUCK LINES, INC.     POBOX24286     SEATnE       WA      98124-0286     UNITEDSTATE    71512007 3.02458E+13     81912007   ~     102841       545.84
       91327    CRT     rUGET SOUND TRUCK LINES, INC.     POBOX24286     SEATTE      WA       98124-0286     UNITEDSTATE    715/2007 3.02459E+13     81912007   ~     102841       695.00
       91327    CRT     PUGET SOUND TRllCK LINES, INC.    POBOX24286     SEA TI      WA       98124.0286     UNITEDSTATE    7/2512007 3.02459E+13    81912007   ~     102841       695.00
       91327    CRT     PUGET SOUND TRUCK LINES, INC.     ro BOX24286    SEATTE       WA      98124-0286     UNITE STATE    716/2007 3.0247IE+13    8110/2007   ~     102849       695.00
       91327    CRT     PUGET SOUND TRUCK LINES, INC.     ro BOX24286    SEA TI      WA       98124_0286     UNITEDSTATE    71612007 3.0247IE+13    8110/2007   ~     102849       695.00
       97327    CRT     rUGET SOUND TRUCK LINES, INC.     ro BOX24286    SEA TI      WA       98124-0286     UNITEDSTATE    7/26120073.0247IE+13    8110/2007   ~     102849       695.00
       97327    CRT     PUGET SOUND TRUCK LINF_C;. INC.   POBOX24286     SEA TnE     WA       98124-0286     UNITEDSTATE    71612007 3.02475E+13    8110/2007   ~     102849       538.33
       91327    CRT     PUGET SOUND TRUCK LINES.
                                             INC.         POBOX24286     SEA TI      WA       98124-0286     UNITEDSTATE    71612007 3.02475E+13    1t"012007   ~     102849       555.88
       91327    CRT     PUGET SOUND TRUCK LINES.
                                             INC.         POBOX24286     SEATTE      WA       98124-286      UNITEDSTATE    7126120073.02475E+13    8110/2007   ~     102849       557.47
       97:27    CRT     PUGET SOUND TRUCK LINES.
                                             INC.         POBOX24286     SEA TI      WA       98124-0286     UNITED STATE   7126120073.02478E+13    8/10/2007   ~     102849       542.26
       97327    CRT     PUGET SOUND TRUCK LINES.
                                             INC.         POBOX24286     SEATTE      WA       98124.0286     UNITEDSTATE    71212007 3.02486E+13    81I12007    ~     102865       695.00
       97327    CRT     rUGET SOUND TRUCK LINES.
                                             INC.         POBOX24286     SEATTE      WA       98124-0286     UNITED STATE   7127120073.02486E+13    81I12007    ~     102865       695.00
       97327    CRT     PUGET SOUND TRirCK LINES, INC.    POBOX24286     SEATIE      IVA      98124.0286     UNITEDSTATE    7127120073.02486E+13    8/1312007         102865       695.00
                                                                                                                                                                                                    Doc 266-2




       97327    CRT     lUGET SOUND TRUCK LlNES,INC.      POOOX24286     SEATTE      IVA      98124.0286     UNITED STATE   712712007J.2486E+1J     81I12007
                                                                                                                                                                ~
                                                                                                                                                                ~     102865       544.14
       97327    CRT     PUGET SOUND TRUCK LlNES,INC.      POOOX24286     SEATTE      IVA      98124.0286     UNITED STATE   71271007 J.2486E+13     81I/2007    ~     102865       546.52
       97327    CRT     PUGET SOUND TRUCK LlNES,INC.      POBOX24286     SEATnE      IVA      98124.0286     UNITEDSTATE    71271007 3.02487E+13    81I/2007    Ern   102865       542.64
       97327    CRT     PUGET SOUND TRUCK LlNES,INC.      POBOX24286     SEATTE      IVA      98124-0286     UNITEDSTATE    7171007 3.2487E+1J      81I/2007    ~     102865       546.92
       97327    CRT     PUGET SOUND TRUCK LINES, INC.     POBOX24286     SEATIE      WA       98124-0286     UNITE STATE    7127/007 3.02493E+13    811312007   ~     102865       936.82
       91327    CRT     Pl1GET SOUND TRUCK LlNES,INC.     POBOX24286     SEA TI      WA       98124-0286     UNITEDSTATE    7127/2007 3.02494E+13   8113/2007   ~     102865       952.48
       97327    CRT     rUGET SOUND TRUCK LINES, INC.     POBOX24286     SEATIE      IVA      98124-0286     UNITEDSTATE    7/27/2007 3.02494E+13   8113/2007   ~     102865       988.42
       97327    CRT     rUGET SOUND TRUCK LlNES,INC.      POBOX24286     SEA TI      WA       98124-0286     UNITEDSTATE    7/30/2007 3.02495E+13   8114/2007   ~     102869       695.00
       97327    CRT     PUGET SOUND TRUCK LlNES,INC.      PO80X 24286    SEA TI      WA       98124-0286     UNITEDSTATE    7/30/2007 3.02495E+13   8/14/2007   ~     102869       695.00
       97327    CRT     PUGET SOUND TRUCK LINES.
                                             INC.         POBOX24286     SEA TI      WA       98124-0286     UNITEDSTATE    7/30120073.02495E+13    8114/2007   ~     102869       695.00
       97327    CRT     PUGET SOUND TRUCK LINES.
                                             INC.         POOOX24286     SEATI       WA       98124-02lt6    UNITEDSTATE    71212007 3.02495E+13    8/l12007    ~     102865       545.21
       97327    CRT     rUGET SOUND TRUCK LINES. INC.     PO80X 24286    SEATTE      IVA      98124-0286     UNITEDSTATE    712/2007 3.02495E+13    8/l12007    ~     102865       550.18
       97327    CRT     PUGET SOUND TRUCK LlNES,INC.      POBOX24286     SEATTE      WA       98124-0286     UNITEDSTATE    7129120073.02495E+13    8/1312007   ffl   102865       557.47
       97327    CRT     PUGET SOUND TRUCK UNES, INC.      POBOX24286     SEATTE      IVA      98124.0286     UNITED STATE   7129120013.02495E+13    81I/2007    ~     102865       544.21
       97327    CRT     PUGET SOUND TRUCK LINES, INC.     POBOX24286     SEATTE      IVA      98124-0286     UNITED STATE   7/3012007 3.02495E+13   811412007   ~     102869       542.64
       97327    CRT     PllGET SOUND TRUCK LINES, INC.    POBOX24286     SEATTE      WA       98124-0286     UNITE STATE    7/3012007 3.2496E+13    811412007   ~     102869       528.24
       97327    CRT    PUGET SOUND TRUCK LINES, INC.      POBOX24286     SEA TI      WA       98124-0286     UNITE STATE    7/3012007 3.2496E+13    8/1412007   ~     102869       557.35
       97327    CRT    PUGET SOUND TRUCK LINES,INC.       POBOX24286     SEATTE      WA
                                                                                                                                                                                                    Filed 01/04/08




                                                                                              98124-0286     UNITE STATE    71312007 3.02518E+13    811612007   ~     102877       546.40
       97327    CRT    PUGET SOUND TRUCK LINES, INC.      PO80X 24286    SEA TI      IVA      98124-0286     UNITEDSTATE    7/3112007 3.02518E+13   811612007   ~     102877       545.s8
       97327    CRT    PUGET SOUND TRUCK LINES,INC.       POBOX24286     SEA TI      IVA      98124-0286     UNITE STATE    7/31120073.02518E+13    8116/2007   ~     102877       540.99
       97327    CRT    PUGET SOUND TRUCK LINES. INC.      PO80X 24286    SEA TI      WA       98124.0286     UNITEDSTATE    7/31120073.02518E+13    8116/2007   ~     102877       534.34
       97327    CRT    PUGET SOUND TRUCK LINES.
                                            INC.          POBOX24286     SEATI       WA       98124-0286     UNITEDSTATE    7/31120073.02518E+13    8116/2007   ~     102877       695.00
       97327    CRT    PUGET SOUND TRUCK LINES.
                                            INC.          POOOX24286     SEATTE      IVA      98124-0286     UNITEDSTATE    7/31120073.02518E+13    8/1612007   ~     102877       695.00
       97327    CRT    rUGET SOUND TRUCK LINES, INC.      PO80X 24286    SEATTE      IVA      98124.0286     UNITEDSTATE    1t/112007 3.02548E+13   811612007   ~     102877       538.11
       97327    CRT    PUGET SOUND TRUCK LINES, INC.      POBOX24286     SEATTE      IVA      98124.0286     UNITED STATE   8112007 3.02549E+13     8/1612007   ~     102877       554.07
       97327    CRT    PUGET SOUND TRUCK LINES, INC.      POBOX24286     SEA TIE     IVA      98124-0286     UNITED STATE   8/112007 3.02549E+13    811612007   ~     102877       530.98
       97327    CRT    rUGET SOUND TRUCK LINES, INC.      POBOX24286     SEATTE      WA       98124-0286     UNITED STATE   8/112007 3.02549E+13    811612007   ~     102877       538.11
       97327    CRT    PUGET SOUND TRUCK LINES, INC.      POBOX24286     SEATIE      WA       98124-0286     UNITEDSTATE    81112007 3.02549E+13    811612007   ~     102877       695.00
       97327    CRT    PUGET SOUND TRUCK LlNES,INC.       PO BOX 24286   SEATTE      IVA      98124-0286     UNITED STATE   81112007 3.02549E+13    8/1612007   ~     102877       695.00
       97327    CRT    PUGET SOUND TRUCK LINES,INC.       POBOX24286     SEA TI      WA       98124-0286     UNITEDSTATE    81212007 3.02562E+13    8117/2007   ~     102887       695.00
       97327    CRT    PUGET SOUND TRUCK LINES.
                                            INC.          PO80X 24286    SEATI       IVA      98124-0286     UNITD STATE    812007 3.2563E+13       81112007    ~     102887       695.00
       97327    CRT    PUGET SOUND TRUCK LINES.
                                            INC.          POBOX24286     SEATnE      WA       98124-286      UNITE STATE    8f22007 3.02563E+13     811712007   ~     102887       535.70
       97327    CRT    PUGET SOUND TRUCK LINES. INC.      POBOX24286     SEATTE      IVA      98124-0286     UNITE STATE    8f22007 3.02563E+13     811712007   ~     102887       539.44
       97327    CRT    PUGET SOUND TRUCK LINES.
                                            INC.          POBOX24286     SEATIE      WA       98124-286      UNITED STATE   SfJ2oo7 3.02563E+13     811712007   ~     102887       525.40
       97327    CRT    PUGET SOUND TRUCK LINES,INC.       POBOX24286     SEATI       WA       98124-0286     UNITE STATE    812007 3.02563E+13      8/1712007   ~     102887       695.00
                                                                                                                                                                                                    Page 13 of 25




       97327    CRT    PUGET SOUND TRUCK LINES, INC.      POBOX242lt6    SEATTE      IVA      98124-0286     UNITEDSTATE    8/312007 3.02571E+13    81212007    ~     102897       695.00
       97327    CRT    PUGET SOUND TRUCK LINES,INC,       POBOX24286     SEATIE      IVA      98124.0286     UNITEDSTATE    8/312007 3.02572E+13    81212007    ~     102897       695.00
       97327    CRT    PUGET SOUND TRUCK LINES,INC.       POBOX24286     SEATIE      IVA      98124-0286     UNITEDSTATE    8/32007 3.02572E+13     S/2812007   ~     102897       695.00
       97327    CRT    rUGET SOUND TRUCK LINES,INC.       PO80X 24286    SEATIE      WA       98124-0286     UNITEDSTATE    8/61007 3.02594E+13     8/28/2007   m     102897       695.00
       97327    CRT    PUGET SOUND TRUCK LINES.
                                            INC.          POBOX24286     SEATI       IVA      98124-0286     UNITED STATE   8/612007 3.02594E+13    8/2812007   ~     102897       695.00
       97327    CRT    PUOETSOUNDTRUCK LINES.
                                            INC.          POBOX24286     SEA TI      WA       98124-0286     UNITE STATE    8/612007 3.02594E+13    8/2812007   ~     102897       695.00
       97327    CRT    PUGET SOUND TRUCK LINES.
                                            INC.          PO80X 24286    SEA TI      WA       98124-0286     UNITE STATE    8/412007 3.02596E+13    8/2812007   ~     102897       493.06
       97327    CRT    PUOET SOUND TRUCK LINES.
                                            INC.          POBOX24286     SEA TI      WA       98124-0286     UNITED STATE   8/4/2007 3.02596E+13    812812007   ~     102897       489.80
       91327    CRT    rUGET SOUND TRUCK UNES.INC.        P080X24286     SEATI       WA       98124-0286     UNITE STATE    8/4/2007 3.02596E+13    81281007    ~     102897       486.06
       97327    CRT    PUGET SOUND TRUCK L1NES,INC.       POBOX24286     SEATI       WA       98124-0286     UNITE STATE    81412007 3.02596E+13    812/2007    ~     102897       484.05
       97327    CRT    PUGET SOUND TRUCK LINES, INC.      POBOX24286     SEATTE      WA       98124-286      UNITEDSTATE    81412007 3.02596E+13    8128/2007   ~     102897       483.56




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~E ~ u     t,MMMMMMMMMt,t,t,t,t,MM~MMMM~~M~~~~~~M~~~~~~~~~~~~~~h~M~MMMM~~~MM~M~~~~~hMM~~~~~~~~~~~~~~
~ s ~;     §§§§§§§§§§§§§§§§§§§§§§§§§§§§§§§§§§§§§§§§§§§§§§§§§§§§§§§§§§§§§§§§§§§§§§§§§§§§§§§§§§§
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Pope & Talbot, Inc.
Case No. 07-11738 (CSS)
Attachment SOFA 3-a1
Payments to Creditors Between 07/30/2007 and 10/2812007

\'~lll"r f.1:,~ \'cndnrl\:inie Addre" Cll)"Adilrc'~ ~~~il\~: I',,\tal(:..dc (;lIUIltn 'hl\'"kcJ):itc Iii..lce f.licckl):ilc 1';t:i:~lt 'l~:~~~~~1I USI),\m"unt
       97327   CRT   Pl1GET SOUND TRUCK LlNES,INC.  PO BOX 24286   SEATI          WA      98124.0286    UNITEDSTATE    8120/20073.02743E+13      9n12007    EOI   102960        486.90
       97327   CRT   PUGET SOUND TRUCK LlNES,INC. POBOX24286       SEA TI         WA      98124.0286    UNITEDSTATE    8/2012007 3.02743E+13     9n12007    EOI   102960        484.13
       97327   CRT   PUGET SOUND TRUCK LlNES,INC, POBOX24286       SEA TI         WA      911124-0286   UNITEDSTATE    8120/2007 3.02743E+13     9n12007    EOI   102960        4811.19
       97327   CRT   PUGET SOUND TRUCK LlNES,INC, POBOX24286       SEA TI         WA      98124.0286    UNITEDSTATE    8120/2007 3.02743E+13     9n12007    EDI   102960        4811.41
       97327   CRT   PUGET SOUND TRUCK LlNES,INC. PO BOX 24286     SEA TI         WA      98124-02116   UNITEDSTATE    8120120073.02743E+13      9n12007    EOI   102960        489.13
       97327   CRT   PUGET SOUND TRUCK LINES,INC, PO80X 24286      SEATI          WA      98124-02116   UNITEDSTATE    8120120073.02743E+13      9n12007    EDI   102960        488.83
       97327   CRT   PUGET SOUND TRUCK LINES, INC.  PO80X 24286    SEATTE         WA      98124-0286    UNITEDSTATE    8120/2007 3.02744E+13     9n12007    EOI   102960        490.35
       97327   CRT   PUGET SOUND TRUCK LINES, INC.  PO80X 24286    SEATTE         WA      98124-286     UNITEDSTATE    8120120073.02744E+13      9n12007    EOI   102960        485.39
       97327   CRT   PUGET SOUND TRUCK LINES, INC.  P080X24286     SEATTE         WA      98124-0286    UNITEDSTATE    8/2012007 3.02744E+13     9n12007    EOI   102960        484.94
       97327   CRT   PVGET SOUND TRUCK LINES, INC,  PO80X 24286    SEATTE         WA      98124.0286    UNITED STATE   8120120073.02744E+13      9n12007    EOI   102960        484.02
       97327   CRT   PUGET SOUND TRUCK LINES.INC, P080X24286       SEATTE         WA      98124-0286    UNITED STATE   8120120073.02744E+13      9n12007    EOI   102960        484.89
       97327   CRT   PUGE:ïSOUND TRUCK
                                    LINES.INC.      POBOX24286     SEATTE         WA      98124-0286    UNITE STATE    8/20/2007 3.02744E+13     9n!2007    EOI   102960        484.15
       97327   CRT   PUGET SOUND TRUCK LINES.
                                         INC.       POBOX24286     SEA TI         WA      98124-0286    UNITE STATE    8120120073.2744E+13       9n12007    EOI   102960        489.66
       97327   CRT   PUGET SOUND TRUCK LINES,INC. P080X242ir6      SEA TI        WA       98124-0286    UNITE STATE    8120120073.2744E+13      9n12007     Eoi   102960        486.28
       97327   CRT   PUGET SOUND TRUCK LlNES,INC. POBOX24286       SEA TI         WA      98124-0286    UNITE STATE    8/2012007 3.02744E+13    9n12oo7     Eoi   102960        489.85
       97327   CRT   PUGET SOUND TRUCK LlNES,INC. POBOX24286       SEATTE        WA       98124-0286    UNITEDSTATE    8/20120073.02744E+13     9n12007     Eoi   102960        488.76
       97327   CRT   PUGET SOUND TRUCK LlNES,INC. POBOX24286       SEATTE        WA       98124-0286    UNITEDSTATE    8/212007 3.0276E+13      9n12oo7     EDI   102960        695.00
       97327   CRT   PUGET SOUND TRUCK LINES,INC. POBOX24286       SEATTE        WA       98124-0286    UNITEDSTATE    8121120073.0276E+13      9n12oo7     Eoi   102960        695.00
       97327   CRT   PUGET SOUND TRUCK LINES,INC. POBOX24286       SEATTE        WA       98124-0286    UNITE STATE    8121120073.0276E+13      9n12oo7     EDI   102960        695.00
       97327   CRT   PUGET SOUND TRUCK LINES,INC, POBOX24286       SEA TI        WA       98124-0286    UNITE STATE    8'2212007 3.02769E+13    9n12oo7     EDI   102960        695.00
       97327   CRT   PUGET SOUND TRUCK LINES,INC. POBOX24286       SEATTE        WA       98124-0286    UNITEDSTATE    8122120073.02769E+13     9n12oo7     EDI   102960        lI95.00
       97327   CRT   PUGET SOUND TRUCK LlNES,INC, PO BOX 24286     SEA TI        WA       98124-286     UNITEDSTATE    8122120073.02778E+13     9/1212007   Eoi   102967        544.75
       97327   CRT   PUGET SOUND TRUCK LINES,INC. POBOX24286       SEA TI        WA       98124-286     UNlTEDSTATE    8122120073,02783E+13     9/1212007   Eoi   102967        165.24
                                                                                                                                                                                                     Case 07-11738-CSS




       97327   CRT   PUGET SOUND TRUCK LlNES,INC. POBOX24286       SEATI         WA       98124.0286    UNITEDSTATE    8121007 3.02783E+13      91122007    EDI   102967        165.37
       97327   CRT   PUGET SOUND TRUCK L1NES,INC. POBOX24286       SEATI         WA       98124.0286    UNITE STATE    8122120073.02783E+13     9/12/2007   EOI   1029117       165.67
       97327   CRT   PUGET SOUND TRUCK LINES, INC.  POBOX24286     SEA TI        WA       98124.0286    UNITEDSTATE    8/221007 3.02783E+13     911212007   EOI   102967        165.78
       97327   CRT   PVGET SOUND TRUCK LINES, INC,  POBOX24286     SEATTE        WA       98124-0286    UNITED STATE   lìl22120073.02783E+13    911212007   Eoi   102967        165.18
       97327   CRT   PUGETSOVNDTRUCK LINES, INC.    PO80X 24286    SEATTE        WA       98124.02lì6   UNITEDSTATE    8122120073.02783£+13     911212007   EDl   102967        166.51
       97327   CRT   PUGET SOUND TRUCK LINES, INC.  PO80X 24286    SEATTE        \VA      98124.0286    UNITEDSTATE    81212007 3.02789E+13     9/121007    EOI   102967        695.00
       97327   CRT   PUGET SOUND TRUCK LINES,INC. P080X24286       SEATI         WA       98124.0286    UNlJCDSTATE    8/2/2007 3.02789E+13     9/121007    EOI   102967        695.00
       97327   CRT   PUGETSOUNDTRUCK LINES, INC.    PO80X 24286    SEA TIE       WA       98124.0286    UNITEDSTATE    8121207 3.02789E+13      911212007   EOI   102967        695.00
       97327   CRT   PUGET SOUND TRUCK LINES, INC.  P080X24286     SEATTE        WA       98124.0286    UNITEDSTATE    8/23/2007 3.02789E+13    911212007   ED!   102967        168.24
       97327   CRT   PUGET SOUND TRUCK L1NES,INC. P080X24286       SEATIE        \VA      98124.0286    UNITEDSTATE    8/23/2007 3.02789E+13    9112(2007   EOJ   102967        IM.22
       97327   CRT   PUGET SOUND TRUCK LINES, INC.  P080X24286     SEA11E        WA       98124.0286    UNITEDSTATE    8/2/2007 3.02789E+13     911212007   ED!   102967        165.27
       97327   CRT   PUGET SOUND TRUCK LINES. INC.  POBOX24286     SEATIE        WA       98124.0286    UNITEDSTATE    812/2007 3,02789E+13     911212007   ED!   102967        165.96
       97327   CRT   PUGET SOUND TRUCK LINES.
                                         INC.       POBOX24286     SEATTE        \VA      98124-0286    UNITEDSTATE    8/23/2007 3,02789E+13    911212007   ED!   102967        166.49
                                                                                                                                                                                                     Doc 266-2




       97:27   CRT   PUGET SOUND TRUCK LINES, INC.  POßOX24286     SEATTE        \VA      98124.0286    UNITED STATE   812/2007 3.02789E+13     911212007   EDI   102967        163.7
       97327   CRT   PUGET SOUND TRUCK LINES. INC.  PO80X 24286    SEATIE        \VA      98124-0286    UNITEDSTATE    81212007 3.0279E+13      911212007   EOJ   102967       1,104,12
       97327   CRT   PUGET SOUND TRUCK LlNES,INC. POOOX24286       SEATIE        \VA      98124.0286    UNITED STATE   8/2312007 3.02795E+13    9/121007    EOJ   102967        483.46
       97327   CRT   PUGET SOUND TRUCK LINES.
                                         INC.       POnox 24286    SEATI         \VA      98124-286     UNITEDSTATE    81212007 3.02795E+13     911212007   EOJ   102967        485.51
       97327   CRT   PUGET SOUND TRUCK LINES.
                                         INC.       POnox242lì6    SEA TI        \VA      98124-0286    UNITED STATE   812/2007 3,02796E+13     9/121007    EOJ   102967        484.75
       97327   CRT   PUGET SOUND TRUCK LINES.
                                         INC.       POBOX24286     SEATIE        \VA      98124-0286    UNITEDSTATE    8/2412007 3.02806E+13    9/121007    ED!   102967        695.00
       97327   CRT   PUGET SOUND TRUCK LINES, INC.  POBOX24286     SEATIE        \VA      98124.0286    UNITED STATE   8/24/2007 3.02807E+13    9/121007    ED!   102967        695.00
       97327   CRT   PlIGET SOUND TRUCK LINES.
                                         INC.       POBOX24286     SEATIE        WA       98124-0286    VNITESTATE     8/2412007 3.02807E+13    9/121007    EOJ   102967        156.79
       97327   CRT   PlIGET SOUND TRUCK L1NES,INC.  POBOX24286     SEATIE        WA       98124-0286    UNITEDSTATE    8124120073.02807E+13     91121007    EOI   102967        164.17
       97327   CRT   PUGET SOUND TRUCK LlNES,INC. POBOX242ir6      SEATI         WA       98124-0286    UNITEDSTATE    8/2412007 3.02807E+13    91121007    EOJ   102967        163.87
       97327   CRT   PUGET SOUND TRUCK LlNES,INC. P080X24286       SEATIE        WA       98124-0286    UNITEDSTATE    8/2412007 3.02807E+13    911212007   EDI   102967        166.10
       97327   CRT   PUGET SOUND TRUCK LlNES,INC. POBOX24286       SEATIE        \VA      98124-0286    UNITEDSTATE    8/2412007 3.02807E+13    9/121007    ED!   102967        164,93
       97327   CRT   PUGET SOUND TRUCK LlNES,INC. POnox2428ó       SEATTE        \VA      98124-0286    UNITE STATE    8124120073.02lì07E+13    9/121007    EOJ   102967        164.07
       97327   CRT   PUGET SOUND TRUCK LlNES,INC. P080X24286       SEATI         \VA      98124-0286    UNITEDSTATE    8/2312007 3.02807E+13    91121007    EOJ   102967        486.78
       97327   CRT   PUGET SOUND TRUCK LINES,INC. POBOX24286       SEATIE        WA       98124.0286    UNITEDSTATE    8/2312007 3.02807E+13    91121007    EOJ   102967        488.83
       97327   CRT   PUGET SOUND TRUCK LlNES,INC. POBOX242lì6      SEATI         WA       98124.0286    UNITEDSTATE    8/2312007 3.02808E+13    91121007    EOJ   102967        126.87
       97327   CRT   PUGET SOUND TRUCK LlNES,INC. POBOX24286       SEATIE        \VA      98124-0286    UNITED STATE   8/2312007 3.02808E+13    91121007    EOJ   \02967        351.97
       97327   CRT   PUGET SOUND TRUCK LlNES,INC. POBOX24286       SEATIE        WA       98124.0286    UNITE STATE    8/2312007 3.02808E+13    9/121007    EOJ   102967        482.22
                                                                                                                                                                                                     Filed 01/04/08




       97327   CRT   PUGET SOUND TRUCK LlNF.s,INC. POBOX24286      SEA TI        \VA      98124-0286    UNITEDSTATE    81212007 3.0280lìE+13    91121007    EOJ   102967        483.82
       97327   CRT   PUGET SOUND TRUCK LlNES,INC. PO80X 24286      SEATIE        WA       98124-0286    UNITEDSTATE    8/2412007 3.2808E+13     9/1212007   EDI   102967        488.94
       97327   CRT   PUGET SOUND TRUCK LlNES,INC. POBOX24286       SEATIE        WA       98124-0286    UNITE STATE    8/2412007 3.2808E+13     9/121007    EOJ   102967        490.79
       97327   CRT   PUGET SOUND TRUCK LINES, INC.  POBOX24286     SEATIE        \VA      98124-0286    UNITEDSTATE    8/2412007 3.02808E+13    9/121007    EOJ   102967        492.36
       97327   CRT   PUGET SOUND TRUCK LlNES,INC. PO ßOX 24286     SEA TIE       WA       98124-0286    UNITEDSTATE    8/2412007 3.02lì08E+13   911212007   ED!   \02967        333,76
       97327   CRT   PUGET SOUND TRUCK LINES, INC.  POBOX24286     SEATIE        \VA      98124-0286    UNITE STATE    8/2412007 3.02808E+13    91121007    EDI   102967        334.68
       97327   CRT   PUGET SOUND TRUCK LlNES,INC. POBOX24286       SEA TI        WA       98124-0286    UNITEDSTATE    8/2412007 3.2808E+13     9/121007    ED!   102967        487.9
       97327   CRT   PUGET SOUND TRUCK LINES, INC.  POBOX24286     SEA TI        WA       98124-0286    UNITE STATE    8/2412007 3.02809E+13    9/1212007   EOJ   102967        491.07
       97327   CRT   PUGET SOUND TRUCK LINES.
                                         INC.       PO80X 24286    SEA TI        WA       98124-0286    UNITE STATE    8/2412007 3.02809E+13    91121007    EOJ   102967        482.s1
       97327   CRT   PUGET SOUND TRUCK LINES,INC. POBOX24286       SEATIE        \VA      98124-0286    UNITED STATE   8/2412007 3.2809E+13     9/1212007   EOJ   102967        480.41
       97327   CRT   PUGET SOUND TRUCK LINES. INC.  PO80X 24286    SEA TI        ~VA      98124.0286    UNITEDSTATE    8/24/2007 3.02809E+13    9/1212007   EOJ   102967        481.7
       97327   CRT   PUGET SOUND TRUCK L1NES,INC. POBOX24286       SEA TI        \VA      98124-0286    UNITE STATE    8/24/007 3.2809E+13      9/1212007   EOJ   102967        484.91
       97327   CRT   PUGET SOUND TRUCK LINES, INC,  PO80X 24286    SEA TI        WA       98124.0286    UNITEDSTATE    8124/20073.02809E+13     9/1212007   EDI   102967        490.38
       97327   CRT   PUGET SOUND TRUCK LINES, INC.  P080X24286     SEA TIE       WA       98124.0286    UNITEDSTATE    8/24/2007 3.02809E+13    9/1212007   EDI   102967        556.14
       97327   CRT   PUGET SOUND TRUCK LINES, INC.  P080X24286     SEATfE        WA       98124.0286    UNlrnD STATE   8124120073.02809E+13     9/1212007   EOJ   102967        541.16
       97327   CRT   PUGET SOUND TRUCK LINES, INC.  POBOX24286     SEATIE        WA       98124.0286    UNlrnDSTATE    sn412007 3.02809E+13     9/1212007   EOJ   102967        557.26
       97327   CRT   PUGET SOUND TRUCK LINES, INC.  P080X24286     SEA TI        WA       98124-286     UNITEDSTATE    8125120073.02822E+13     9/1212007   ED!   102967        554.28
       97327   CRT   PUGET SOUND TRUCK LINES.
                                         INC.       POBOX24286     SEATTE        WA       98124.0286    UNITEDSTATE    8125/20073.02822E+13     9/1212007   EOJ   102967        552.06
                                                                                                                                                                                                     Page 15 of 25




       97327   CRT   PlIGET SOUND TRUCK LINES, INC. P080X24286     SEATTE        WA       98124.0286    UNITEDSTATE    8125120073.02822E+13     9/12/2007   WI    102967        547.59
       97327   CRT   PUGET SOUND TRUCK LlNES,INC. POBOX242lì6      SEATIE        \VA      98124.0286    UNITEDSTATE    lìl26120073.02823E+13    9/1212007   EOJ   102967        540.21
       97327   CRT   PUGET SOUND TRUCK LINES, INC.  POBOX242lì6    SEATTE        \VA      98124.0286    UNITEDSTATE    lì126120073.02823E+13    911212007   Eoi   102967        558.39
       97327   CRT   PUGET SOUND TRUCK LlNES,INC. POnox 24286      SEA TIE       WA       98124.0286    UNITEDSTATE    8126/20073.02823E+13     9/1212007   EDI   1029117       544.94
       97327   CRT   PUGET SOUND TRUCK LINES, INC.  POBOX242lì6    SEA TI        WA       98124.0286    UNITEDSTATE    8171007 3.02823E+13      9/1212007   EDI   102967        695.00
       97327   CRT   PUGET SOUND TRUCK LINES, INC.  POBOX24286     SEATTE        WA       98124.0286    UNITEDSTATE    lìl27120073.02823E+13    9/12'2007   EDI   102967        (i9S.00
       97327   CRT   PUGET SOUND TRUCK LINES,INC. POBOX24286       SEATIE        WA       98124.0286    UNITEDSTATE    81712007 3.02823E+13     9/1212007   EDI   102967        545.04
       97327   CRT   PUGET SOUND TRUCK LlNES,INC. POBOX242&6       SEATIE        \VA      98124-0286    UNITEDSTATE    lìl27120073.02823E+13    9/1212007   EDI   102967        548.28
       97327   CRT   PUGET SOUND TRUCK LINES,INC. POBOX24286       SEATIE        \VA      98124-0286    UNITED STATE   81212007 3.02823£+13     9/1212007   Eoi   102967        537.87
       97327   CRT   PUGET SOUND TRUCK LINES, INC.  PO BOX 24286   SEATIE        \VA      98124-0286    UNITED STATE   8125120073.02823£+13     9/1212007   Eoi   102967        490.95
       97327   CRT   PUGET SOUND TRUCK LINES, INC.  POBOX24286     SEA TI        \VA      98124-0286    UNITED STATE   8125120073.02823£+13     9/121007    EOJ   102967        487.95




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Pope & Talbot, Ine.
Case No. 07-11738 (CSS)
Altaebment SOFA 3-al
Payments to Creditors Between 07/30/2007 and 10/28/2007

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        97327 CRT PUGET SOUND TRUCK LINES, INC.        POBOX24286     SEATIE        \VA    98124-0286    UNITEDSTATE     812512007 3.02824E+13     91121007
        97327 CRT PUGET SOUND TRUCK LINES, INC.
                                                                                                                                                            m      102967        334.13
                                                       POBOX24286     SEA TIE      \VA     98124-0286    UNITEDSTATE     8125/2007 3.02824£+13     9/12/2007m      102967        384.96
        97327 CRT PUGET SOUND TRUCK UNES, INC.         POBOX2421l6    SEATIE       \VA     98124-0286    UNITEDSTATE     8125/2007 3.02824E+13     91121007        102967
        97327 CRT PUGET SOUND TRUCK LlNES,INC.
                                                                                                                                                             m                   101.5
                                                       POBOX24286     SEA TI       \VA     98124-0286    UNTED STATE     812512007 3.02824£+13     911212007~      102967        486.90
        97327 CRT PUGETSOUNDTRUCKLINES,INC.            PO BOX 24286   SEA TI       \VA     98124-0286    UNITEDSTATE     812512007 3.02824£+13     91121007 m      102967        480.82
        97327 CRT PUGETSOUNDTRUCKLINES,INC.            POBOX24286     SEA TIE      \VA     98124-0286    UNITED STATE    8/2512007 3.02825£+13     91121007 m      102967        482.11
        97327 CRT PUGET SOUND TRUCK LINES, INC.        POBOX24286     SEATIE       \VA     98124.0286   UNITED STATE     812512007 3.02825£+13     911212007~      102967        479.44
        97327 CRT PUGET SOUND TRUCK LINES, INC,        POBOX24286     SEA TI       \VA     98124.0286    UNITED STATE    812512007 3.02825£+13     91121007        102967
        97327 CRT PUG£T SOUND TRUCK LlNES,INC.
                                                                                                                                                            m                    334.61
                                                       POBOX24286     SEATIE       \VA     98124-0286   UNITED STATE     8/2512007 3.02825E+13     91121007 m      102967        486.04
        97327 CRT PUGET SOUND TRUCK LlNES,INC.         POßQX24286     SEATI£       \VA     98124.0286    UNITEDSTATE     8/2512007 3.02825£+13     911212007m      102967        484.80
        97327 CRT PUGET SOUND TRUCK LlNES,INC.         POBOX2421l6    SEATIE       \VA     98124-0286   UNITED STATE     8125/2007 3.02825E+13     911212007~      102967        486.13
        97327 CRT PUGET SOUND TRUCK LlNES,INC.         POBOX24286     SEAl1E       \VA     98124-0286   UNITED STATE     8125/2007 3.02825E+13     911212007~      102967        494.34
        97327 CRT PllGET SOUND TRUCK L1NES,INC.        POBOX24286     SEAl1E       \VA     98124-0286   UNITED STATE     812512007 3.02826E+13     911212007m      102967        41l8.56
        97327 CRT PUGET SOUND TRUCK LlNES,INC.         POBOX24286     SEAl1E       \VA     98124-0286   UNITED STATE     8/2512007 3.02826E+13
        97327 CRT PUGETSOUNDTRUCKLlNES,INC.
                                                                                                                                                   9/1212007 m     102967        491.1
                                                       POBOX24286     SEATIE       \VA     98124.0286   UNITED STATE     8125/2007 3.02826£+13     9112/2007 m     102967        493.06
        97327 CRT PliGETSOUNDTRUCKLINES,INC.           POBOX24286     SEA TI       \VA     98124-286    UNITED STATE     81512007 3.02826£+13      911212007 Wi
        97327 CRT PUGET SOUND TRUCK LINES.                                                                                                                         102967        478.29
                                          INC.         POBOX24286     SEATIE       \VA     98124.0286   UNITED STATE     812512007 3.02826£+13     911212007m      102967        485.21
        97327 CRT PUG£TSOUNDTRUCK LINES.INC.           POBOX24286     SEATI£       \VA     98124-0286   UNITED STATE     8125/2007 3.02826£+13     9/1212007m      102967        4R5.24
        97327 CRT PUG£TSOUNDTRUCKLlNES,INC.            POBOX24286     SEATIE       \VA     98124-0286   UNITED STATE     8125/2007 3.02826£+13     911212007m      102967        485.79
        97327 CRT PUGET SOUND TRUCK LINES, INC.        POßQX24286     SEATIE       \VA     98124-0286   UNITED STATE     8/2512007 3.02826£+13     91121007 m      102967        486.21
        97327 CRT PUOET SOUND TRUCK LINES,INC.         POBOX24286     SEATIE       \VA     98124-0286   UNITED STATE     812812007 3.02843£+13     911212007       102967
        97327 CRT PUGET SOUND TRUCK LINES, INC,
                                                                                                                                                            ~                    550.18
                                                       POBOX24286     SEA11E       \VA     98124-0286   UNITED STATE     8/2812007 3.02843£+13     911212007~      102967        555.97
        97327 CRT PUGET SOUND TRUCK LINES, INC.        POBOX24286     SEATIE       \VA     98124-0286   UNITED STATE     8/28/2007 3.021l43E+13    9/1212007m      102967        552.84
                                                                                                                                                                                                   Case 07-11738-CSS




        97327 CRT PUG£T SOUNDTRlICKLINES,INC.          POBOX24286     SEATIE       \VA     98124.0286   UNITED STATE     8128/2007 3.2843E+13     911212007
        97327 CRT lUGET SOUNDTRUCKLINES.INC.
                                                                                                                                                            m      102967        553.86
                                                       POBOX24286     SEATIE       \VA     98124_0286   UNITED STATE     8/2812007 3.02843£+13    911212007 ~      102967        553.90
        97327 CRT PUGET SOUNDTRUCKLINES.INC.           POBOX24286     SEA TI       \VA     98124-0286   UNITEDSTATE      812812007 3.02843£+13    911212007 m      102967        695.00
        97327 CRT PUGETSOUNDTRUCKLlNES,INC.            POBOX24286     SEA TI       \VA     98124.0286   UNITEDSTATE      8128/2007 3.02843£+13    9/121007
        97327 CRT PUGET SOUNDTRUCKLINES.INC.                                                                                                                w      102967        695.00
                                                       POBOX24286     SEA TI       \VA     98124-286    UNITED STATE     8129/2007 3.02856£+13    911412007 m      102979        544.61
        97327 CRT PUGET SOUND TRUCK LINES, INC.        POOOX24286     SEATIE       \VA    98124.0286    UNITEDSTATE     8/2912007 3.02856£+13     911412007
        97327 CRT PUGET SOUND TRUCK LlNES,INC.
                                                                                                                                                            m     102979         547.51
                                                       POBOX24286     SEATIE       \VA    98124.0286    UNITEDSTATE     8/2912007 3.02856£+13     911412007 m     102919        548.53
        97327 CRT PUGET SOUND TRUCK LlNES,INC.         POBOX2421l6    SEATIE      \VA     98124-0286    UNITEDSTATE     8/2912007 3.02856£+13     911412007
        97327 CRT PUGET SOUND TRUCK LlNES,INC.
                                                                                                                                                            m     102919        695.00
                                                       POBOX2421l6    SEATIE       \VA    98124-0286    UNITEDSTATE     8/29/2007 3.02856£+13     911412007 m     102979        695.00
        97327 CRT PUGET SOUND TRUCK LINES,INC.         POBOX24286     SEATTE       \VA    98124-0286    UNITEDSTATE     8/2912007 3.02856£+13     9114/2007
        97327 CRT PUGET SOUND
                                                                                                                                                            m     102979        547.19
                               TRUCKLINES.INC.         POBOX24286     SEATIE      \VA     98124-0286    UNITE STATE     812912007 3.02857£+13     9/14/2007 m     102979        695.00
       97327 CRT PUGET SOUNDTRUCKLINES.INC.            POBOX24286     SEA TI      \VA     98124-0286    UNITEDSTATE     813012007 3.02878£+13     9/1412007
       97327 CRT PUGET SOUNDTRUCKLINES.INC.
                                                                                                                                                            m     102979        695.00
                                                       POBOX24286     SEA TIE     \VA     98124.0286    UNITE STATE     8130/2007 3.02878E+13     911412007 m     102979        695.00
       97327 CRT PUGETSOUNDTRUCKLINES.TNC.             POBOX24286     SEA TIE     \VA     98124-286     UNITED STATE    8130/2007 3.02878£+13                     102979        695.00
                                                                                                                                                                                                   Doc 266-2




                                                                                                                                                  9114/2007 m
       97327 CRT PUGET SOUND TRUCK L1NES,INC.         POBOX24286      SEA TIE     \VA     98124.0286    UNITEDSTATE     8131/2007 3.02879£+13     9119/2007
       97327 CRT PUGET SOUND TRUCK LlNES,INC.
                                                                                                                                                            m     102989        695.00
                                                      POnox 24286     SEATI       \VA     98124.0286    UNITEDSTATE     8131/2007 3.02879E+13     9119/2007 m     102989        695.00
       97327 CRT PUGET SOUND TRUCK LlNES,INC.         POBOX24286      SEA11E      \VA     98124-0286    UNITED STATE    813112007 3.02879£+13     911912007       t02989
       97327 CRT PUGET SOUND TRUCK UNES, INC.                                                                                                               m                   695.00
                                                      POBOX24286      SEATnE      \VA     98124-0286    UNITE STATE     813012007 3.0288£+13      9/1412007 m     102979        555.26
       97327 CRT PUGET SOUND TRUCK LINES, INC.        POBOX24286      SEATn£      \VA     98124-0286    UNITEDSTATE     813012007 3.0288£+13      911412007
       97327 CRT PUGETSOUNDTRUCKLlNES,INC.                                                                                                                  m     102979        545.36
                                                      PO BOX 24286    SEATI£      WA      98124-0286    UNITE STATE     8130/2007 3.288£+13       9/1412007 m     102919        546.07
       97327 CRT PUGET SOUND TRUCK LINES.INC.         POBOX24286      SEA TI      \VA     98124-0286    UNITEDSTATE     813112007 3.02888£+13     9/1912007
       97327 CRT PUGET SOUND TRUCK LINES. INC.                                                                                                              m     102989        550.66
                                                      POBOX24286      SEA TI      \VA     98124.0286    UNITE STATE     8131/2007 3.02889£+13     911912007 ~     102989        546.86
       97327 CRT PUGET SOUND TRUCK LlNES,INC.         POBOX24286      SEATI£      \VA     98124.0286    UNITEDSTATE      9/112007 3.02919£+13
       97327 CRT PUGET SOUND TRUCK LlNES,INC.
                                                                                                                                                  911912007 m     102989        613.30
                                                      POBOX24286      SEATf£      \VA     98124.0286    UNITEDSTATE      9/112007 3.02919£+13     9/1912007 m     102989        614.22
       97327 CRT PUGET SOUND TRUCK LINES, INC.        POBOX24286      SEAlT£      \VA     98124-0286    UNITED STATE     9/112007 3.0292£+13      911912007
       97327 CRT PUGET SOUND TRUCK LlNES,INC.                                                                                                               m     102989        605.12
                                                      POnox 24286     SEATT£      \VA     98124-0286    UNITED STATE     9132007 3.02922£+13      9119/2007 m     102989        695.00
       97327 CRT PUGETSOUNDTRUCKLINES,INC.            POBOX24286      SEATTE      \VA     98124-0286    UNITE STATE      9/4/2007 3.02923£+13     9119/2007       102989
       97327 CRT PUGETSOUNDTRUCKLINES,INC.                                                                                                                  m                   695.00
                                                      POnox 24286     SEA TI      \VA     98124-0286    UNITE STATE      9/4/2007 3.02923£+13     911912007 m     102989        695.00
       97327 CRT PUGETSOUNDTRUCKLTNES,INC.            POBOX24286      SEATIE      \VA     98124-0286    UNITEDSTATE      9/5/2007 3.02923£+13     912012007
       97327 CRT PUGET SOUND TRUCK LINES,INC.                                                                                                               ~     102992        695.00
                                                      POBOX24286      SEA TI£     \VA     98124-0286    UNITE STATE      915/2007 3.02934£+13     912012007 m     102992        695.00
       97327 CRT PUGETSoUNDTRUCKLlNES.INC.            POBOX24286      SEA TIE     \VA     98124.0286    UNITED STATE     9/612007 3.02949£+13     9121/2007 ~     102997        611.92
       97327 CRT PUGET SOUND TRUCK LINES,INC.         POBOX24286      SEATI       \VA
                                                                                                                                                                                                   Filed 01/04/08




                                                                                          98124-0286    UNITEDSTATE      9/61007 3.02949£+13      912112007 m     102997        609.91
       97327 CRT PUGET SOUND TRUCK LINES, INC.        POBOX24286      SEAm.£      \VA     98124.0286    UNITEDSTATE      9/6/2007 3.02949£+13     9121/2007
       97327 CRT PUGET SOUND TRUCK UNES, INC.                                                                                                               m     102997        608.85
                                                      POnox 24286     SEATT£      \VA     98124-0286    UNITEDSTATE      91612007 3.02949£+13     912112007 m     102991        695.00
       97327 CRT PUGET SOUND TRUCK LINES, INC.        POBOX24286      SEATTE      \VA     98124-0286    UNITEDSTATE      9/61007 3.0295£+13       9/21/2007 m     102991        695.00
       97327 CRT PUGET SOUND TRUCK LlNES,INC.         POnox 24286     SEATI£     \VA      98124-0286    UNITED STATE     9n12007 3.02967£+13      9/261007
       97327 CRT PUGETSOUNDTRUCK LINES.INC.
                                                                                                                                                            m     103004        626.95
                                                      POBOX24286      SEA TI£    \VA      98124-0286    UNITE STATE      9n12007 3.02967£+13      9/261007  m     103004        627.15
       97327 CRT PUGETSOUNDTRUCK LINES,INC.           POBOX24286      SEATIE     \VA      98124-0286    UNITEDSTATE      9n12007 3.02967E+13      9/2612007
       97327 CRT PUGETSOUNDTRUCK LINES.INC.
                                                                                                                                                            m     103004        624.34
                                                      POBOX24286      SEA TI     \VA      98124.0286    UNITED STATE     9n12007 3.02967£+13      912612007 m     103004        695.00
       97327 CRT PUGETSOUNDTRUCKLlNES,INC.            POBOX24286      SEA TI     \VA      98124.0286    UNITEDSTATE      9nl2oo7 3.02967E+13      9/2612007
       97327 CRT PUGET SOUND TRUCK LINES, INC.
                                                                                                                                                            m     103004        695.00
                                                      POBOX2428ó      SEA TI     \VA      98124.0286    UNITED STATE    9n12oo7 3.02967E+13       9/26/2007 m     103004        695.00
       97327 CRT PUGET SOUND TRUCK LINES, INC.        POBOX24286      SEATI      \VA      98124.o21l6   UNITEDSTATE     9181007 3.0298E+13        9/26/2007 ~     103004        621.62
       97327 CRT PUGET SOUND TRUCK LlNES,INC.         POBOX24286      SEATfE     \VA      98124.0286    UNITEDSTATE     9!112007 3.0298£+13       91212007   WI   103004        622.27
       97327 CRT PUGET SOUND TRUCK LlNES,INC,         POBOX24286      SEATf£     \VA      98124-0286    UNITEDSTATE     91912007 3.0298£+13       91212007  ~     103004        621.65
       97327 CRT PUGET SOUND TRUCK LlNES,INC.         POnox 24286     SEA TT£    \VA      98124-286     UNITEDSTATE     91912007 3.02981£+13      9/2612007       103004
       97327 CRT PUGET SOUND TRUCK LINES,INC.
                                                                                                                                                            m                   619.43
                                                      POBOX24286      SEATfE     \VA      98124-0286    UNITEDSTATE     919/2007 3.02981£+13      9/2612007 m     103004        622.11
       97327 CRT PUGETSOUNDTRUCKLINES,INC.            PO BOX 24286    SEATIE     \VA      98124-0286    UNITESTATE      9/1012007 3.02981£+13     9/2612007 m     103004        695.00
       97327 CRT PUGETSOUNDTRUCKLINES,INC.            POBOX24286      SEA TI     \VA      98124-0286    UNITE STATE     9/1012007 3.02981£+13     9/261007  m     103004        695.00
       97327 CRT PUGET SOUND TRUCK LINES. INC.        POBOX24286      SEA TIE    \VA      98124-0286    UNITEDSTATE     9/1012007 3.02995£+13     9/261007        103004        623.96
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       97327 CRT PUGETSOUND TRUCK  LINES.INC.         POBOX24286      SEA TI     \VA      98124-0286    UNITE STATE     9/1012007 M2996E+13       9/2612007
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       97327 CRT PUGET SOUND TRUCK LlNES,INC.         POBOX24286      SEATT      \VA      98124-0286    UNITED STATE    9/121007 3.02996E+13      9/27/2007 m     103013        695.00
       97327 CRT PUGET SOUND TRUCK LINES, INC.        POnoX24286      SEATI      \VA      98124-286     UNITEDSTATE     9/1112007 3.02996£+13     9126/2007 m     103004        695.00
       97327 CRT PUGET SOUND TRUCK LlNES,INC.         POBOX24286      SEA TI£    \VA      98124-286     UNITE STATE     9/1112007 3.02996£+13     9/2612007
       97327 CRT PUGET SOUND TRUCK LINES, INC.
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                                                      POnox 24286     SEATI£     \VA      98124-0286    UNITEDSTATE     9/11/2007 3.02996£+13     9126/2007 m     103004        623.27
       97327 CRT PUGETSOUNDTRUCKLlNES,INC.            POBOX24286      SEATIE     \VA      98124-0286    UNITEDSTATE     9111/2007 3.02996£+13     91212007   WI   103004        625.07
       97327 CRT PUGETSOUNDTRUCK LINES.INC.           POBOX24286      SEAn'E     \VA      98124.0286    UNITEDSTATE     911112007 3.02999£+13     9/2612007 w     103004        695.00
       97327 CRT PUGET SOUND TRUCK LlNES,INC.         POBOX24286      SEA TIE    \VA      98124-0286    UNITE STATE     9/121007 3.03003E+13      9/212007  m     103013        695.00
       97327 CRT PUGETSOUNDTRUCKLlNES,INC.            POBOX24286      SEATIE     WA       98124-0286    UNITE STATE     9/121007 3.03009£+13      9/27/007
       97327 CRT PUGET SOUND TRUCK LINES, INC.                                                                                                              w     103013        622.40
                                                      POBOX24286      SfATT      \VA      98124-0286    UNITE STATE     9/121007 3.0301£+13       9/27/007  m     103013        624.15
       97327 CRT PUGET SOUND mUCK LINES, INC.         POBOX24286      SEA TI     \VA      98124-286     UNITE STATE     91121007 3.0301£+13       9/27/007  m     103013        624.91




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Pope & Talbot, Inc.
Case No. 07-11738 (CSS)
Attachment SOFA 3-81
Payments to Creditors Between 07/30/2007 and 10/28/2007

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       97327    CRT   PUGET SOUND TRUCK L1NES,INC.    POBOX24286     SEATT            \VA     98124.(286    VNITESTATE      9/21/2007 3.03113£+13    10/5/2007   EDI   103032       532.80
       97n7     CRT   PUGET SOUND TRUCK LINES,INC.    POBOX24286     SEATT£           \VA     98124.(286    UNITE STATE     9/2112007 3.03113£+13    10/5/2007   ED!   103032       529,96
       97n7     CRT   PUG£T SOUND TRUCK LlNES,INC.    POBOX24286     SEATT£           \VA     98124-0286    UNITEDSTATE     9/2112007 3.03113£+13    10'512007   ED!   103032       531.44
       97327    CRT   PUGET SOUND TRUCK LINES, INC.   POBOX24286     SEATTE           \VA     98124-0286    UNITEDSTATE     9/21f2007 3.3113£+13     10/5/207    ED!   103032       531,79
       97327    CRT   rUGET SOUND TRUCK LlNES,INC.    POBOX24286     SEATTE           \VA     98124.0286    UNITED STATE    9/2112007 3.03113£+13    10/5/2007   ED!   103032       378,95
       97327    CRT   PUGET SOUND TRUCK LINES,INC.    POBOX24286     'EATI           \VA      98124-286     UNITED STATE    9121120073.03113£+13     10/512007   £01   103032       379.45
       97327    CRT   PUGET SOUND TRUCK LINES,INC.    POBOX24286     SEATT£          \VA      98124-0286    UNITE STATE     9/2112007 3.03113£+13    10/5/2007   ED!   103032       530.80
       97327    CRT   PUGET SOUND TRUCK LINES, INC.   POBOX24286     SEATTE          \VA      98124-0286    UNITE STATE     9/21/2007 3.03114£+13    101512007   ED!   103032       533.20
       97327    CRT   PUOET SOUND TRUCK L1NES,INC.    POBOX24286     SEATT£          \VA      98124-0286    UNITE STATE     9/2412007 3.03114£+13    101912007   ED!   103034       529.65
       9H27     CRT   PUGET SOUND TRUCK L1NES,INC.    PO BOX 24286   'EATI           \VA      98124-0286    UNITED STATE    9/24/2007 3.03114E+13    1019/2007   EDI   103034       529.63
       97327    CRT   PUGET SOUND TRUCK LlNES,INC.    PO BOX 24286   'EATI           \VA      98124-0286    UNITE STATE     9/24/2007 3.03114£+13    101912007   ED!   103034       536.68
       97327    CRT   PUOET SOUND TRUCK LINES,INC.    POBOX24286     SEATTE          \VA      98124-286     UNITE STATE     912/2007 3.03114£+13     10/5/2007   ED!   103032       523.21
       97327    CRT   PUOET SOUND TRUCK LINES,INC.    POBOX24286     'EATI           \VA      98124-0286    UNlTESTA'f      9/21/2007 3.03114£+13    10/5/2007   ED!   103032       535.98
       97327    CRT   PUOET SOUND TRUCK LINES,INC.    POBOX24286     SEATI           \VA      98124-0286    UNITEDSTATE     9121120073.03114£+13     101512007   ED!   103032       537.32
       97327    CRT   PUGET SOUND TRUCK LlNES,INC.    POBOX24286     'EATI           \VA      98124.(286    UNITEDSTATE     9/24/2007 3.03114£+13    101912007   EDI   103034       536.$0
       97327    CRT   PUGET SOUND TRUCK LlNES,INC.    POBOX24286     SEA TIE         \VA      98124.(286    UNITEDSTATE     9/221007 3.03134£+13     10/5/2007   EDI   103032       630.44
       97327    CRT   PUGET SOUND TRUCK L1NES,INC.    POBOX24286     SEATT£          \VA      98124-286     UNITEDSTATE     9122120073.03134£+13     10/5/2007   EDI   103032       631.61
       97327    CRT   PUGET SOUND TRUCK L1NES,INC.    POBOX24286     'EATI           \VA      98124-0286    UNITEDSTATE     9/2212007 3.03135E+13    10/5/2007   EDI   103032       634.87
       97327    CRT   PUGET SOUND TRUCK L1NES,INC.    POBOX24286     SEATTE          \VA      98124-0286    UNITEDSTATE     9/23/1007 3,03138£+13    10/512007   ED!   103032       627.25
       973.7    CRT   PUGET SOUND TRUCK LINES,INC.    POBOX24286     SEATTE          \VA      98124.(286    UNITEDSTA'f     912/2007 3.03138£+13     10/5/2007   ED!   103032       624.88
       97327    CRT   PUGETSOUND TRUCK LINES, INC.    POBOX24286     'EATI           \VA      98124-286     UNITED STATE    912/2007 3.03138£+13     10/5/2007   EDI   103032       627.31
       97n7     CRT   PUGET SOUND TRUCK LlNES,INC.    POBOX24286     SEATTE          \VA      98124-0286    UNITEDSTATE     9124/2007 3.03139£+13    101912007   ED!   103034       623.11
       97327    CRT   PUGET SOUND mUCK LlNES,INC.     POBOX24286     'EATI           \VA      98124.0286    UNITEDSTATE     9/24/2007 3.0314E+13     101912007   EDI   103034       620.23
                                                                                                                                                                                                       Case 07-11738-CSS




       97327    CRT   PUGET SOUND TRUCK LlNES,INC.    POBOX24286     SEATTE          \VA      98124-0286    UNITED STATE    9/24/2007 3.0314E+13     1019/2007   £DI   103034       625.2
       97327    CRT   PUGET SOUND mUCK LINES, INC.    POBOX24286     SEATTE          \VA      98124-0286    UNITED STATE    9/24f2007 3.03146£+13    101912007   ED!   103034       766.2
       97327    CRT   PUGET SOUND TRUCK LlNES,INC.    POBOX24286     SEATTE          \VA      98124-0286    UNITEDSTATE     9f24/2007 3.03146£+13    1019/2007   ED!   103034       766.92
       97327    CRT   PUGET SOUND mUCK LINES, INC.    POBOX24286     SEATTE          \VA      98124.0286    UNITED STATE    9/24/2007 3.03146£+13    101912007   £DI   103034       521.03
       97327    CRT   PUGET SOUND TRUCK UNES,INC.     POBOX24286     SEA TIE         \VA      98124.0286    UNITEDSTATE     9/24/2007 3.03146£+13    101912007   EDI   103034       534.44
       97327    CRT   PUGET SOUND TRUCK LINES, INC.   POBOX24286     SEA TT£         \VA      98124.0286    UNITEDSTATE     9/24/2007 3.03146£+13    101912007   EDI   103034       529.14
       97327    CRT   PUGET SOUND TRUCK LINES, INC.   POBOX24286     SEATIE          \VA      98124.0286    UNITEDSTATE     9/24/2007 3.03147E+13    101912007   EDI   103034       531.25
       97327    CRT   PUGET SOUND TRUCK LINES, INC.   POBOX24286     SEATT£          \VA      98124.0286    UNITEDSTATE     9/24/2007 3.03147£+13    1019/2007   EDI   103034       378.00
       97327    CRT   rUGET SOUND TRUCK L1NES,INC.    POBOX24286     SEATJ£          \VA      98124.0286    UNlTEDSTAii     9/24/2007 3.03147£+13    10/9/2007   EDI   103034       351.2
       97327    CRT   rUGET SOUND TRUCK LINES, INC.   POBOX242lì6    SEATIE          \VA      98124.0286    UNITED STATE    9/24/2007 3.03147£+13    1019/2007   ED!   103034       220.40
       97327    CRT   rUGET SOUND TRUCK LINES, INC.   POBOX242lì6    SEATrE          \VA      98124.0286    UNITEDSTAii     9/24/2007 3.03147£+13    101912007   EDI   103034       521;'66
       97327    CRT   rLIGET SOUND TRUCK L1NES,INC.   POBOX24286     SEATTE          \VA      98124.0286    UNITEDSTAii     9/24/2007 3.03147£+13    10/912007   EDI   103034       530.67
       97327    CRT   rUGET SOUND TRUCK L1NES,INC.    POBOX24286     SEATTE          \VA      98124-0286    UNITEDSTAii     9/24'2007 3.03147£+13    10/912007   EDI   103034       522.61
       97327    CRT   PUGET SOUND TRUCK LINES, INC.   ro BOX24286    SEATIE          \VA
                                                                                                                                                                                                       Doc 266-2




                                                                                              98124-0286    UNITE STATES    9/24/2007 3.03147E+13    10/9/2007   EDI   103034       37729
       97327    CRT   PUGET SOUND TRUCK LINES, INC.   POBOX24286     SEATI£          \VA      98124.0286    UNITEDSTAii     9/25/207 3.0316E+13      1019/2007   EDI   103034       634.56
       97327    CRT   PUGET SOUND TRUCK LINES, INC.   POBOX24286     SEATIE          \VA      98124.0286    UNITEDSTATE     9115/2007 3.0316E+13     1019/2007   EDI   103034       634,95
       97327    CRT   PUGET SOUND TRUCK LINES, INC.   ro BOX24286    SEATIE          \VA      98124-0286    UNITEDSTATE     9/25/2007 3.0316E+13     101912007   EDI   103034       631.05
       97327    CRT   PUGET SOUND TRUCK LlNES,INC.    POBOX14286     SEATIE          \VA      98124-0286    UNITE STATE     9/25/2007 3.0316E+13     1019/2007   ED!   103034       627.04
       97327    CRT   PUGET SOUND TRUCK LlNES,INC.    PO BOX 24286   SEATIE          \VA      98124-0286    UNITESTA'f      9115/2007 3.0316E+13     1019/2007   ED!   103034       621.87
       97327    CRT   PUGET SOUND TRUCK LlNES,INC.    PO BOX 24286   SEATIE          \VA      98124-0286    UNITE STATE     9125/2007 3.316E+13      101912007   ED!   103034       766.92
       97327    CRT   PUGET SOUND TRUCK LINES,INC.    POBOX24286     SEATI£          \VA      98124-286     UNITE STATE     9/25/2007 3.316E+13      1019/2007   ED!   103034       766.92
       97327    CRT   PUGET SOUND TRUCK LINES.
                                          INC.        POBOX24286     SEATIE          \VA      98124-0286    UNITEDSTATE     9/25/2007 3.0316£+13     1019/2007   ED!   103034       531.81
       97327    CRT   PUGET SOUND TRUCK LINES, INC.   POBOX24286     'EATI           \VA      98124-0286    UNITEDSTATE     9125/2007 3.0316£+13     1019/2007   EDI   103034       531.62
       97327    CRT   PUGET SOUND TRUCK LINES,INC.    POBOX24286     SEATIE          \VA      98124-0286    UNITEDSTATE     9/2512007 3.316£+13      1019/2007   ED!   103034       534.69
       97327    CRT   PUGET SOUND TRUCK LINES,INC.    POBOX24286     'EATI           \VA      98124-0286    UNITE STATE     9f25120073.0316IE+13     101912007   EDI   103034       535.17
       97327    CRT   PUGET SOUND TRUCK LINES,INC,    POBOX24286     SEA TIE         \VA      98124-0286    UNITEDSTATE     9/25/2007 3.03161£+13    10112007    EDI   103034       533.65
       97327    CRT   PUGET SOUND TRUCK L1NES,INC.    POBOX24286     'EATI           \VA      98124-0286    UNlTEDSTAii     9125/2007 3.03161E+13    101912007   £DI   103034       534.77
       97327    CRT   PUGET SOUND TRUCK LlNES,INC.    POBOX24286     SEATTE          \VA      98124-0286    UNITEDSTATF.1   9/25/2007 3.03161£+13    1019/2007   ED!   103034       534.81
       97327    CRT   PUGET SOUND TRUCK LlNES,INC.    POBOX24286     SEA TIE         \VA      98124-0286    UNITEDSTATE     9/2512007 3.0316IE+13    101912007   EOI   103034       533.01
       97327    CRT   PUG£T SOUND TRUCK LlNES,INC.    POBOX24286     SEAT1£          \VA      98124-0286    UNITEDSTAii     9126120073.03169E+13    10117/2007   EDI   103050       695.00
       97327    CRT   PUGET SOUND TRUCK LlNES,INC.    POBOX24286     SEAT1£          \VA      98124.286     UNITEDSTATE     9/26/2007 3.03169E+13   10/17/2007   EDI   103050       766.92
                                                                                                                                                                                                       Filed 01/04/08




       97327    CRT   rUGET SOUND TRUCK LINES,INC.    POBOX24286     SEA TI£         \VA      98124-0286    UNITED STATE    9/26/2007 3.03169E+13   10/17/2007   EDI   103050       766.2
       97327    CRT   PUGET SOUND TRUCK LINES,INC.    POBOX24286     SEA TI          \VA      98124-286     UNlTEDSTAii     9/26/2007 3.03172E+13   10/17/2007   EDI   103050       631.26
       97327    CRT   rUGET SOUND TRUCK LINES,INC.    POBOX24286     SEATIE          \VA      98124.0286    UNITEDSTATE     912/2007 3.03Ilì2E+13   10/17/2007   £DI   103050       766.92
       97327    CRT   rUGET SOUND TRUCK LINES,INC.    POBOX24286     SEATIE          \VA      98124.0286    UNITEDSTATE     9/27/2007 3.03182E+13   10/l/2007    EDI   103050       766.92
       97327    CRT   PUGET SOUND TRUCK LINES,INC.    POBOX24286     SEATTE          \VA      98124.02lì6   UNITEDSTATE     912/2007 3.03182£+13    10/l/2007    ED!   103050       624.91
       97327    CRT   rUOET SOUND TRUCK LINES,INC.    POBOX242lì6    SEA11E          \VA      98124-0286    UNITED STATE    91212007 3,032E+13      10/172007    ED!   103050       631.26
       97327    CRT   PUO£T SOUND TRUCK LlNES,INC.    POBOX24286     SEA11E          \VA      98124-0286    UNITEDSTATE     91211007 3.03201£+13    10/1712007   EDI   103050       633.32
       97327    CRT   PUGET SOUND TRUCK LlNES,INC.    POBOX242lì6    SEATT£          \VA      98124-0286    UNITEDSTATE     912/2007 3.0320IE+13    10/17/2007   EDI   103050       766.2
       97327    CRT   PUOET SOUND TRUCK LlNES,INC.    POBOX242lì6    SEATI£          \VA      98124.0286    UNITEDSTATE     91212007 3.0320IE+13    10/17/2007   ED!   103050       766.2
       97327    CRT   PUOET SOUND TRUCK LlNES,INC.    POBOX24186     SEA TIE         \VA      98124-0286    UNITEDSTATE     91212007 3.03201£+13    10/17/1007   ED!   103050       766.2
       97327    CRT   PUO£T SOUND TRUCK LlNES,INC.    POBOX24286     SEATI           \VA      98124.0286    UNlmDSTATE      912/2007 3.03225£+13    10/17f007    ED!   103050       623.8
       97327    CRT   PUGET SOUND TRUCK LINES,INC.    POBOX24286     SEATTE          \VA      98124-0286    UNITEDSTATE     1011120073.03225£+13    10/17/2007   EDI   103050       627.\3
       97327    CRT   PUGET SOUND TRUCK LINES,INC.    POBOX24286     S£ATIE          \VA      98124-0286    UNITE STATE     10/1/2007 3.03225£+13   10/1712007   ED!   103050       628.84
       97327    CRT   PUGET SOUND TRUCK LINES,INC.    POBOX24286     'EATI           \VA      98124-0286    UNITE STATE     10/1120073.03225E+13    10/17f007    EDI   103050       764.60
       97327    CRT   PUGET SOUND TRUCK LINES,INC.    POBOX24286     SEATI£          \VA      98124-0286    UNITEDSTATE     1011120073.03225£+13    10/171007    ED!   103050       764.60
       97327    CRT   PUGET SOUND TRUCK LlNES,INC.    POBOX24286     'EATI           \VA      98124-0286    UNITED STATE    1012007 3.03234£+13     10/2411007   ED!   103063       764.60
       97327    CRT   PUGETSOUNDTRUCK LINES,INC.      POBOX24286     'EATI           \VA      98124-0286    UNITE STATE     1012007 3.03235E+13     10/2411007   ED!   103063       764.60
       97327    CRT   PUGET SOUND TRUCK LlNES,INC.    POBOX24286     'EATI           \VA      98124-0286    UNITEDSTATE     1013120073.03246£+13    10/24f2007   ED!   103063       626.17
                                                                                                                                                                                                       Page 18 of 25




       97327    CRT   PUGET SOUND TRUCK LlNES,INC.    POBOX24286     'EATI           \VA      98124-0286    UNITE STATE     10012007 3.03246£+13    10/24f2007   ED!   103063       630.22
       97327    CRT   PUG£T SOUND TRUCK LINES,INC.    POBOX24286     SEA TIE         \VA      98124-0286    UNITEDSTATE     1013120073.3246£+13     10/24/1007   EDI   103063       625.06
       97327    CRT   PUGET SOUND TRUCK LINES,INC.    POBOX24286     SEA TIE         \VA      98124-0286    UNITEDSTATE     100/2007 3.03246£+13    10f2412007   EDI   103063       764.60
       97327    CRT   PUGET SOUND TRUCK LlNES,INC.    POBOX24286     SEA TI£         \VA      98124-0286    UNITEDSTATE     1013/20073.03246E+13    10/24f2007   EDI   103063       764.60
       97327    CRT   PUGET SOUND TRUCK LINES, INC.   POBOX24286     SEATTE          \VA      98124-0286    UNITE STATE     1013/20073.03246£+13    10/2412007   EDI   103063       764.60
       97327    CRT   PUGET SOUND TRUCK LINES,INC.    POBOX24286     'EATI           \VA      98124.(286    UNITEDSTATE     10/4/2007 3.026£+13     10/24/2007   ED!   103063       629.56
       97327    CRT   PUGET SOUND TRUCK LINES,INC.    POBOX24286     SEATIE          \VA      98124.0286    UNITE STATE     10/4f2007 3.0326E+13    10/24/2007   EDI   103063       626.94
       97327    CRT   PUOET SOUND TRUCK LINES,INC.    POBOX24286     'EATI           \VA      98124.(286    UNITEDSTATE     10/4/2007 3.0326£+13    10/24/2007   £DI   103063       764.60
       97327    CRT   rUOET SOUND TRUCK LINES,INC.    POBOX24286     'EATI           \VA      98124.0286    UNITEDSTATE     10/4/2007 3.0326E+13    10f24/2oo7   £DI   103063       764.60
       97.\27   CRT   PUOET SOUND TRUCK LINES,INC.    POBOX24286     'EATI           \VA      98124-0286    UNITE STATE     10/5120073.03269E+13    10/24/2007   EDI   103063       613.43
       97327    CRT   PUGET SOUND TRUCK L1NES,INC.    POBOX24286     SEATIE          \VA      98124-0286    UNITD STATE     10/5/2007 3.0327E+13    10/24/2007   ED!   103063       624.58




                                                                                    830'137                                                                            SOFA All 3-81 Vendor Payments
Pope & Talbot, Inc.
Case No. 07-11738 (CSS)
Allaehment SOFA 3-al
Payments to Creditors Between 07/3012007 and 10/28/2007

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       97327   CRT   rUGET SOUND TRUCK LlNES,INC.     rOBOX24286     SEATTE          \VA     98124-0286   UNITED STATE     10/5/2007 M327E+13       10124/2007   EDJ   103063       764.60
       97327   CRT   PUGET SOUND TRUCK LlNES,INC.     POßOX24286     SEATTE         \VA      98124.0286   UNITED STATE     10/5/207 3.0327E+13      10/24/2007   EDI   103063       764.60
       97327   CRT   rUGET SOUND TRUCK LINES, INC.    POBOX24286     SEATTE          \VA     98124-0286   UNITEDSTATE      10/5/207 3.0327E+13      10(24/2007   EDI   103M3        764.60
       97327   CRT   PUGET SOUND TRUCK LINES, INC.    POBOX24286     SEATTE         \VA      98124-0286   UNTEDSTATE       10/5/2007 3.03274E+13    10(2412007   EDJ   103M3        628.15
       97327   CRT   PUGEr SOUND TRUCK LINES. INC.    POBOX24286     SEATTE          \VA     98124-0286   UNITEDSTATE      10/5/2007 3.3274E+13     10124/2007   EDJ   103063       628.70
       97327   CRT   PUGEr SOUND TRUCK LINES. INC.    POBOX24286     SEATTE         \VA      98124-0286   UNITEDSTATE      10/6/007 3.Q.287E+13     10'24/2007   EDI   103063       625.08
       97327   CRT   rUGEr SOUND TRUCK LINES.
                                          INC.        POBOX24286     SEATT           \VA     98124-0286   UNITEDSTATE      10/61007 3.3287E+13      10124/2007   EDJ   103063       628.66
       97327   CRT   PUGET SOUND TRUCK LINES, INC.    POBOX24286     SEATTE         \VA      98124-0286   UNITEDSTATE      10/6120073.03287E+13     10/2412007   EDJ   103063       625,36
       97321   CRT   PUGEr SOVND TRUCK LINES,INC.     POBOX24286     SEATTE         \VA      98124-0286   UNITEDSTATE      10/6/001 3.3288E+13      10'24/2007   EDI   103063       628.95
       97321   CRT   PUGEr SOUND TRUCK UNES,INC.      POBOX24286     SEATTE         \VA      98124-0286   UNITE STATE      1On/2001 3.03288E.¡13    10/24/2007   EDI   103063       630.73
       97321   CRT   PUGEr SOUND TRUCK LlNES,INC.     1'0 BOX24286   SEATTE         \VA      98124-0286   UNITE STATE      10n/2001 3.03288E+13     10124/2007   EDI   103063       621.9
       97321   CRT   PUOET SOUND TRUCK LINES, INC.    POBOX24286     SEATTE         \VA      98124.0286   UNITE STATE      10n/2001 3.3288E+13      10(24/2007   EDI   103063       622.39
       97321   CRT   PUGEr SOUND TRUCK LlNES,INC.     POBOX24286     SEATTE          \VA     98124.0286   UNITEDSTATE      1On/2001 3.3288E+13      10(24/2007   EDI   103063       623.29
       97321   CRT   PUOEr SOUND TRUCK LlNES,INC.     POBOX24286     SEATTE          \VA     98124.0286   UNITEDSTATE      10/8/2001 3.3288E+13     10'24/2007   EDI   103063       624.06
       97321   CRT   PUGET SOUND TRUCK LlNES,INC.     1'0 ßOX24286   SEATTE         \VA      98124.0286   UNITEDSTATE      10/8/2007 3.03288£+13    10'24/2007   EDI   103063       623.20
       97321   CRT   PUGEl SOUND TRUCK LINES, INC.    POBOX24286     SEATTE          \VA     98124.0286   UNITEDSTATE      10/8/2007 3.3288E+13     10'24/2007   EDJ   103063       625.02
       97327   CRT   PUGET SOUND TRUCK LINES, INC.    POBOX24286     SEATTE         \VA      98124-0286   UNITE STATE      10181207 3.03288E+13     10124/2007   EDI   103063       62lUì5
       97327   CRT   PUGET SOUND TRUCK LlNES,INC.     POBOX24286     SEA TILE        \VA     98124-0286   UNlTEDSTA'f      10/8/2007 3.03291E+13    10'24/2007   EDI   103063       414.20
       97327   CRT   PUGEl SOUND TRUCK LINES, INC.    POBOX24286     SEATTE          \VA     98124-0286   UNITEDSTATE      1019/20073.029IE+13      10124/2007   EDJ   1030(,3      413.49
       97321   CRT   PUGET SOVND TRUCK LINES, INC.    POBOX24286     SEATTE          \VA     98124-0286   UNITEDSTATE      10/8/2007 3.03292E+13    10124/2007   EDI   103063       413.98
       9H21    CRT   PUGET SOUND TRUCK LlNES,INC.     ro BOX24286    SEA TI         \VA      98124.0286   UNITEDSTATE      1018/20073.03292E+13     10/24/2007   EDI   103063       415.03
       9H21    CRT   PUGET SOUND TRUCK LlNES,INC.     POBOX24286     SEATTE         \VA      98124-0286   UNITEDSTATE      1018/20073.3292£""13     10/24/2007   EDI   103063       41~.98
       97327   CRT   PUGET SOUND TRUCK LINES, INC.    POBOX24286     SEATTE          \VA     98124-0286   UNITEDSTATE      10/8/2007 3.3292E+13     10/24/2007   EDI   103063       408.18
                                                                                                                                                                                                        Case 07-11738-CSS




       91327   CRT   PUGET SOUND TRUCK LINES, INC.    POBOX24286     SEATT          \VA      98124-0286   UNITEDSTATE      10/8/2007 3.03293E+13    10/24/2007   EDI   103063       408.27
       97327   CRT   PUGET SOUND TRUCK LINES, INC.    POBOX24286     SEATTE         \VA      98124-0286   UNITEDSTATE      10/8/2007 3.03293E+13    10/24/2007   EDI   103063       420.76
       91327   CRT   PUGET SOUND TRUCK LINES,INC.     POBOX24286     SEATTE         \VA      98124-0286   UNITEDSTATE      10/8/2007 3.03293E+13    10/24/2007   EDl   103063       408.71
       91327   CRT   PUOET SOUND TRUCK LlNES,INC.     POBOX24286     SEATTE         \VA      98124.0286   UNlrnD STATE     10/8/2007 3.03293E+13    10/24'2007   EDI   103063       411.32
       91327   CRT   PUGET SOUND TRUCK LlNES,INC.     POBOX24286     SEATTE         \VA      98124-0286   UNITED STATE     1018/20073.03294E+13     10/24/2007   EDI   103063       401.25
       91327   CRT   PllGEr SOUND TRUCK LINES, INC.   POBOX24286     SEATT          \VA      98124.0286   UNITEDSTATE      1019/20073.03294E+13     10/24'2007   EDI   103063       408.47
       91327   CRT   PUGET SOUND TRUCK LINES, INC,    POBOX24286     SEATTE         \VA      98124-0286   UNlrnDSTATE      1011/20073.03294E+13     10/24'2007   EDI   103063       412.67
       91327   CRT   PUGET SOUND TRUCK LINES, INC.    POBOX24286     SEATTE         \VA      98124-0286   UNITEDSTATE      1018120013.03294E+13     10/24'2001   ED!   103063       411.9
       91327   CRT   PUGET SOUND TRUCK LINES, INC.    POBOX24286     SEATTE         \VA      98124.0286   UNITEDSTATE      10ll'2oo1 3.03294E+13    10/2412001   EDI   103063       412.81
       91321   CRT   PUGET SOUND TRUCK LINES.
                                          INC.        POBOX24286     SEATT          \VA      98124.0286   UNITED STATE     1011120013.03294E+13     10/2412001   EDI   103063       410.99
       97321   CRT   PUGET SOUND TRUCK LINES,INC.     POBOX24286     SEATT          \VA      98124.286    UNITE STATE      1018120013.03295£+13     10/24(2001   EDI   103063       415.o
       91321   CRT   rUGEr SOVND TRUCK LINES, INC.    POBOX24286     SEATTE         \VA      98124-0286   UNITED STATE     10f8oo1 3.03295E+13      10/24(2001   EDI   103063       411,72
       97321   CRT   PUGET SOUND TRUCK LlNES,INC.     POBOX24286     SEATT          \VA      98124-0286   UNITE STATE      1018001 3.03295E+13      1012412001   EDI   103063       164.60
       97321   CRT   PUOET SOUND TRUCK L1NES,INC.     POBOX24286     SEATT£         \VA      98124-0286   UNITE STATE      10f8oo7 3.03295£+13      10/24/2007   EDI   103063       164.60
                                                                                                                                                                                                        Doc 266-2




       97321   CRT   PUGET SOUND TRUCK LlNES,INC.     POBOX24286     SEATTE         \VA      98124-0286   UNITE STATE      1019120073.03306E+13     10/24/2007   ED!   103063       164.60
       97327   CRT   PUGET SOUND TRUCK LINES.
                                          INC.        POBOX24286     SEATTE         \VA      98124-0286   UNITE STATE      10112007 3.03306£+13     10/24/2001   ED!   103063       164.60
       91321   CRT   PUGEl SOUND TRUCK LlNES,INC.     POBOX24286     SEATTE         \VA      98124-0286   UNITEDSTATE      1019120073.03306E+13     10124/2007   EDI   103063       625.69
       91327   CRT   PUGET SOUND TRUCK LlNES,INC.     POBOX24286     SEATTE         \VA      98124-0286   UNITE STATE      1019/20073.03306£+13     10/24/2001   EDI   103063       624.14
       91327   CRT   PUGET SOUND TRUCK LINES,INC.     POBOX24286     SEATT          \VA      98124-0286   UNIT STATE      1011112007 3.03306E+13    10'24/2001   EDI   103063       164.60
       97327   CRT   PUGETSOUND TRUCK LINES,INC.      PO BOX 24286   SEATT          \VA      98124-0286   UNITE STATE      101/2007 3.03306E+13     10/24/2001   EDI   103063       626.50
       91327   CRT   PUGET SOUND TRUCK LINES, INC.    POBOX24286     SEATT          \VA      98124-0286   UNITEDSTATE      1019/20073.033I1E+13     10'24/2001   EDI   103063       413.48
       91327   CRT   PUGET SOUND TRUCK LINES,INC.     POBOX24286     SEATT          \VA      98124-286    UNITEDSTATE      1019/20073.03312E+13     10124/2001   EDI   103063       414.06
       91327   CRT   PUGET SOUND TRUCK LINES, INC.    POBOX24286     SEATT          \VA      98124-0286   UNITED SrA TE    1019120073.03312E+13     10/24/2007   EDJ   103063       414.16
       91327   CRT   PUGET SOUND TRUCK LINES,INC.     POBOX24286     SEATTE         \VA      98124-0286   UNlTEDSrATE      1019/20073.03312E+13     10/24/2007   EDI   103063       412.86
       91327   CRT   PUGET SOUND TRUCK LINES. INC.    POBOX24286     SEATT          \VA      98124-286    UNITEDSTATE      1019/20073.03312E+13     10/24/2007   ED!   103M3        415.31
       91327   CRT   PUGEr SOUND TRUCK LINES.
                                          INC.        POBOX24286     SEATT          \VA      98124-0286   UNITEDSTATE      1019/20073.03312£+13     10/2412007   EDI   103063       416.78
       91321   CRT   PUGET SOUND TRUCK LlNES.INC,     POBOX24286     SEATTE         \VA      98124-0286   UNITE STATE      1019120073,03312E.¡13    10/24/2007   EDI   103063       412.19
       97321   CRT   PUGET SOUND TRUCK LINES, INC.    POBOX24286     SEATT          \VA      98124-0286   UNITEDSTATE      1019120073.03312E+13     10/24/2007   EDI   103063       417.36
       91321   CRT   PUGET SOUND TRUCK LlNES,INC.     POBOX24286     SEATTE         \VA      98124-0286   UNITED STATES    1019120073.03312£+13     10/24/2007   EDI   103063       418.61
       97321   CRT   PUGET SOUND TRUCK LINES.
                                          INC.        POBOX24286     SEATT£         \VA      98124-0286   UNITEDSTATE      1019120073.03313E+13     10/2412007   EDJ   103063       419.21
       97321   CRT   PUOET SOUND TRUCK LINES.
                                          INC.        POBOX24286     SEATTE         \VA      98124-0286   UNITEDSTATE      1019/20013,03313E+13     10/24'2007   EDI   103063       419.95
                     PUGET SOUND TRUCK LlNES,INC.
                                                                                                                                                                                                        Filed 01/04/08




       97321   CRT                                    POBOX24286     SEATTE         \VA      98124-286    UNITEDSTATE      1019/20073.033I3E+13     10/24'2007   EDt   103063       416.3
       91321   CRT   PUGET SOUND TRUCK LlNES,INC.     POBOX24286     SEATTE         \VA      98124-0286   UNITEDSTATE      1019/20073.03313E+13     10/24'2001   EDI   103063       419.53
       97321   CRT   PUGET SOUND TRUCK LINES,INC.     POBOX24286     SEATIE         \VA      98124-0286   UNITEDSTATE      1019/20013,03313£+13     10/24/2001   EDI   103063       417.11
       97321   CRT   pUGEr SOUND TRUCK LIES,INC.      POBOX24286     SEATTE         \VA      98124-0286   UNITEDSTATE      1019/20073.03313£+13     10/24'2001   ED!   103063       398.42
       97321   CRT   PUG£T SOUND TRUCK LlNES,INC.     POBOX24286     SEATTE         \VA      98124-0286   UNITEDSTATE      1019120013.03313E+13     10/24'2001   ED!   103063       419.29
       91327   CRT   pUGET SOUND TRUCK LlNES,INC.     POBOX24286     SEATT          \VA      98124-0286   UNITE STATE      1019/20073.03313£+13     10/24/2001   EDI   103063       417.40
       97327   CRT   pUGET SOUND TRUCK LINES, INC.    PO BOX 24286   SEATTE         \VA      98124-0286   UNITED STATE     1019/20013.03313E+13     10/24/2007   ED!   103063       420.15
       91.31   CRT   PUGET SOUND TRUCK LlNES,INC.     POBOX24286     SEATT          \VA      98124-0286   UNITE SrA TE    10/10/2007 3.03319E+13    10124'2001   EDI   103063       623.60
       91327   CRT   PUGET SOUND TRUCK LINES,INC.     POBOX24286     SEATT          \VA      98124-0286   UNITE STATE     10/10/2007 3.03319E+13    10/24/2001   ED!   103063       622.68
       91321   CRT   PUGET SOUND TRUCK LINES, INC.    POBOX24286     SEATTE         \VA      98124.0286   UNITEDSTATE     10/10/2007 3.03319E+13    10/24/2001   EDI   103063       764.60
       91327   CRT   PUGET SOUND TRUCK LINES, INC.    POBOX24286     SEATTE         \VA      98124-0286   UNITED STATE    10/10/2007 3.0332£+13     10/24/2001   ED!   103063       164.60
       91327   CRT   PUGEr SOVND TRUCK LlNES,INC.     POBOX24286     SEATTE         \VA      98124-0286   UNITEDSTATE     10110/2007 3.0332E.¡13    10/24(2001   EDI   103063       416,03
       97327   CRT   pUGETSOUNDTRUCK LlNES,INC.       POBOX24286     SEA TI         \VA      98124-0286   UNITEDSTATE     10/10/2001 3.0332E.¡13    10/24/2001   ED!   103063       414.99
       91327   CRT   PUGEr SOUND TRUCK LlNES,INC.     POBOX24286     SEATT          \VA      98124-0286   UNITE STATE     L0/1012001 3.332E+13      10/24/2001   EDI   103063       416.09
       91321   CRT   rUGEl SOUND TRUCK LINES, INC.    POBOX24286     SEATT          \VA      98124-0286   UNITE STATE     10110/2001 3.332£+13      10124/2001   EDI   103063       311,0
       97327   CRT   PUGEr SOUND TRUCK LINES,INC.     POBOX24286     SEATT          \VA      98124-286    UNITEDSTATE     10/1012001 3.332£+13      10/24/2001   ED!   103063       130.57
       97327   CRT   PUGEr SOUND TRUCK LINES.
                                          INC.        POBOX24286     SEATTE         \VA      98124-0286   UNITEDSTATE     IOtlO/2001 3.332£+13      10'24/2001   EDI   103063       418.79
       97321   CRT   PUGET SOUND TRUCK LINES, INC.    POBOX24286     SEATT          \VA      98124-0286   UNITEDSrATE     IOtlO/2007 3.0332E+13     10'24/2001   ED!   103063       418.14
                                                                                                                                                                                                        Page 19 of 25




       97321   CRT   PUGEr SOUND TRUCK LINES, INC.    POBOX24286     SEATTE         \VA      98124-0286   UNITEDSTATE     IOflO/2001 3.0332IE+13    10'24/2001   ED!   103063       416.76
       97321   CRT   PUGET SOVND TRUCK LINES.
                                          INC.        POBOX24286     SEATT          \VA      98124-0286   UNITEDSTATE     IOfl0/2007 3.0332IE+13    10/24/2001   EDI   103063       402.75
       97327   CRT   PUGET SOUND TRUCK LlNES,INC.     POBOX24286     SEATIE         \VA      98124-286    UNITEDSTATE     10110/2007 3.03321£+13    1012412001   EDI   103063       413.07
       9H21    CRT   PUGET SOUND TRUCK LINES,INC.     POBOX24286     SEATTE         \VA      98124-0286   UNITEDSTATE     10110/2007 3.0332IE+13    10/24/2001   EDI   103063       404.55
       91321   CRT   PllGEr SOUND TRUCK LINES, INC.   POBOX242&6     SEATTE         \VA      98124-0286   UNITEDSTATE     10/10/2007 3.0332IE+13    10'24/2001   EDI   103063       413.88
       97321   CRT   PllGET SOUND TRUCK LlNES,INC.    POBOX242!6     SEATI£         \VA      98124-0286   UNITE STATE     IOflO/2007 3,03322£+13    10/24/2001   ED!   103063       11741
       9n21    CRT   pUGET SOUND TRUCK L1NES,INC.     POBOX24286     SEATT          \VA      98124-286    UNITED STATE    1011012001 3.03322E+13    10'24/2007   EDI   103063       11715
       91327   CRT   pUGET SOUND TRUCK UNES,INC.      POBOX24286     SEATT          \VA      98124.0286   VNITE STATE     10110/2007 3.03323E+13    10/24/2007   EDJ   103063       11749
       91327   CRT   pUGET SOUND TRUCK LINES, INC,    PO BOX 24286   SEATI£         \VA      98124-0286   UNITEDSTATES    10110/2007 3.03323E+13    10124/2007   EDI   103063       11780
       97327   CRT   pUGETSOUND TRUCK LINES, INC.     POBOX24286     SEATIE         \VA      98124-286    UNITE STATE     10/10/2007 3.03323E.¡13   10124/2007   EDI   103063       11785
       97327   CRT   pUGET SOUND TRUCK UNES, INC,     POBOX24286     SEATIE         \VA      98t24.0286   UNITE STATE     10110/2007 3.03323£+13    10/24/2007   EDJ   103063       176.91




                                                                                   8401137                                                                             SOFA Alt. 3.a1 Vendor Payment&
Pope & Talbot, Inc.
Case No. 07-11738 (CSS)
Attachment SOFA 3-al
Payments to Creditors Between 07130/2007 and 10/28/2007

Ventlnr CI:i._, Vcndur ~:inic Addre:'' eii)' Atldre'~ ~~~,~~: 1'(I_\tal Code euuntr. h.\'"lciil):ifc Iii,'okc Cliiick Iliile 1'~t:.:::UI 'l.;l.~I~i~:.~ii US!) /\I11"mit
        97~27 CRT Pl1GETSOUNDTRUCKLlNES,INC.           POBOX24286    SEATTE            \VA    98124-0286   UNITEDSTATE    10/1112007 3.0~3~2E+I~   10/2412001 ED!    10~063       176.91
        97~27 CRT Pl1GETSOUNDTRUCKLlNES,INC.           POBOX24286    SEATTE            \VA    98124.0286   UNITEDSTATE    10/1112007 3.03332E+13   10/2412007 ED!    10~063       111.61
        97327 CRT PUGETSOUNDTRl1CKLlNES,INC.           POBOX24286    SEATTE            \VA    98124-0286   UNITED STATE   10/1112007 3.0~332E+13   10/2412001 ED!    10~063       174.68
        97327 CRT PUGETSOUNDTRUCKLlNES,INC.            POBOX24286    SEATTE            \VA    98124-0286   UNITEDSTATE    10/121001 3.3332E+I~     10/2412007 ED!    103063       In21
        97327 CRT PUGETSOUND TRUCKLINES,INC.           POBOX24286    SEATTE            \VA    98124.0286   UNITED STATE   10/1212001 3.03332E+13   10124/2001 EDI    10~063       11~.02
        97327 CRT Pl1GET SOUND TRUCK LlNES,INC.        POBOX24286    SEATIE            \VA    98124.0286   UNITED STATE   101121007 3.03332E+13    10124/2001 EDI    10~06~       113.18
        97327 CRT PUGh. SOUND TRUCK LINES,INC.         POBOX24286    SEATTE            \VA    98124-0286   UNITEDSTATE    101121007 3.03333E+13    10124/2001 EDI    10~06~       113.07
        97327 CRT PUGET SOUND TRUCK LINES, INC.        POBOX24286    SEATTE            \VA    98124-0286   UNITEDSTATE    101121007 3.03333E+13    1012412001 EDI    103063       In89
        97327 CRT PUGET SOUND TRUCK LINES, INC.        POBOX24286    SEATTE            \VA    98124-0286   UNITEDSTATE    1011212007 3.03333E+13   1012412007 EDI   10~063        176.21
        97327 CRT PUGET SOUND TRUCK LINES, INC.        POBOX24286    SEATTE            \VA    98124.0286   UNITEDSTATE    1011212007 3.03333E+13   10/2412007 EDI    10~063       11701
       97327 CRT PUGETSOUNDTRUCKLlNES,INC.             POBOX24286    SEA TI            \VA    98124-0286   UNITEDSTATE    1011112001 3.03333E+13   10/24/2007 ED!    10~063       764.60
       97~27 CRT PUGET SOUND TRUCK LINES,INC.          POBOX24286    SEATTE            \VA    98124.0286   UNITED STATE   10/1112007 3.03333£+13   10/2412007 EDI   10~063        764.60
       97327 CRT PUGETSOUNDTRUCKLINES,INC.             POBOX24286    SEATIE            \VA    98124-0286   UNITED STATE   10/1112007 3.03333E+I~   10/24/2007 EDI   103063       619.51
       97327 CRT PUGETSOUNDTRUCKLINES,INC.             POBOX24286    SEATI             \VA   98124-0286    UNITEDSTATE    10/1112007 3.03~33E+13   10/24/2007 EDI   103063       627.05
       97327 CRT PUGET SOUND TRUCK LINES,INC.          POBOX24286    SEATTE            \VA   98124.0286    UNITEDSTATE    1011212007 3.0334IE+13   10/2412007 ED!   10~063        l7U5
       97327 CRT PUGETSOUND TRUCKLINES,INC.            POBOX24286    SEATTE            \VA   98124.0286    UNITEDSTATE    1011212001 3.0334IE+13   1012412001 ED!   10~063        113.66
       97327 CRT PUGET SOUND TRUCK LlNES,INC.          POBOX24286    SEATTE           \VA    98124-0286    UNITEDSTATE    10/121007 3.0334IE+13    10/24/2001 EDI   103063        11715
       97327 CRT PUGET SOUND TRUCK LINES,INC.          POBOX24286    SEATTE           \VA    98124-0286    UNITE STATE    101121001 3.03342E+13    10/24/2001 EDI   103063       164.60
       97327 CRT PUOET SOUND TRUCK L1NES,INC.          POBOX24286    SEATTE           \VA    98124-0286    UNITE STATE    101121001 3.03342E+13    10124/2001 EDI   103063       624.60
       97327 CRT PUGET SOUND TRUCK LINES, INC.         POBOX24286    SEATTE           \VA    98124-0286    UNITE STATE    1011512001 3.0336IE+13   1012612001 EDI   103018       625.38
       97327 CRT PUGETSOUNDTRUCK LINES,INC.            POBOX24286    SEATTE           \VA    98124-0286    UNITEDSTATE    10115/2001 3.03362E+13   1012612001 EDI   103078       6~0.22
       97327 CRT PUGETSOUNDTRUCKLlNES,INC.             POBOX24286    SEA TI           \VA    98124-0286    UNITEDSTATE    10/1512001 3.03362E+13   10/26/2001 EDI   103018       164.60
       97327 CRT PUGETSOUNDTRUCKLlNES,INC.             POBOX24286    SEATIE           \VA    98124.0286    UNITED STATE   10/1512001 3.03362£+1~   10/26/2001 EDI   103078       164.60
                                                                                                                                                                                                     Case 07-11738-CSS




       97~27 CRT PUGETSOUND TRUCK  LINES,INC.         POBOX24286     SEATIE           \VA    98124-0286    UNITEDSTATE    10/1512001 3.03362E+I~   10/2612007 EDI   103078        113.3
       97327 CRT PUGET SOUND TRUCK LlNr:S,INC.        POBOX24286     SEATIE           \VA    98124.0286    UNITED STATE   10/1512001 3.03362E+I~   10/2612007 EDI   103078        17.~2
       97327 CRT PUGET SOUND TRUCK LINES,INC.         POBOX24286     SEATTE           \VA    98124-0286    UNITED STATE   10/1512001 ~.03362E+I~   10/2612007 EDI   103018        174.76
       97327 CRT PUGET SOUND TRUCK LINES.INC.         POBOX24286     SEATTE           \VA    98124-0286    UNITED STATE   10/1512001 3.03362E+I~   10/261001 EDI    10~018        11.~~
       97327 CRT PUGET SOUND TRUCK LINES, INC.        POBOX24286     SEATTE           \VA    98124-0286    UNITEDSTATE    1011512007 3.03~6~E+13   1012612007 ED!   103018        172.46
       97327 CRT PUGET SOUND TRUCK LINES, INC.        POBOX24286     SEA TI           \VA    98124-0286    UNITEDSTATE    1011512007 3.03363E+13   10126/2007 ED!   103018        173.28
       9n27 CRT PUGET SOUND TRUCK LINES, INC.         POBOX24286     SEATTE           \VA    98124-0286    UNITEDSTATE    1011612001 3.03~69E+1~   1012612001 EDI   103018       52i.26
       97~27 CRT PUGEr SOUND TRUCK LINES, INC.        PO BOX 24286   SEA TI           \VA    98124-0286    UNITEDSTATE    1011612001 3.03369E+13   10126/2001 EDI   103078       480.51
       97327 CRT PUGIlTSOUNDTRUCKLINES,INC.           POBOX24286     SEATTE           \VA    98124_0286    UNITEDSTATE    1011612001 3.03369E+13   10/2612001 EDI   103078       533.91
       97~27 CRT PUGETSOUNDTRUCKLINES,INC.            POBOX24286     SEA TI           \VA    98124.0286    UNITEDSTATE    10116/2001 3.03369E+13   10126/2001 EDI   103078       531.46
       97327 CRT PUGETSOUNDTRUCKLlNES,INC.            POBOX24286     SEA TI           \VA    98124-286     UNITEDSTATE    10/1612007 ~.03369E+13   10/26/2001 EDI   103018       519.31
       97327 CRT PUGET SOUND TRUCK LlNES,INC.         POBOX24286     SEATTE           \VA    98124.0286    UNITEDSTATE    10116/2007 ~.03369E+I~   10/26/2007 EDI   103078       527.24
       97327 CRT PUGETSOUNDTRUCKLlNES,INC,            POBOX24286     SEATTE           \VA    98124.0286    UNITEDSTATE    10/J612001 3.0~369E+13   101212001 EDI    \03078       521.26
       9n27 CRT PUGET SOUND TRUCK LINES.INC.          POBOX24286     SEATTE           \VA    98124.0286    UNITEDSTATE                             10/212001 EOI
                                                                                                                                                                                                     Doc 266-2




                                                                                                                          10/1612007 3.0~369E+I~                    10~078       518.71
       97327 CRT Pl1GET SOUND TRUCK LlNES,INC.        POBOX24286     SEA TIE          \VA    98124.0286    UNITEDSTATE    1011612001 ~.03369E+13   1012612007 EOI   103078       52i.64
       97327 CRT PUGET SOUND TRUCK LINES,INC.         POBOX24286     SEATTE           \VA    98124-0286    UNITEDSTATE    10/1612007 3.0337E+13    10/2612007 ED!   103018       53~.81
       9n27 CRT PUGET SOUND TRUCK LINES, INC.         POBOX242B6     SEATIE           \VA    98124-0286    UNITEDSTATE    10/161007 3.0337E+13     10/2612007 ED!   103018       518.31
       97327 CRT PliGET SOUND TRUCK LINES, INC.       POBOX24286     SEATTE           \VA    98124-0286    UNITE STATE    10/161001 3.0337E+13     101261001 ED!    103078       529.4~
       97327 CRT PUGET SOUND TRlICK LINES, INC.       POBOX24286     SEATTE           \VA    98124-0286    UNITED STATE   101161007 3.0337E+13     10/26/2007 ED!   103018       525.14
       97~27 CRT PUGETSOUNDTRUCKLlNES,INC.            POBOX24286     SEATTE           \VA    98124-0286    UNITE STATE    101161007 3.0331E+13     1012612007 ED!   103018       528.90
       97~27 CRT PUGET SOUND TRUCK LINES, INC.        POBOX24286     SEATIE           \VA    98124-0286    UNITE STATE    1011612007 3.0331E+13    101261007 ED!    103018       529.05
       97~27 CRT PUGETSOUNDTRUCKLlNES,INC.            POBOX24286     SEATTE           \VA    98124-0286    UNITED STATE   10116/2007 3.0337E+13    10126/2007 EDI   103018       528.26
       97327 CRT PUGET SOUNDTRUCKLlNES,INC.           POBOX24286     SEA TI           \VA    98124-0286    UNITEDSTATE    101161007 3.03~7E+I~     10126/2001 EDI   103078       511.09
       97~27 CRT PUGET SOUNDTRUCK  LlNES,INC.         POBOX24286     SEA TI           \VA    98124-0286    UNITED STATE   10116/2007 3.0337E+13    1012612007 EDI   103018       521.89
       97327 CRT PUGET SOUND TRUCK LlNES,INC.         POBOX24286     SEA TIE          \VA    98124-0286    UNITEDSTATE    1011612007 3.0~37IE+13   1012612007 EDI   103078       525.26
       9n27 CRT PUGETSOUNDTRUCKLlNES,INC.             POBOX24286     SEATIE           \VA    98124-286     UNITEDSTATE    10116/2007 3.0337IE+13   10126/2007 ED!   103018       522.40
       97~27 CRT PUGETSOUNDTRUCKLINES,INC.            POBOX24286     SEATTE           \VA    98124-0286    UNITEDSTATE    10/16/2007 3.03311E+13   10/2/2007 EDI    103018       764.60
       97~27 CRT PUGET SOUND TRUCK LINES. INC.        POBOX24286     SEATTE           \VA    98124-0286    UNITEDSTATE    10/1612007 ~.0~311E+13   10/2/2007 EDI    103018       764.60
       97327 CRT PUGET SOUND TRUCK LlNES,INC.         POBOX24286     SEATTE           \VA    98124-0286    UNITEDSTATE    10/1612007 3,03311E+13   1012612001 EDI   103078       625.10
       97327 CRT PUGET SOUND TRUCK LlNES,INC.         POBOX24286     SEATTE           \VA    98124.0286    UNITEDSTATE    10/1612007 ~.03378E+13   10/2612007 EDI   103078       611.9
       97327 CRT PUGET SOUND TRUCK LINES, INC.        POBOX24286     SEATTE          \VA     98124-0286    UNITEDSTATE    10/1612007 ~.03~78E+13   10/2612007 EDI   103078       764.60
       97327 CRT PUGET SOUND TRUCK LlNES,INC.
                                                                                                                                                                                                     Filed 01/04/08




                                                      POBOX24286     SEATTE           \VA    98124-0286    UNITE STATE    10/171007 3.03392E+13    10/2612007 EDI   103078       164.60
       97327 CRT PUGET SOUND TRUCK LINES,INC.         POBOX24286     SEATIE          \VA     98124-0286    UNITED STATE   10/171007 ~.03392E+13    10/2612007 EDI   103018       764.60
       97327 CRT PUGET SOUND  TRUCKLINES,INC.         POBOX24286     SEATTE           \VA    98124-0286    UNITEDSTATE    31281007 4001814          8nJ2007 EDI     102826       695.00
       97~27 CRT PUGErSOUNDTRUCKLINES,INC.            POBOX24286     SEATI           \VA     98124-0286    UNITE STATE    3/281007 4001815          8nJ2007 ED!     102826       695.00
       97327 CRT PUGErSOUNDTRUCK LINES,INC.           POBOX24286     SEA TI          \VA     98124-0286    UNITE STATE    3/2812007 4001816         8nt2007 ED!     102826       695.00
       91~27 CRT PUGETSOUNDTRUCKLINES,INC.            POBOX24286     SEA TI          \VA     98124-0286    UNITESTA1'     ~1212007 4001817          8nJ2007 ED!     102826       695.00
       91321 CRT PUGETSOUNDTRUCKLINES,INC.            POBOX24286     SEA TI          \VA     98124-286     UNITEDSTATE    3/2812007 4001818         8nJ2001 ED!     102826       695.00
       9n27 CRT PUGET SOUND TRUCK LINES,INC.          POBOX24286     SEA TI          \VA     98124-0286    UNITDSTATE     313012007 4002045         8nJ2oo7 ED!     102826       695.00
       97327 CRT PUGETSOUNDTRUCKLINES.INC.            POBOX24286     SEATI           \VA     98124-286     UNITEDSTATE    313012007 4002048         sn/2007 ED!     102826       695.00
       9n27 CRT PUGETSOUNDTRUCKLINES,INC.             POBOX24286     SEATI           \VA     98124-0286    UNITED STATE   4122007 4002174           snl2oo1 EDI     102826       695.00
       97327 CRT PUGEr SOUND TRUCK LINES,INC.         POBOX24286     SEATIE          \VA     98124.0286    UNITEDSTATE    412001 4002115            8n/2oo1 EDI     102826       695.00
       91321 CRT PUGET SOUND TRUCK LINES,INC.         POBOX24286     SEATI           \VA     98124.0286    UNITEDSTATE    414/2001 4002328          8n/2001 EDI     102826       695.00
       97321 CRT PUGET SOUND TRUCK LINES, INC.        POBOX24286     SEATI           \VA     98124-0286    UNITEDSTATE    41412007 4002349          8nt2001 EDI     102826       695.00
       97321 CRT PUOET SOUND TRUCK LINES, INC.        POBOX24286     SEATTE          \VA     98124-0286    UNITEDSTATE    41512007 4002568         8m2007 EDI       102826       695.00
       97327 CRT PUGETSOUNDTRUCKLINES,INC.            POBOX24286     SEATTE          \VA     98124-0286    UNITED STATE   41512007 4002569         8m2007 EDI       102826       745.00
       97327 CRT PUGETSOUNDTRUCKLINES,INC.            POBOX24286     SEATTE          \VA     98124-0286    UNITED STATE   41912007 400320~         8nJ2007   EDI    102826       695.00
       97327 CRT PUGET SOUND TRUCK LINES,INC.         POBOX24286     SEATTE          \VA     98124-0286    UNITE STATE    41912007 4003204         8nJ2007   ED!    102826       695.00
       97321 CRT PUGETSOUND TRUCKL1NES,INC.           POBOX24286     SEATTE          \VA     98124-0286    UNITEDSTATE    41912001 4003205         8nJ2001   EDI    102826       695.00
                                                                                                                                                                                                     Page 20 of 25




       97327 CRT PUGET SOUND TRUCK LINES,INC.         POBOX24286     SEA TI          \VA     98124-0286    UNITEDSTATE    411612001 4004141        8nJ2001   EDI    102826       695.00
       91327 CRT PUGET SOUND TRUCK LINES. INC.        POBOX24286     SEA TI          \VA     98124-0286    UNITEDSTATE    411612007 4004148        8n/2oo7   EDI    102826       695.00
       91321 CRT PUGET SOUND TRUCK LlNES,INC.         POBOX24286     SEATI           \VA     98124-286     UNITED STATE   411612001 4004149        sn/2007   EDI    102826       695.00
       97327 CRT PUGEr SOUND TRUCK LlNES,INC.         POBOX24286     SEATIE          \VA     98124.0286    UNITED STATE   4116/2001 4004151        8nt2007   EDI    102826       695.00
       97327 CRT PUGEr SOUND TRUCK LINES, INC.        POBOX24286     SEATIE          \VA     98124_0286    UNITEDSTATE    4/16/2007 4004152        8nJ2007   ED!    102826       695.00
       97327 CRT PUGETSOUNDTRUCKLINES,INC.            POBOX24286     SEA TI          \VA     98124-0286    UNITEDSTATE    41112007 4004319         8m2007 EDI       102826       695.00
       97327 CRT PUGEr SOUND TRUCK LINES,INC.         PO BOX 24286   SEATIE          \VA     98124-0286    UNITEDSTATE    4/1812007 4004411        8n12007   EDI    102826       695.00
       97~21 CRT PUGErsOUNDTRUCKLINES,INC.            POBOX24286     SEA TI          \VA     98124-0286    UNITEDSTATE    4/1812007 4004412        8nJ2007   EDI    102826       695.00
       97327 CRT PUGET SOUND TRUCK LlNES,INC.         POBOX24286     SEA TI          \VA     98124-0286    UNITE STATE    4/181001 4004415         8n12001   EDI    102826       695.00
       97~27 CRT PUGET SOUND TRUCK LINES,INC.         POBOX24286     SEA TI          \VA     98124-0286    UNITE STATE    4/1912001 400598         8nl2001   EDI    102826       695.00
       97327 CRT PUGET SOUND TRUCK LINES,INC.         POaoX24286     SEA TI          \VA     98124-0286    UNITEDSTATE    4/2012007 4004698        8nJ2001   ED!    102826       695.00




                                                                                   850f137                                                                          SOFA Att. 3-81 Vendor Payments
Pope & Talbot, Inc.
Case No. 07-11738 (CSS)
Attachment SOFA 3-a1
Payments to Creditors Between 07/30/2007 and 10/28/2007

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Veiidur CI:'N \'ciulnr "":ime ,\lhlrc.'N City Addn'N"-------------
       9n27    CRT   PllGET SOUND TRUCK LINES, INC. POBOX24286                              SEATTE           WA       98124-0286   UNITEDSTATE       4/2512007 4005084                   Sn/2OO7     EDI    102S26        695.00
       9n27    CRT   PUGET SOUND TRUCK LINES, INC.  POBOX24286                              SEATTE           WA       9S124-0286   UNITDSTATE        4/2512007 400S0SS                   Sn/2007     EDI    102826        695.00
       9n27    CRT   PUGET SOUND TRUCK LINES.
                                           INC.     PO BOX 24286                            SEA Tn           WA       9S124-0286   UNITEDSTATE       4/2S/2007 400S0S6                   Sn/2007     EDI    102826        695.00
       9n27    CRT   PUGET SOUND TRUCK LINES.
                                           INC.     POBOX242S6                              SEATTE           WA       9S124-0286   UNITE STATE       4/2S/2007 400S0S7                   Sn/2007     ED!    102826        695,00
       97n7    CRT   PUGET SOUND TRUCK LINES.
                                           INC.     PO BOX 242S6                            SEA Tn           WA       98124-0286   UNITEDSTATE       4/26/2007 4OOS207                  9119/2007    ED!    1029S9      7,205.9
       9n27    CRT   PUGET SOUND TRUCK LINES. INC.  POBOX242S6                              SEA Tn           WA       98124.0286   UNITED STATE      4/26/2007 4005208                   Sn/2007     EDI    102826        69S.OO
       9n27    CRT   PUGET SOUND TRUCK LINES. INC.  POBOX242S6                              SEA Tn           WA       9S124.o286   UNITED STATE      4/26/2007 4005210                   Sn/2007     EDI    102826        69S.00
       9n27    CRT   PUGET SOUND TRUCK LlNES,INC. POBOX24286                                SEA Tn           WA       9S124.o2S6   UNITEDSTATE       4/26/2007 400S211                   Sn/2007     EDI    102826        720.00
       97~27   CRT   PUGET SOUND TRUCK LINES, INC.  POBOX24286                              SEATTE           WA       9S124.0286   UNITEDSTATE       4130/2007 400S516                   Sn/2007     EDI    102826        695.00
       97n7    CRT   PUGET SOUND TRUCK LlNES,INC. POBOX24286                                SEATTE           WA       9S124.0286   UNITEDSTATE        5112007 4005685                    Sn/2007     ED!    102826        69S.00
       97~27   CRT   PUGET SOUND TRUCK LINES, INC.  PO80X 24286                             SEA TIE          WA       9S124-0286   UNITED STATE       518/2007 4006429                   8n/2007     EDI    102826        69S.00
       97~27   CRT   PUGET SOUND TRUCK LINES, INC.  PO80X 24286                             SEATIE           WA       98124.02S6   UNITEDSTATE       5/24/2007 4008818                   8n/2007      EDI   102S26        695.00
       9n27    CRT   PUGET SOUND TRUCK LINES, INC.  POBOX24286                              SEATIE           WA       98124-02S6   UNITED STATE      512SI2OO74009022                    8n/2007     EDI    102826        695.00
       9n27    CRT   PUGETSOUNDTRUCK LINES, INC.    POBOX24286                              SEATIE           WA       9S124.02S6   UNITEDSTATE       513112007400946S                    Sn/2007     EDI    102826        695.00
       9n27    CRT   PUGETSOllD TRUCK LINES, INC.   POBOX24286                              SEATIE           WA       98124.0286   UNITEDSTATE       S131/2OO74009466                    8n/2007     EDI    102826        695.00
       97~27   CRT   PUGET SOUND TRUCK LINES, INC.  P080X24286                              SEATIE           WA       98124.02S6   UNITEDSTATE        614/2007 40097SS                   Sn/2007     EDI    102826        695.00
       97n7    CRT   PUGETSOUND TRUCK LINES, INC.   POBOX24286                              SEATIE           WA       98124.02S6   UNITEDSTATE        614/2007 4009756                   8n/2007     EDI    102826        695.00
       97n7    CRT   PUGET SOUND TRUCK LINES, INC.  POBOX24286                              SEATIB           WA       98124-0286   UNITE STATE        614/2007 4009757                   8n/2007     EDI    102826        695.00
       97327   CRT   PUGET SOllD TRUCK LINES, INC.  POBOX24286                              SEATIE           WA       98124.02S6   UNITED STATE       6/4/2007 4009758                   Sn/2007     EDI    102826        695.00
       97~27   CRT   PUGET SOUND TRUCK LINES, INC.  POBOX24286                              SEATIE           WA       98124_0286   UNITED STA TEo;    6n/2007 4010S27                   8/14/2007    EDI    102869      9.968.~0
       97327   CRT   PUGET SOUND TRUCK LlNES,INC. POBOX24286                                SEATIE           WA       98124.0286   UNITED STATE       61/2007 4010S30                    Sn/2007     EDI    102826        695.00
       97327   CRT   PUGET SOUND TRUCK LlNES,INC. POBOX24286                                SEATIE           WA       98124.0286   UNITE STATE        6n/2007 4010S31                    8n/2007     EDI    102S26        695.00
       97327   CRT   PUGEr SOUND TRUCK LINES.
                                           INC.     POBOX24286                              SEATIE           WA       98124-0286   UNITEDSTATE        6n/2007 4010S~i                    Sn/i007     EDI    102826        695.00
                                                                                                                                                                                                                                             Case 07-11738-CSS




       97327   CRT   PUGET SOUND TRUCK LINES.
                                           INC.     POBOX24iS6                              SEATIE           WA       98124.0286   UNITEDSTATE        61/2007 4010533                    8n/i007     EDI    102826        695.00
       97n7    CRT   PUGET SOUND TRUCK L1NES,INC. POBOX242S6                                SEATIE           WA       98124-0286   UNITED STATE       6n/2007 4010S34                    8n/2007     EDI    102826        695.00
       97327   CRT   PUGET SOUND TRUCK LINES, INC.  POBOX242S6                              SEATTE           WA       98124.0286   UNITED STATE       6n/2007 401053S                    8n/2007     EDI    102826        695.00
       97327   CRT   PUGET SOUND TRUCK LINES, INC.  POBOX24286                              SEATIE           WA       98124.0286   UNITEDSTATE        6n12007 4010536                    8n/2007     ED!    102826        695.00
       97327   CRT   PUGET SOUND TRUCK LINES, INC.  POBOX24286                              SEATIE           WA       98124-0286   UNITE STATE        7IU2007 4013S76                   8114/2007    EDI    102869     12~19S.S4
       97327   CRT   PUGET SOUND TRUCK LINES, INC.  POBOX24286                              SEATTE           WA       98124-0286   UNITEDSTATE       7124/2007 4015968                  8/2912007    EDI    102903     11,306.4
       9n27    CRT   PUGET SOUND TRUCK L1NES,INC. POBOX24286                                SEATIE           WA       98124_0286   UNITEDSTATE       3/2S120074016138                    8n12OO7     EDI    102826        695.00
       97327   CRT   PUGET SOUND TRUCK LINES, INC.  POBOX24286                              SEATIE           WA       98124-0286   UNITEDSTATE       7124/2007 4016139                  812/2007     EDI    102903        695.00
       97327   CRT   PUGET SOUND TRUCK L1NES,INC. POBOX24286                                SEATIE           WA       98124-0286   UNITEDSTATE        81912007 40178S0                  8131/2007    EDI    102913     14.987.16
       97327   CRT   PUGET SOUND TRUCK LINES, INC.  POBOX24286                              SEATTE           WA       98124-02S6   UNITEDSTATE       9/1012007 4020431                  9/26/2007    ED!    103004     I3.$OS.7I
       97399   GEN   ENVIRONMENTAL REOURCE ASSOC.   6000 W S4TH AVENUE                      ARVADA           CO       S0002        UNITEDSTATE        6/4/2007 482464                    8132007     SCK    S32783        SS4.44
       97499   GEN   NATIONAL DISTRBUTION SERVICES PO BOX ~06                               NIGARA FALLS     ON       L2R6TS         CANADA           6/4/2007 178770                    8132007     SCK    SJ2S12        70S.60
       97499   GEN   NATIONAL DISTRIBUTION SERVICESPOBOX~06                                 NIGARA FALLS     ON       L2R6TS         CANADA          611112007ISOLLO                    8(13/2007    SCK    532983        705.60
       97499   GEN   NATIONAL DISTRBUTION SERVICES POBOX306                                 NIGARA FALLS
                                                                                                                                                                                                                                             Doc 266-2




                                                                                                             ON       12R6TS         CANADA          7123/2007 181278                   9/24/2007    SCK    533716        705.60
       97499   GEN   NATIONAL DISTRBUTION SERVICES POBOX306                                 NIGARA FALLS     ON       L2R 6TS        CANADA          7124/2007 181337                   9/24/2007    SCK    S33716        70S.60
       97499   GEN   NATIONAL DISTRBUTION SERVICES POBOX~06                                 NIGARA FALLS     ON       L2R6TS         CANADA          7124/2007 181338                   9/24/2007    SCK    S3J716        70S.60
       97499   GEN   NATIONAL DISTRBUTION SERVICES POBOX306                                 NIGARA FALLS     ON       L2R 6TS        CANADA          71S12007 181384                    9/24/2007    SCK    53J716        70S.60
       97499   GEN   NATIONAL DISTRBUTION SERVICES POBOX306                                 NIGARA FALLS     ON       UR6T8          CANADA          7/61007 181407                     9/21/2007    SCK    390883        680.41
       97517   GEN   PORT OF LONGVIEW               POBOX1258                               LONGVIEW         WA       9S632             STATE
                                                                                                                                   UNITED            71612007 249S3                     911U2007     SCK    S33332     19,17.44
       97S17   GEN   PORT OF LONGVIEW               P080XI2S8                               LONGVIEW         WA       98632        UNITED
                                                                                                                                        STATE        8/2012007 2S088                     101912007   SCK    533981     16,720.81
       97568   GEN   COASTAL FAIDI AND HOME SOCIEl POBOX99                                  ALBANY           OR       97321        UNITED
                                                                                                                                        STATE        71311200721004                     9/2412007    SCK    S336S6        232.00
       977~3   GEN   SOURCE I TRNSPORTLTD.          /1108.720172NDSTRET                     DELTA            BC       V4GIMS         CANADA          6130/2007 S49890                    S1312007    SCK    S32838      1,746.00
       9773~   GEN   SOURCE I TRNSPORTLTD.          /lIOS.720172NDSTR                       DELTA            BC       V4G L~LS       CANADA          610/2007 S4989S                     S1312007    SCK    532838      1,325.0
       977~3   GEN   SOURCE I TRNSPORTLTD.          /l108.7l017lNDSTRT                      DELTA            BC       V4GIMS         CANADA          S/1612007SSOS49                    10/1712007   SCK    534100      1,542.00
       97855   GEN   PERFOIDlANCE PROCESSING GROUP POOOX41297                               EUGENE           OR       97404        UNm:STATE         7111/2007 9700S                    8/13/2007    SCK    532998      1.47S.00
       978SS   GEN   PERFOIDlANCE PROCESSING GROUP POBOX41297                               EUGENE           OR       97404        UNITED
                                                                                                                                        STATE        71111200797037.A                   81112007     SCK    532998        408.00
       978S5   GEN   PERFOIDtANCE PROCESSING GROUP POBOX41297                               EUGENE           OR       97404        UNITED
                                                                                                                                        STATE        71111200797037.B                   811/2007     SCK    532998        224.00
       978SS   GEN   PERFOIDlANCEPROCESSING GROUP POOOX41297                                EUGENE           OR       97404        UNITED STATE      7111/2007 97037.C                  811/2007     SCK    53299S      I.8S0.00
       9786S   GEN   UNITED PIPE & SUPPLY           34403 "IG"WA Y 99E                      TANGENT          OR       97389        UNITED
                                                                                                                                        STATE        712S12OO7 7569971                  9/24/2007    SCK    S33786        200.00
       97877   GEN   WESTERN l.tACHINE WORK INC.    PO BOX 83447       12005 N BURGARD      PORTIND          OR       97203        UNITED
                                                                                                                                        STATE        716/2007 7-1448                    9124/2007    SCK    533790      2,430.00
       97897   GEN   Ð-IBARCADERO TEHNOLOIES        POBOX45162                              SAN FRANCISCO    CA       94145.0162   UNITED
                                                                                                                                        STATE        712012007CUST067818                9/24/2007    SCK    533670        87S.OO
                                                                                                                                                                                                                                             Filed 01/04/08




       97951   GEN   SINOCAN PULP & PAPERLTD.       207-1425 ~iANE DRIV                     WESTVANCOUVR     BC       V7T 189        CANADA          4/2912007 "S061428                 9/1812007    SCK    533548      2,203.19
       97951   GEN   SINOCAN PULP &. PAPER LTD.     207-1425 MAINE DRIVE                    \VETVANCOUV      BC       V7T 189        CANADA          412712007"S061428                  9/1812007    SCK    533S48      2,203.19
       97951   GEN   SINOCAN PULP & PAPER LTD.      207-1425 MARINE DRIV                    \VETVANCOUVR     BC       V7T 189        CANADA          4/2912007 "S061434                 9/1412007    SCK    S33418      2,206.02
       97951   GEN   SlNOCAN PULP & PAPER LTD.      207-1425 MAINE DRIVE                    \VETVANCOUV      BC       V7T 189        CANADA           6n/2007 "S062530                  91141207     SCK    S33418      2.170.52
       979S1   OEN   SINOCAN PULP&. PAPER LTD.      207-1425 ~IAINE DRIVE                   WESTVANCOUVR     BC       V7T1B9         CANADA          6/1012007 "S062564                 9/1412007    SCK    S33418      3.29S.09
       97951   GEN   SINOCAN PULP &. PAPER LTD.     207-1425 MAINE DRIVE                    \VETVANCOUVR     BC       V7T 189        CANADA          611S12OO7 "S062639                 9114/2007    SCK    S33418      7,994.29
       97951   GEN   SINOCAN PULP &. PAPER LTD.     207-1425 MtINE DRIVE                    \VETVANCOUV      BC       V7T 189        CANADA          6/21/2007 "S062671                 911412007    SCK    S33418      3,246.66
       97951   GEN   SINOCAN PULP & PAPER LTD.      207-1425 MARINE DRIV                    WESTVANCOUVR     BC       V7T1 B9        CANADA          6/2412007 "S062775                 9/1412007    SCK    S3341S      8,063.28
       979S1   GEN   SINOCAN PULP &. PAPER LTD.     207-1425 MANE DRIVE                     \VETVANCOUV      BC       V7T1 89        CANADA          612212007HS062780                  911412007    SCK    S33418      1.024.59
       979S1   GEN   SINOCN PULP &. PAPER LTD.      207-1425 MAINE DRIVE                    \VETVANCOUV      BC       V7TIB9         CANADA          6124/2007 "S06280S                 911412007    SCK    S33418      3.297.26
       97951   GEN   SINOCAN PULP &. PAPER LTD.     207-1425 MAINE DRIVE                    \VETVANCOUV      BC       V7T1B9         CANADA          6/2412007 HS062810                 9114/2007    SCK    S33418      1,103.98
       97951   GEN   SINOCAN PULP 8: PAPER LTD.     207-1425 MAINE DRIV                     WESTVANCOUV      BC       V7T1 89        CANADA          6124/2007 HS062812                 9/14/2007    SCK    S3341S      1,080.01
       98009   GEN   TUE VANGUARD GROUP OF          INVESTMENT COMPANIES PO BOX 1101        VALLEY FORGE     PA       19482-1101   UNITED STATE      9/28/2007 40lK9/28r07              9/28/2007    WRB      6787    222,236.S0
       98009   GEN   THE VANGUARD GROUP OF          INVESTMENT COMPANIES PO BOX 1101        VALLEY FORGE     PA       19482-1101   UNITED
                                                                                                                                        STATE        8/712007 40lKADMIN8f2007           S/24/2007    SCK    S33180      4,862.S0
       9S009   GEN   TIE VANGUARD GROUP OF          INVETMENT COMPANIES PO BOX I 101        VALL FORGE       PA       19482-1101   UNITED STATE      7130/2007 7131/2007                713112007    WRB      6S13    276,400.98
       98009   GEN   THE VANGUARD GROUP OF          INTMENT COMPANIES        PO BOX I 101   VALLE FORGE      PA       19482-1101   UNITED
                                                                                                                                        STATE        SI31/2007 AUG312007                813112007    WRB      6633    230,847.06
       98106   CRT   GENERAL CHEMICAL               DEPT 1068         PO BOX 121068         DALLAS           lX       75312-1068   UNITED STATE      10/412007GENEI00407                10/12/2007   EDI    103040      4.804.S2
       98106   CRT   GENERAL CHEMICAL               DEPT 1068        PO BOX 121068          DALLAS           lX       75312.1068   UNITED
                                                                                                                                        STATE        SI31/2007 SULFURIC ACID AUG07      10/112007    EDI    103019     2S,660.26
                                                                                                                                                                                                                                             Page 21 of 25




       98106   CRT   GENERAL CHEMICAL               DEPT 1068         PO BOX 121068         DALLAS           lX       75312-1068   UNITED
                                                                                                                                        STATE         Sn12007 SULFURIC ACID JULY07       9n12007     EDI    102961     21.SS7.S4
       98106   CRT   GENERAL CHE~ßCAL               DEPT 1068        PO BOX 121068          DALLAS           lX       75312_1068        STATE
                                                                                                                                   UNITED            5131/2007 SULFRIC ACID ~tA Y2007   101212007    EDI    103069     31.988.24
       98107   GEN   CARRER CORPORATION             POBOX93844                              CHICAGO          IL       60673.3844   UNITED STATE       71112007 TO I 006909               S1312007    SCK    532774      1,27300
       981S7   GEN   WAIT& STEWART TRUCKING         POBOX 192                               SAN ANGELO       lX       79602        UNITED
                                                                                                                                        STATE        8/1412007SI18844                   10110/2007   SCK    ~90942      1.115.00
       981S7   GEN   WAIT& STEWART TRUCKING         POBOX 192                               SAN ANGELO       lX       79602        UNITED
                                                                                                                                        STATE        S/20/2007 SI18901                  10/172007    SCK    390980      1.535.06
       98187   GEN   WAIT& STEWART TRUCKING         POBOX 192                               SAN ANGEL        lX       79602        UNITED
                                                                                                                                        STATE        81172007 SI18903                   10/1712007   SCK    390980      1,115.00
       98187   GEN   WAIT & STEWARTTRUCKiNG         POBOX192                                SAN ANGELO       lX       79602        UNITED
                                                                                                                                        STATE         9/412007 SI19021                  10/1712007   SCK    390980      2.414.12
       98221   GEN   KAARITAITAR                    16317 SWCROMWELLCOURT                   TIGARD           OR       97223             STATE
                                                                                                                                   UNITED            912/2007 10                        10/2S12007   EDI    103070      1.440.00
       98221   GEN   KAARITAITAR                    16317 SWCROMWELLCOURT                   TIGARD           OR       97223        UNITED
                                                                                                                                        STATE        10/11/2007 II                      10/19/2007   EDI    10~054      2.940.00
       98221   GEN   KAARITAITAR                    16317 SWCROMWELL COURT                  TIGARD           OR       97223        UNITED
                                                                                                                                        STATE        7/IS/2OO7,                         713012007    EOI    102811      2.520.00
       98221   GEN   KAARITAITAR                    16317 SWCROMWELLCOURT                   TIGARD           OR       97223        UNITED STATE      7131/2007 6                        S/1612007    EDI    102876      2,130.00




                                                                                                            8601137                                                                                         SOFA All. 3.a1 Vendor Payments
Pope & Talbot, Inc,
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Attachment SOFA 3-al
Payments to Creditors Between 07/30/2007 and 10/28/2007

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      98221 GEN KAARITAlTAR       16317 SW
                                         CROMWELL
                                                COURT       TIGARD           ~     97223             UNITED STATE 8/1512007 7             9/612007 EDI   102952 3.150.00
      98221 GEN Ki\ARITAlTAR      16317 SW
                                         CROMWELL
                                                COURT       TIGARD           ~                       UNITED
                                                                                                          STATE   813112007 8             9/20/207 EDI   10299~ 3,840.00
      98221 GEN KAARITAlTAR       16317 SW CROMWELL COURT   TIGARD                 97223
                                                                             ~ 97223                                                     UNITED STATE    9/1512007 9                       10/15/207 EDI     103045       2.880.00
       98277 GEN SHARED reHNOLOGIES INC.                  DEPTI45 PO      BOX4869                  HOUSTON         ~        77057        UNITE STATE     7f161007 OAJ.ol4200                9114/2007 SCK    533528       2.931.00
       98415 GEN COSCOCONTATNERUNESi\MERICAS              INC.   2101   4TH   AVE     SUITE 1500   SEATTE          ~        98121        UNITED STATE   612812007 203002563                 713012007 SCK    532555       2.690.00
       98415 GEN COSCOCONTATNERUNESAMERICi\S              INC.   2101   4TH   AVE     SUITE 1500   SEATTE          ~        98121        UNITED STATE    8n12007 2030064333                 8/3112007 SCK    533248      13.883.00
       98415 GEN COSCOCONTAINERUNESAMERCAS                INC.   2101   4TH   AVE     SUITE 1500   SEATTE          ~        98121        UNITED STATE    81212007 2030065275               10/171007 SCK    5~4095      13.883.00
       98415 GEN COSCOCONTAINERLINESAMERICAS              INC.   2101   4TH   AVE     SUITE ISOO   SEA TI          ~        98121        UNITED STATE    8f24f2007 COSU80OO263040          10/17/2007 SCK   534095      13.88~.00
       98494 GEN HYUNDAT MERCHANT J\tARINE            543 GRAVILLE STREET                          VANCOUVR        oc       V6CIX8          CANADA       715/2007 ORSEl02768                8/1312007 SCK   532964        3.025.00
       98494 GEl" HYUNDAI MERCHANTMARlNE              543 GRAVILLE STREET                          VANCOUVER       oc       V6CIX8          CANADA       714/2007 ORTC206687                811/2007 SCK    532964      23.025.00
       98516 GEN INITAL TROPICALPLANTSERV.            POBOX95409                                   PALATIE         L        60095.0409   UNITE STATE     8/1f2007 763POO~1853               9/14/2007 SCK   533472          231.43
       98527 GEN WATKNS.t SHEPARD TRUCKING INC        POBOX5328                                    MISSOULA        ~        59806-5328   UNITED STATE   7f20f2007 8198758                   811/2007 SCK    390708        1.161.08
       98527 GEN WATKNS &; SHEPARDllUCKING INC        POBOX5328                                    MISSOULA        ~        59806-5328   UNITED STATE   8/1512007 8247561                   9/122007 SCK    390833        1,290.30
       98527 GEN WATKNS &; SHEPARD ffUCKING INC       POBOX5328                                    ~OSSOULA        ~        59806.5328   UNITED STATE   8/15/2007 8247563                   9/1212007 SCK   390833        1,719.98
       98527 GEN WATKINS & SHEPARD  TRUCKING INC      POBOX5328                                    MISSOULA        ~       59806.5328    UNITED STATE   813012007 8267689                  1011812007 SCK   391141        1.374.20
       98550 GEN WALSH llUCKING.INC.                  1650 NW SUNDIAL ROAD                         TROUTDALE       ~       97060         UNITED STATE    81812007 107740F GP CAMAS 7/07     8115/2007 SCK   5~3057          468.71
       98550 GEN WALSH llUCKING.INC.                  16SO NW SUNDL.\L ROAD                        TROUTDALE       ~       97060         UNITED STATE   711912007 98550107072               7/31/207 SCK    532692       7,100.01
       98550 GEN WALSH TRUCKING. INc.                 1650 NW SUNDIAL ROAD                         TROUTDALE       ~       97060         UNITE STATE     81312007 98550107081               8/1512007 SCK   533056      12,668.70
       98550 GEN WALSFI llUCKING.INC.                 1650 NW SUNDIAL ROAD                         TROUTDALE       ~       97060         UNITED STATE   8/2012007 98550107082               8/31/2007 SCK   533207       5.650.2R
       98550 GEN WALSH TRUCKING.INC.                  1650 NW SUNDIAL ROAD                         TROUTDALE       ~       97060         UNITED STATE    9/612007 98550107091              9/20/2007 SCK    533592        2.245.28
       98550 GEN WALSH TRUCKING. INC.                 1650 NW SUNDIAL ROAD                         llOUTDALE       ~       97060         UNITED STATE   912012007 98550107092               101512007 SCK   533959       V27.5R
       98550 GEN WALSH TRUCKING.INC.                  1650 NW SUNDI.'- ROAD                        llOUTDALE       ~       97060         UNITEDSTATE     1013/2007 98550107101             1011512007 SCK   534069        1.442.71
       98550 GF. WALSH TRUCKING.INC.                  1650 NW SUNDIAL ROAD                         TROUTDALE       ~       97060         UNITEDSTATE     9/612007 WAUS091507               9/20/2007 SCK    533592         (468.71)
                                                                                                                                                                                                                                             Case 07-11738-CSS




       98554 GEN STATE OFOHIOTREASURER                POBOX27                                      COLUl.ffUS      00      43216.0027    UNITEDSTATE    10/~i2007 Qll3-07                  10115/2007 ACH     6890          854.00
       98555 GEN C II MlIRPlIY/CLARK.ULLMAN           5565 NORTH DOLPHIN STREET                    PORTLND         ~       97217         UNITEDSTA"f    7/27/2007 707071CS                 912412007 SCK    533650      IV15.36
       98572 GEN FIBRE MARKTING.INC.                  6860 SWWlNDlNG WAY                           CORVALLIS       ~       97333         UNITEDSTATE    719/2007 98572107072               7131/207 seK     532673          159.60
       98572 GEN FIBRE MARKTING.INC.                  6860 SWWlNDlNG WAY                           CORVALUS        ~       97333         UNITEDSTATE     813/2007 98572107081              8/15/207 SCK     5~303~          686.80
       98572 GEN FIßRE MARKNG, INC.                   61160 SW WINDING WAY                         CORVALLIS       ~       97333         UNITEDSTATE    8/2012007 98572107082              8131/2007 SCK    533189          34R.00
       98572 GEN FIBRE MARKTING.INC.                  6860SWWINDINGWAY                             CORVALLIS       ~       97333         UNITE STATE     9/612007 98572107091              9/14/2007 SCK    533343          166.00
       98572 GEN FIBRE MARKNG. INC.                   6860SWWINDING WAY                            CORVALLIS       ~       97333         UNITEDSTATE    9/2012007 98572107092               10/5/2007 SCK   533940          42220
       98572 GEN FIBR£:-tARKNG.INC.                   6860 SW WINDING WAY                          CORVALLIS       ~       97333         UNITEDSTATE     1013/2007 98572107101             10/15/2007 SCK   534055          385.00
       98597 GEN AMERICAN SCALECOMPANY                PO80X 2850                                   EUGENE          ~       97402         UNITED STATE   713112007 16319                    9/24/2007 SCK    533634          486.00
       98597 GEN AMERICAN SCALECOMPANY                POBOX2850                                    EUGENE          ~       97402         UNITED STATE    9n12007 16415                      101912007 SCK   533972        1.042.59
       98597 GEN AMERICAN SCALECOMPANY                P080X2850                                    EUGENE          ~       97402         UNITED STATE    9n12007 16415CM                    101912007 SCK   533972
       98597 GEN AMERICANSCALECOJ\WANY                                                                                                                                                                                  (1.042.59)
                                                      PO80X 2850                                   EUGENE          ~       97402         UNITEDSTATE    9121200716505                       1019/2007 SCK   533972          475.00
       98597 GEN AMERICAN SCALECOMPANY                POBOX2850                                    EUGENE          ~       97402         UNITED STATE   9/2712007 16505CM                   101912007 SCK   533972
       98605 GEN AAA COLLECTIONS INC.                                                                                                                                                                                     (475.00)
                                                      POBOX1085                                    SIOUX FALLS     w       57101-1085    UNITEDSTATE    10/19/2007 CIV0722410123/07        1012212007 SCK   534146          217.8~
                                                                                                                                                                                                                                             Doc 266-2




       98605 GEN AA,\ COLLECTIONS INC.                POBOX 1085                                   SIOUX FALLS     w       57101-1085    UNITE STATE    101912007 CIV07224SPAULDI01I0/07   10/11/2007 SCK   53~997          216.20
       98605 GEN ,\AA COLLECTIONS INC.                POBOX 1085                                   SIOUXFAUS       w       57101-1085    UNITEDSTATE    9/221007 CIV072279125/07           9/2812007 SCK    53382~          257.95
       98605 GEN AAA COLLECTIONS INC.                 PO BOX 1085                                  SIOUX FAUS      W       57101-1085    UNITEDSTATE    8/1112007 SPRIGLER8.14.07          812/2007 SCK     53~114          290.66
       98629 GEN MELLON INVESTOR SERVICESLtc          ACCOUNTING DEPT. PO BOx 360857               PITTBURGH       M       15251-6857    UNITEDSTATE     7122007 266854                    8/23/2007 SCK    53~094       3.303.87
       98629 GEN MELLON INVETOR SERVICES Ltc          ACCOUNTING DEPT. PO BOx 360857               PITTBURGH       M       15251-6857    UNITED STATE   8f2412007 269663                   10/2212007 SCK   534154       3.693.84
       98629 GEN MELLON INVTOR SERVICES Ltc           ACCOUNTIG DEPT.     PO OOX 360857            PITTBURGH       M       15251-6857    UNITEDSTATE    8124/2007 269664                   1012212007 SCK   534154       2.571.41
       98638 GEN THOMSON FINANCIAL CORP GROUP         POBOX5136                                    CAROL STRM      L       60197-5136    UNITEDSTATE    612112007 955620                   7130/2007 SCK    532661           13.00
       98638 GEN THOMSON FINANCIAL CORPGROUP          POBOX5136                                    CAROL STRM      L       60197-5136    UNITEDSTATE     71312007 963199                   9/14/2007 SCK    533422       4.252.50
       98760 GEN RIVERSIDE RELOAD                     CI GMR ONE RALWAY LAE                        BURLGTON        ~       5401          UNITEDSTATE     7/612007 992119                   713012007 SCK    532650          818.04
       98760 GEN RIVERSIDE RELOAD                     C/ GMRR ONE RALWAY LAE                       BURLNGTON       ~       5401          UNITEDSTATE    7/1312007 992124                    81312007 SCK    532834       1.209.60
       98760 GEN RIVEIDE RELOAD                       C/OGMR ONE         RALWAYLAE                 BURLNGTON       ~       5401          UNITEDSTATE    7/2012007 992128                   8/1312007 SCK    533006         403.20
       98760 GEN RIIDE READ                           CIOGMRR ONE        RALWAYLAE                 BURLGTON        ~       5401          UNITED STATE   8131/2007 992137                   10/2212007 SCK   534169         379.1
       98760 GEN RIVERSIDEREAD                        CIGMRR ONE         RALWAYLAE                  BURGTON        ~       5401          UNITE STATE    813112007 992141                   10/2212007 SCK   534168         387.07
       98760 GEN RIVERSIDEREAD                        CIGMR ONE          RALWAYLAE                  BURLGTON       ~       5401          UNITE STATE    813112007 992143                   1012212007 SCK   534169         403.20
       98760 GEN RIVERSIDE RELOAD                     cimiR ONE          RALWAYLAE                  BURLINGTON     ~       5401          UNITE STATE     91512007 992144                   1012212007 SCK   534168         786.24
       98760 GEN RIVERSIDE RELOAD                     CIOGMRR ONE        RALWAYLAE                  BURLGTON       ~       5401          UNITE STATE    91121007 992150                    10/221007 SCK    534168         403.20
       98760 GEN RIRSIDE RELOAD                       CIGMRR ONE         RALWAYLAE                  BURLGTON       ~       5401          UNITEDSTATE    9/14/2007 992151                   101222007 SCK    534168         426.88
       98760 GEN RIRSIDE RELOAD                       CIGMRR ONE         RALWAYLAE                  BURLINGTON
                                                                                                                                                                                                                                             Filed 01/04/08




                                                                                                                   ~       5401          UNITDSTATE     9/1812007 992153                   1012/2007 SCK    534168         401.80
       98865 GEN CARQUEST                             21l0SANTIA HIGHWAY                            ALBANY         ~       97321         UNITDSTATE     6128/2007 6501-138289              9114/2007 SCK    533442           14.98
       98865 GEN CARQUEST                             210 SANTlAHIGHWAY                             ALBANY         ~       97321         UNITEDSTATE    71712007 6501-144057               9/24/2007 SCK    533655           17.34
       98898 GEN DAVID J. BARRM                       1515 REDWOOD DRIV                             LOS ALTOS      ~       94024         UNITED STATE   8/1012007 81007DAVEBARRM           9n/2007 SCK      533298       2,332.75
       98898 GEN DAVID J. BARRM                       1515 REDWOOD DRI                              LOS ALTOS      ~       94024         UNITEDSTATE    8120/2007 AUG 8 BOD/AUDIT CALL     9n/2007 SCK      533288       1.500.00
       98898 GEN DA VlD J. BARRM                      1515 REDWOOD DRIVE                            LOS ALTOS      ~       94024         UNITEDSTAT'    9/6/007 BODfCOMP SEPT 2007         9n12007 SCK      533289       6.000.00
       98898 GEN DAVID J. BARRM                       1515 REDWOOD DRIV                             LOS ALTOS      ~       94024         UNITEDSTATE    8/1/2007 COMPfBD8/01/07            813/2007 SCK     532740       3.000.00
       98899 GEN ROBERT FUNARI                        CRESCENT HEATHCARE INC.
                                                                            1900WCRECENT      AVENUE ANAHEIM       ~       92801         UNITEDSTATE    7/23/2007 7/19-712012007           8113/2007 SCK    532918         680.79
       98899 GEN ROBERT FUNARI                                              1900WCRECENT
                                                      CRESCENT HEA THCARE INC.                AVENUE ANAHEIM       ~       92801         UNITEDSTATE    8/20/2007 AUG 8 BOD/AUDIT CALL     9n/2007 SCK      533292       1.500.00
       98899 GEN ROBERT FUNARI                                              I9QOWCRECENT
                                                      CRESCENT HEA THCARE INC.                AVENUE ANAHEIM       ~       92801         UNITEDSTATE    9/61007 BOD/COMP SEPT 2007         9n/2007 SCK      533293       6,000.00
       98899 GEN ROBERT FUARI                                               1900WCRECENT
                                                      CRESCENT HEA THCARE INC.                AVENUE ANAHEIM       ~       92801         UNITEDSTATE    81112007 COMPfBOD 8/01/07           813/2007 SCK    532741       3,000.00
       98971 GEN METROCALL                            POBOX6607700                                  DALlS          ~       75266.0770    UNITEDSTATE    711012007 Q0296144G                8113/2007 SCK    532976         530.61
       99128 GEN CRANE AMERCA SERVICES                88048 EXPEDITEWAY                             CllCAGO        L       60695_0001    UNITEDSTATE    711612007 2610628                   9n/2007 SCK     533299         4RO.00
       99128 GEN CRANE AMERCA SERVICES                88048 EXPEDITE
                                                                   WAY                              CHICAGO        L       60695_0001    UNITEDSTATE    7fIóJ2007 2610628.                 1019/2007 SCK    5~3974         480.00
       99128 GEN CRANE AMERCA SERVICES                88048 EXPEDITE
                                                                   WAY                              CllCAGO        L       60695.0001    UNITEDSTATE    7/1612007 2610628CM                1019/2007 SCK    533974
       99261 EMP BERNADINE B.N. DOAN                                                                                                                                                                                      (480.00)
                                                      CLO POPE& TALBOT                              PORTLND       ~        97207         UNITEDSTATE    9126/2007 92007                    10/1/2007 ED!    103020          190.00
       99306 GEN RRDONNELLEYREEIVABLES,INC.           POBOX100112                                   PASADENA      ~        91189-0001    UNITED STATE   8/262007 1203229000                1013/2007 SCK    533880         905.00
       99306 GEN RR DONNELLE REEIVABLES.
                                       iNC.           POBOXIOOli2                                   PASADENA      ~        91189-0001    UNITEDSTATE    8124/2007 1204604000               101312007 SCK    533880       1.956.00
                                                                                                                                                                                                                                             Page 22 of 25




       99306 GEN RR DONNELLEY REEIVABLES, INC.        POBOxi00ii2                                   PASADENA      ~        91189.0001    UNITEDSTATE    812/2007 1208111000                101312007 SCK    533880         254.00
       99306 GEN RRDONNELLEYREEIABLES,INC.            PO BOX iooii2                                 PASADENA      ~        91189.0001    UNITEDSTATE    8/1112007 1208984700               10132007 SCK     533880         648.00
       99335 GEN BURTON SAW.t SUPPLY                  POBOX10526                                    EUGENE        ~        97440         UNITEDSTATE    6/612007 136769.IN                 7130/2007 SCK    390505          142.24
       99335 OEN BURTON SAW&;SUPPLY                   PO BOX 10526                                  EUGENE        ~        97440         UNITED STATE   7122007 137123.1N                  81312007 SCK     390572       1,717.58
       99335 GEN BURTON SAW & SUPPLY                  POBOX10526                                    EUGENE        ~        97440         UNITEDSTATE    7/2612007 138323-1N                9/212007 SCK     390849       1,246.65
       99367 GEN AULICK LEASING CORP.                 305 9TH AVENUE          ro~i~                 SCOTTBLUFF             69363-1369    UNITE STATE    6/2312007 28777                    713012007 SCK    390500      18.252.03
       99367 GEN AULICK LEASING CORP.                 305 9TH AVENUE          PO~I~                 SCOTTBLUFF             69363-1369    UNITE STATE    61012007 28879+                    81312007 SCK     390626      15,633.35
                                                                                                                  --
       99367 GEN AULICKLEASINGCORP.                   305 9TH AVENUE          ro~l~                 SCOTTBLUFF             69363-1369    UNITE STATE    7n/2007 28985                      8/1312007 SCK    390631      11,407.80
       99367 GEN AULICK LEASING CORP.                 305 9TH AVENUE          PO~I~                 SCOTTBLUFF             69363-1369    UNITE STATE    7/1412007 29098                    9/121007 SCK     390739      14,490.18
                                                                                                                   --
       99367 GEN AULICKLEASING CORP.                  305 9TH AVENUE          PO~I~                 SCOTTBLUFF             69363-1369    UNITEDSTATE    7/2112007 29201.                   911212007 SCK    390739      15MO.93
       99367 GEN AULICK LESING CORP.                  305 9TH AVENUE          PO~I~                 SCOTTBLUFF             69363_1369    UNITEDSTATE    7/2812007 29338                    9/1212007 SCK    390139      12,386.32
                                                                                                                    --

                                                                                                                 870f137                                                                                    SOFA All. 3-a1 Vendor Payments
Pope & Talbot, Inc.
Case No. 07-11738 (CSS)
Attachment SOFA 3-al
Payments to Creditors Between 07/30/2007 and 10/28/2007

Vciidur CI:i'~ Vcndor S:iiic Addrc.'~ City Addrc~" ~~~l~~: lfl~l:il Code Cuiiitr J\i\'u!ce I):ile Imi,lee Check U:itc 1'~t:ii,:OI 1'~::~~I~~~1l USI)AlilUllll
        99367    GEN AULICK LEASING CORP.           305 9TH AVENUE PO BOX 1369       SCOTTBLUFF       NE      693153-1369    UNræD STATE      8/4/2007 29457                     911212007     seK
        99367    GEN AULICK LEASING CORP.                                                                                                                                                             390739      11,987.94
                                                    305 9TH AVENUE PO BOX 1369       SCOTTBLUFF       NE      69363-1369     UNITE STATE     8111/2007 29565                     911212007     seK    390739       S,850.11
        99367    GEN AULICK LEMING CORP.            305 9TH AVENUE PO BOX 1369       SCOTTBLUFF      NE       693153-1369    UNITEDSTATE     S/IS/2007 29705                      1013/2007
        99367                                                                                                                                                                                  seK    390914      10,.71.69
                 GEN AULICK LEASING CORP.           305 9TH AVENUE PO BOX 1369       SCOTTBLUFF      NE       693153-1369    UNITEDSTATE     8/25/2007 29794                      1013/2007    seK
        99466    GEN 0 M & E RAILROAD CORPORATION                                                                                                                                                     390914      13.020.08
                                                    NW 5284 PO BOX 1450              ~UNNEAPOLIS      MN      55485-5284     UNITEDSTATE     S1I6/2007 ULl04404                  81112007      seK    533067        27212
        99466    GEN 0 M & E RAILROADCORPORATION    NW 5284 PO BOX 1450              MINEAPOLIS      MN       55485-5284     UNITEDSTATE      9/6/2007 ULl04484                   9n/2007      seK
        99468    GEi'J LARRY NELSON                                                                                                                                                                   5n258        1.544.61
                                                     ISiS W SHER~1A STREET           SroRoiS         SD       57785          UNITEDSTATE     9/1112007 AUGUST INCENTIVE          101512007     seK    390925          7Q.5
        99469    GEN RICK'S PRINTING, LLC           2645 N MISSISSIPPI AVENUE        PORTLND         OR       97227          UNITEDSTATE      8181207 40S6                       9/2412007
        99511                                                                                                                                                                                  seK    533758         170.00
                 GEN WASIlNGTONSTATE                DEPT. OF REVENUE PO BOX 34501    SEATIE          IVA      98124-1051     UNITED STATE    7/1512007 BAND06/072NDQTR           713012007     seK
        99552    GEN LUZENAC AMERICA INC                                                                                                                                                              532569       1.941.74
                                                    DEPTI779                         DENR            CO       80291-1779    UNITED STATE     61221007 9590S                      713012007     seK    532624      5.790.51
        99552    GEN LUZENAC AMERICA rNC            DEPTI779                         DENR            CO       80291-1779    UNITED STATE     6/2512007 9598S                     713012007     seK
        99552    GEN LUZENAC AMERICA INC                                                                                                                                                              532624      5,790.51
                                                    DEPTI779                         DEN             CO       80291-1779    UNITE STATE      612/2007 96245                       SI32OO7      seK    532805      5,790.51
        99552    GEN LUZENAC AMERICA INC            DEPTI779                         DENR            CO       80291-1779    UNITED STATE      7/512007 9643S                     S/I/2007     seK
        99552    GEN LUZENAC AMERICA INC                                                                                                                                                              532973      5.790.51
                                                    DEPTI779                         DEN             CO       80291_1779    UNITED STATE      71912007 96715                     SII/2007     seK     532974      5,790.51
        99552    GEN LUZENAC AMERICA INC            DEPTI779                         DENR            CO       80291-1779    UNITED STATE     7/1312007 9693S                     911412007    seK
        99552    GEN LtZENAC AMERICA INC                                                                                                                                                              533480      5,790,51
                                                    DEPTI779                         DEN             CO       80291_1779    UNITED STATE     7/1712007 97057                     912412007    seK     533705      5.790.51
        99552    GEN LtZENAC AMERICA INC            DEPTI779                         DENR            CO       80291_1779    UNITED STATE     7/2012007 97241                     9/24/2007    seK
        99552    GEN LtZENAC AMERICA INC                                                                                                                                                              533105      5.790.51
                                                    DEPTI779                         DEN             CO       80291-1779    UNITED STATE     7/2712007 97595                     9124/2007    seK     533705      5.790.51
        99554    CRT CHE~nCALPRODUCTS TEHNOLOGIES   POBOX932828                      ATLNTA          GA       3l193-2828    UNITED STATE     713112007 CT09260                   9110/2007    seK     533307     8I,73S.00
        99554    CRT CHEMICAL PRODUCTS TECHNOLOGIES POBOX932828                      ATLNTA          GA       31193-2828    UNITED STATE     S/23/2007 CT09326                  1011112007    IVR       6875     43,318.80
        99554    CRT CHEMICAL PRODUCT TEHNOLOGIES   POBOX932828                      ATLNTA          GA       31193-2828    UNITED STATE     911S/2007 CT09402                   1013/2007    WRE       6827     44.063.70
        99554    CRT CHEMICAL PRODUCT TEHNOLOGIES   POBOX932828                      ATLNTA          GA       31193-2828    UNITED STATE     911/2007 P00700304DEBIT             9/1S/2007    IVR       6737     42.975.00
        99554    CRT CHEMICAL PRODUCT TEHNOLOGIES   POBOX932828                      ATLNTA          GA       31193-2828    UNITED STATE     10/IS/2007 P0700304DEBIT           10LLS/2007              6921
                                                                                                                                                                                              \V                 43,605.30
                                                                                                                                                                                                                                      Case 07-11738-CSS




        99666   GEN ROGER REMINGTON                 5240 M&M CIRCLE                  GILLEI          ivy      82718-8210    UNITED STATE     7/122007 1372                       9/14/2007     seK
        99666                                                                                                                                                                                        390796        1.000.00
                GEN ROGER REMINGTON                 5240 M&M CIRCLE                  GILLET          ivy      82718-8210    UNITED STATE      719/2007 1374                      SII12OO7      seK   390691
        99666   GEN ROGER REMINGTON                                                                                                                                                                                1.040.00
                                                    5240 M&M CIRCLE                  GlLLEI          IVY      82718-8210    UNITE STATE      7/161007 1375                       9114/2007     seK   390796        1.050.00
        99666   GEN ROGER REMINGTON                 5240 M&M CIRCLE                  GlLLEI          IV       82718-S210    UNITE STATE      7130/2007 1376                      9/212007      seK   ~90892         790.00
        99766   CRT BASIC CHanCAL SOLUTIONS         POBOX41322                       SANTA ANA      eA       92799-1322     UNITE STATE     10117/200710/04-101102007           10/2312007     EOJ    103060     16..9S.S9
        99766   CRT BASIC CHEMICAL SOLUTIONS        POBOX41322                       SANTA ANA      eA       92799-1322     UNITE STATE      91261007 9/1-9/62007               1011712007     EDI    103047
        99766   CRT BASIC CHEMICAL SOLUTIONS                                                                                                                                                                      5.47170
                                                    POBOX41322                       SANTA ANA      eA       92799-1322     UNITEDSTATE      9126/2007 9114-9/202007            10117/2007     ED!    103047     3S.845.2&
        99766   CRT BASIC CllEMICAL SOLUTIONS       POBOX41322                       SANTA ANA      eA       92799-1322     UNITEDSTATE      912/2007 9/XX-XXXXXXX              10/17/2007     EDI
        99766   CRT BASIC CHEMICAL                                                                                                                                                                    103047     34.414.10
                                    SOLUTIONS       POBOX41322                       SANTA ANA      eA       92799-1322     UNITEDSTATE      9126/2007 9n-9/132007              1011712007     EOJ    103047     47.678.31
        99766   CRT BASIC CHallCAL SOLUTIONS        POBOX413l2                       SANTA ANA      eA       92799-1322     UNITEDSTATE     10117/2007928-10/032007             10/23/2007     ED!    103060
        99766   CRT BASIC CHallCAL SOLUTIONS                                                                                                                                                                     16.923.98
                                                    lOBOX41312                       SANTA ANA      eA       92799-1322     UNITE STATE      813112007 CAUSTIC SODA AUG07        9/19/2007     EOJ    1029S8    167.280.57
        997M    CRT BASIC CHEMICAL SOLUTIONS        POBOX41322                       SANTA ANA      eA       92799-1322     UNITEDSTATE      713112007 CAUSTIC SODA JULY 07      8/171007      EOJ    1028S4
        99772   GEN MCFARLNE'S BARK INC.                                                                                                                                                                        162,Q0.73
                                                    13345 SE JOHNSON ROAD            MILWAUKIE      OR       97222          UNITED STATE     7/19/2007 99772107072               713112007    seK    532682       5.426.21
        99772   GEN MCF,\RLNE'S BARK INC.           1345 SE JOHNSON ROAD             MILWAUKIE      OR       97222          UNITEDsrATE      813/2007 99772107081                S/1512007    seK    533041       7,860.17
                                                                                                                                                                                                                                      Doc 266-2




        99772   GEN MCFARUNE'S BARK INC.            1345 SE JOHNSON ROAD             MILWAUKIE      OR       97222          UNITED STATE     8/20/2007 99772107082               S13112007    seK    533197       6.699.26
        99772   GEN MCFARLNE'S BARK, INC.           13345 SE JOHNSON ROAD            MILWAUKIE      OR       97222          UNITEDSTATE      916/2007 99772107091               9/141207      seK    533352       7.741.11
        99772   GEN MCFARUNE'S BARK, INC.           1345 SE JOfINSON ROAD            ~ULWAUKIE      OR       97222          UNITEDSTATE      9/2012007 99772107092               10/51207     seK    533947
        99888   GEN SPECTRUMLABORATORY PRODUCT                                                                                                                                                                    1,979.0S
                                                    FILENO.11990                     LOS ANGELES    eA       90074-1990     UNITEDSTATE      811/2007 10119260/10119260         9/24/2007     seK    533773          3267
        99923   GEN ATFINC.                         23525 HlGHWAY99E                 HARRSBURG      OR       97446          UNITEDSTATE      7130/2007 70715                    9124/2007     seK
        99941                                                                                                                                                                                        533643         509.5S
                GEN UNITED STATE TRSURY             1500 PENNSYLVANIAAVENUE NW       WASHINGTON     DC       20220          UNITEDSTATE      7/27/2007 5175015627/28'07          7130/2007    seK    532567         413.94
        99941   GEN UNITED STATE TRSURY             1500 PENNSYLVANIA AVENUE NW      WASHINGTON     DC       20220          UNITED STATE     8/1112007 517501562JOHANN8/14107    81212007     seK
        99941                                                                                                                                                                                        533105         214.54
                GEN UNITED STATE TRSURY             1500 PENNSYLVANIA AVENUE NW      WASHINGTON     DC       20220          UNITED STATE     8/2S/2007 TAXJOHANNESEN 812107      8/24/2007    seK    533177         28(\.24
        99990   GEN TEMPORARY VENDOR OTIER         ANYSTRET                          ANYCITY        OR        12345         UNITEDSTATE      8/1/2007 SOL07                     9/14/2007     seK    533462         300.00
       100199   GEN CIll OF WHITEWOOD              PODOX36                           WHITEWOOD      SD       57793          UNITED STATE     7/7/2007 6128107TO7/26/07          912112007     seK
       100205   GEN CANllSA TRNSPORTATION LTD.                                                                                                                                                       390909         5i.0
                                                   P0130XI080                        OSOYOOS        Be       VOHIVO            CANADA        7/10/2007 CAN.o05046               7/3012007     seK    532592       3,28S.00
       100205   GEN CANUSA TRNSPORTATION  LTD.     POBOX 1080                        OSOYOOS        Be       VOIIIVO           CANADA        71012007 CAN-005162                8ID/2007      SCK
       100205   GEN CANUSA TRNSPORTATION                                                                                                                                                             532947       1.224.00
                                          LTD.     POBOX 1080                        OSOYOOS        Be       VOHIVO            CANADA        7/5/2007 CAN-005200                81D/2007      seK    532947       2.100.00
      100205    GEN CANUSA TRNSPORTATION LTD.      POBOX 1080                        OSOYOOS        Be       VOH IVO           CANADA        7/25/2007 CAN_005201               SID/2007      SCK
      100205    GEN CANUSA TRNSPORTATION LTD.                                                                                                                                                        532947       1.787.00
                                                   POBOX1080                         OSOYOOS        Be       VOH IVO           CANADA        7/2712007 CAN-005234               9114/2007     SCK    533441       1,145.00
      100205    GEN CANUSA TRNSPORTATION LTD.      POBOX 1080                        OSOYOOS        Be       VOH IVO           CANADA        713012007 CAN-005250               911412007     seK
      100205    GEN GANUSA TRNSPORTA TION LTD.                                                                                                                                                       53~441       1.026.00
                                                   POBOX1080                         OSOYOOS        Be       VOH IVO           CANADA        SII/2OO7 CAN_005263                911S12007     SCK    533553       1.746.00
      100205    GEN GANUSA TRNSPORTATION LTD.      POBOX1080                         OSOYOOS        Be       VOH IVO
                                                                                                                                                                                                                                      Filed 01/04/08




                                                                                                                               CANADA        8116/2007 CAN-005411               9/IS/2007     seK    533553       2.100.00
      100205    GEN CANUSA TRNSPORTATION LTD.      POBOX1080                         OSOYOOS        Be       VOHIVO            CANADA        S12112007 CAN-005456                10/3/2007
      100205    GEN CANUSA TRNSPORTATION LT!.                                                                                                                                                 seK    533S74       2.100.00
                                                   POBOX 1080                        OSOYOOS        Be       VOHIVO            CANADA        914/2007 CAN-005588                 10132007     seK    533S74       1.110.00
      100205    GEN CANUSA TRNSPORTATION  LTD.     POBOX 1080                        OSOYOOS        Be       VOHIVO            CANADA       812/2007 CAN005533
      100229    GEN INTERFOR PACIFIC                                                                                                                                            1011012007    seK    53:990       1,224.00
                                                   221 I RIMLAND DR SUITE 220        BFLUNGHAM      IVA      9S226          UNITED STATE    7/19/2007 1.00229E+II                S/1I2007      EOJ   102815       9..26.2
      100229    GEN INTERFOR PACIFIC               2211 RIMLAND DR SUITE 220         BELLINGHAM     IVA      98226          UNITED STATE     813/2007 1.00229E+1I
      100229    GEN INTERFOR PACIFIC                                                                                                                                            81161007       ED!   102875      13.113.46
                                                   2211 RIMLAD DR SUITE 220          BELLINGHAM     IVA      98226          UNITE STATE     8/20/2007 1.00229E+II                9/5/2007      EOJ   102934      10.268.92
      100229    GEN INTERFOR PACIFIC               2211 RIMLAD DR SUITE 220          BELUNGHAM      IVA      98226          UNITEDSTATE     8/20'2007 100229107082-C
      100229    GEN INTERFOR PACIFIC                                                                                                                                             915/2007      EOJ   102934     (10.26S.92)
                                                   2211 RIMLD DR SUITE 220           BELLINGHAM     IVA      98226          UNITEDSTATE      91612007 1.00229E+II               911412007     seK    533340      17,567.44
      100229    GEN INTERFOR PACIFIC               221 I RIMLAD DR SUITE 220         BELLINGHAM     IVA      98226          UNITEDSTATE      91612007 100229107091-C
      100229    GEN INTERFOR PACiFiC                                                                                                                                            9114/2007     seK    533340     (17,567.44)
                                                   221 I RIML.AND DR SUITE 220       BELLINGHAM     IVA      98226          UNITED STATE    9/20/2007 l.oo229E+11                10/112007     EDI   103021       4,033.28
      100298    GEN NURNBERG SCIENTIFIC            SCIENTIFIC DISTRIBUTORS PO BOX
                                                                               561   LAKE OSWEGO    OR       97034          UNITDSTATE      71112007 39177-IN
      100319    GUN DUGALD RICHARDSON                                                                                                                                           8/13/2007     seK    532991        472.67
                                                   m HOUGH ROAD                      CRA \VFORD     NE       69339          UNITEDSTATE      812007 ULI04296                     813/2007     seK    5J2731
      100319    GEN DUGALD RICHARDSON              133 HOUGH ROAD                    CRA \VFORD     NE       69339          UNITEDSTATE      819/2007 ULl04333
      100319    GEN DUGALD RICHARDSON                                                                                                                                           8110/2007     seK    532893
                                                   m HOUGH ROAD                      eRA \VFORD     NE       69339          UNITED STATE     819/2007 ULI0437I                  8110/2007     seK    532893          16.43
      100319    GEN DUGAI_D RICHARDSON             133 HOUGH ROAD                    CRA \VFORD     NE       69339          UNITEDSTATE     81161007 ULI04409                   8/171007
      100319    GEN DUGALD RICHARDSON                                                                                                                                                         seK    533079         841.39
                                                   in HOUGH ROAD                     CRA \VFORD     NE       69339          UNITED STATE    8/23/2007 ULl04442                  8/24'2007     SCK    533143         631.76
      100319    GEN DUGALD RICHARDSON              133 HOUGH ROAD                    CRAWFORD       NE       69339          UNITEDSTATE     813012007 ULl04479                  S/3112007     seK    533239         850.57
                                                                                                                                                                                                                                      Page 23 of 25




      100319    GEN DUGALD RICHARDON               133 HOUGH ROAD                    CRA \\'ORD     NE       69339          UNITEDSTATE      91612007 ULI04511                   9n/2007
      100319    GEN DUGALD RICHARDSON                                                                                                                                                         seK    533279         640.99
                                                   m HOUGH ROAD                      CRAWFORD       NE       69339          UNITEDSTATE     9/112007 ULI04582                   9114/2007     SCK    533394         639.74
      100319    GEN DUGALD RICHARDSON              m HOUGH ROAD                      CRA \VFORD     NE       69339          UNITED STATE    9/2012007 ULl04609                  9/2112007
      100319    GEN DUGALD RICHARDSON                                                                                                                                                         seK    533614         430.66
                                                   m HOUGH ROAD                      CRA\VFORD      NE       69339          UNITEDSTATE     912712007 ULI04641                  912/2007      seK    533817         639.42
      100319    GEN DUGALD RICHARDSON              m HOUGH ROAD                      CRAWFORD       NE       69339          UNITE STATE     10/4/2007 ULI04670
      100319    GEN DUGALD RICHARDSON                                                                                                                                           101512007     seK    533934         523.3
                                                   m HOUGH ROAD                      CRA\VFORD      NE       69339          UNITEDSTATE     10/1112007 ULI04699                 10/1212007    seK    534050        643.8
      100319    GEN DUGALD RICHARDSON              133 HOUGH ROAD                    CRA\VFORD      NE       69339          UNITE STATE     101l/2oo7 ULI04725                  10/1912007    seK    534137        639.23
      100336    GEN NWFF ENRONMENTAL               POBOXJ88                          PHILOMATI      OR       97370          UNITE STATE     911012007 52S2                      9/28/2007
      100336    GEN NWFF ENRONMENTAL                                                                                                                                                          seK    533856       1,550.00
                                                   POBOX188                          PHILOMATI      OR       97370          UNITE STATE     9/1012007 5282-                     9128/2007     seK    533856       1,550.00
      J00336    GEN NWFF ENRON~IETAL               POBOX188                          PHILOMA ll     OR       97370          UNITE STATE     911012007 5282CM                    912/2007
      100336    GEN NWFF ENRONMENTAL                                                                                                                                                          seK    533856      (1,550.00)
                                                   POBOX188                          PHILOMA ll     OR       97370          UNITED STATE    9110/2007 5283                      9/28/2007     seK    533856         200.00




                                                                                                   8801137                                                                                           SOFA Att. 3-a1 Vendor Payments
Pope & Talbot. Inc.
Case No. 07-11738 (CSS)
Attachment SOFA 3-al
Payments to Creditors Between 07/30/2007 and 10/28/2007

Vendor (:;i~~ \'cndurN:imc ,\dtlr.._'~ City Addr..~~ ~~~,:~: l,,~l:il Cudc Cminlr' Iil\ulce nul.. Inwil.... t:iicck liiiIe J.~r~i,:nt 'li;:ii~:I~:.i;'l1 US!) AIlHlmt
        100336   GEN NWFF ENIRONMENTAL                POBOX 188                                     PHILOMATH        OR        97370        UNITEDSTATE       9110120075283-                  912812007    SCK    533856        200.00
        100336   GEN NWFF ENVIRONMENTAL               POBOX 188                                     PHILOMATH        OR        97370        UNITE STATE       9110/20075283CM                 9/2812007    SCK    533856       (200.00)
        100363   GEN FA W. TA W.JOHN SERVlCES,INC.     18125 NORTH RAMSEY ROAD                      RATIDRUM         ID        83858        UNITEDSTATE      61222007 1111                     7130/2007   SCK    390548        183.8:l
        100468   GEN SHERRI BOWMAN                    8012NE71s1Loop                                VANCOUVER        \VA       98662        UNITEDSTATE      10115/2007101307                 10/1912007    EDI    103055     2,952.00
        100468   GEN SHERR BOWMAN                     8012NE7151Lop                                 VANCOUVR         \VA       98662        UNITEDSTATE       7/412007 72407                   811/2007     EDI    102814     7,790.00
        ¡00514   GEN SOUTH DAKOTA UNa.IPI.YMENT       INSURACE DIVISION PO BOX 4730                 ABERDEEN         SO        57402-4730   UNITEDSTATE       1019120073RDlR SO SUi10/10/07   1011112007   SCK    5:l401I       898.19
       1110000   GEN A&: B WELDING SUPPLY             P.O.BOX2053                                   RAPID CLLY       SO        57709        UNITEDSTATE       7124/2007 296380.00              81312007    SCK    390566        258.02
       1110000   GEN A ,'i B WELDING SUPPLY           P.0.80X2053                                   RAPID CLLY       SO        57709        UNITED STATE      8m2007 296771-00                9121/2007    SCK    390840        169.10
       1110000   GEN A& BWELDING   SUPPLY             P.0.80X2053                                   RAPID CILY       so        57709        UNITED STATE      8/14/2007 296955                9/212007     SCK    390840          53.77
       1134023   GEN AT&T                             P.O.80X 78225                                 PHOENIX           AZ       85062-8225   UNITEDSTATE       7/4/2007 50329232047/24107       813/2007    SCK    532759           8.82
       1264301   GEN ALASKAN COPPER   & BRASS COMPANY P.O.80X516                                    SEATT             \VA      98111        UNITEDSTATE      71012007 32497-1                  81912007     EDI    102837     1~'81.10
       1264301   GEN ALASKAN COPPER & BRASS COMPANY r.O.BOX516                                       SEATTE           WA       98111        UNITEDSTATE      7/1212007 427067-1               81\12007      ED!    102858         97.05
       1264301   GEN ALASKAN COPPER& BRASSCOr.WANY P.0.BOX516                                        SEA TIE          \VA      98111        UNITEDSTATE      61012007 431750-1                8131/2007     EDI   102915        532,87
       1264301   GEN ALASKAN COPPER & BRASS COMPANY r.0.BOX516                                       SEATTE           \VA      98111        UNITEDSTATE      610/2007 431750-1                S131/2007     EDI   102915        532.87
       1264301   GEN ALASKAN COPPER & BRASS COMPANY P.0.BOX516                                       SEATTE           \VA      98111        UNITEDSTATE      6130/2007 431750-2               713012007     EDI   102808          22.80
       1264301   GEN ALASKAN COPPER & BRASS COMPANY P.O.BOX516                                       SEA TIE          \VA      98111        UNITEDSTATE      711012007433951-1.                91612007     EDI   102955        528.31
       1264301   GEN ALASKAN COPPER & BRASS COMPANY P.O.BOX516                                       SEATTE           WA       9811l        UNITE STATE      7/1612007 433951-3               8/2912007     EDI   102905        166.00
       1264301   GEN ALASKAN COPPER &: BRASS COMPANYP.0.BOX516                                       SEATTE           WA       98111        UNITEDSTATE      713012007440348-1                9/2612007     EDI   103008      1,548.94
       1264590   GEN ALBANY DELIVRY SERVICE           P.0.BOX311                                     CORVALUS         OR       97339        UNITEDSTATE      71121007 71121007                9/1412007    SCK    533428        232.00
       1264590   GEN ALBANY DELIVERY SERVICE          P.O.BOX311                                     CORVALLIS        OR       97339        UNITE STATE       8/6/2007 81612007               9124/2007    SCK    533633          42.00
       D28\00    GEN ALPHAGRAPHICS                    200 SW MARKET STREET PI03                      PORTUND          OR       97201        UNITED STATE      7/512007 84484                  81\12007     SCK    532930        37318
       1328100   GEN ALPHAGRAPHICS                    200 SW MARKET STREET PI03                      PORTUND          OR       97201        UNITEDSTATE       7/5/2007 84485                  81\12007     SCK    532930        158.75
       1328100   GEN ALPHAGRAPHICS                    200 SW ~lARKET STREET PI03                     PORTUND          OR       97201        UNITEDSTATE      7/1012007 84527                  8/1312007    SCK    532930        184.52
                                                                                                                                                                                                                                                   Case 07-11738-CSS




       1339800   GEN AMARK                            P.O.BOX1524                                    BORIG            OR       97009        UNITEDSTATE      71311200736388                   9/2112007    SCK    390842        530.35
       1381000   GEN AMERICAN ROOTER                  P.O.BOX1596                                    ALBANY          OR        97321        UNITEDSTATE      6/2012007 REAllST 6120107        911412007    SCK    533430      1,155.00
       1450000   GEN ARGO INTERNATIONAL               140 FRAKLIN STREET                            NEW YORK         NY        10013        UNITE STATE      71012007 SI_17023                9124/2007    SCK    533640      1,516.26
       1493400   CRT ASSOCIATECHa."STSINC             4401 SE JOHNSON CREEK BLVD                     PORTUND         OR        97222        UNITE STATE      2127120072007-30520              7130/2007    SCK    532581     10,890.00
       1493400   CRT ASSOCIATE CHa.nSTS INC           4401 SE JOHNSON CREEK BLVD                     PORTUND         OR        97222        UNITEDSTATE      2127120072007-030520             7130/2007    SCK    532581     10,890.00
       1493400   CRT ASSOCIATED CHa.iiSTS INC         4401 SE JOHNSON CREEK BLVD                     PORTUND         OR        97222        UNITEDSTATE       51112007 2007.031149            71012007     SCK    S32581     10,863.27
       1493400   CRT ASSOCIATEDCHEMISTS INC           4401 SEJOHNSON CREEKBLVD                       PORTUND         OR        97222        UNITEDSTATE       7122007 2007-031611              813/2007    SCK    532758      1,339.50
       1493400   CRT ASSOCIATED CHEMISTS INC          4401 SEJOHNSON CREEK BLVD                      POR"JND         OR        97222        UNITEDSTATE       712007 2007-031628               81/2007     SCK    532758     48.038.60
       1493400   CRT ASSOCIATED CHa.nSTS INC          4401 SEJOHNSON CREEK BLVD                      PORTIND         OR        97222        UNITED ST.' TE    7121007 2007-031633              8/3/2007    SCK    532758     10,833.57
      1493400    CRT ASSOCIATED CHEMISTS INC          4401 SE JOHNSON CREEK BLVD                     PORTIND         OR        97222        UNITEDSTATE       81612007 2007-031905            10/2/2007    SCK    534178      1-65.15
      1493400    CRT ASSOCIATED CHEMISTS mc           4401 SE JOHNSON CREEK BLVD                     PORTIND         OR        97222        UNITEDSTATE       8/812007 2007-031932            10/212007    SCK    534178     50,227.60
      1493400    CRT ASSOCIATED CHEMISTS INC          4401 SEJOHNSON CREEK BLVD                     POR"JND          OR        97222        UNITEDSTATE      9/18/2007 2007-032244            10/23/2007   SCK    534178      1J65.15
      1493400    CRT ASSOCIATED CHEMISTS INC          4401 SEJQHNSON CREEK BLVD                     POR"JND          OR        97222        UNITEDSTATE      9124/2007 2007-032296            10/23/2007   SCK    534178     49,511.20
      1493400    CRT ASSOClA TED CHEMISTS INC         4401 SE JOHNSON CREEK BLVD                    PORTIND          OR        97222        UNITEDSTATE       5/112007 2007-C09103            7130/2007    SCK    532581
                                                                                                                                                                                                                                                   Doc 266-2




                                                                                                                                                                                                                            (10,890.00)
      1519100    GEN A TIS CYLINDERS                  PARKER HANIFIN CORP CYLINDER DMSION        78~ CHICAGO         IL        60693        UNITEDSTATE      61112007 5A484600                SI\12007     SCK    390636        538.93
      1519100    OEN A TIS CYLINDERS                  PARER HANIFIN CORP      CYLINDER DIVSION   789!cHICAGO         IL        60693        UNITE STATE      6125120075A486579                8/1312007    SCK    390636       (814.88)
      1519100    GEN A TUS CYLINDERS                  PARER HANIFIN CORP      CYLINDER DMSION    789! CHICAGO        IL        60693        UNITED STATE     7/2312007 BB279821               8/1312007    SCK    390636      1,557.00
      1645500    GEN BAKER TIMBER   PRODUCTS INC      13536 S. lIGHWAY 16                           RAPID CLLY       SO        57702        UNITEDSTATE       8/21007 UL104284                 81312007    SCK    532705      9.420.32
      1645500    GEN BAKER TIMBER PRODUCTS INC        1336S. HIGHWAY 16                             RAPID CLLY       SO        57702        UNITE STATE       819/2007 ULI04323               8/012007     SCK    532862      3,918.20
      1645500    GEN BAKERTIMBERPRODUCTINC            1336 S.HlGHWAY16                              RAPID CLLY       SO        57702        UNITE STATE       81912007 ULl04361               8/10/2007    SCK    532862      1.283.60
      1645500    GEN BAKER TIMBER PRODUCT INC         13536S. HIGHWAY 16                            RAPID CLLY       SO        57702        UNITE STATE      8/2312007 ULl04433               8/24/2007    SCK    533116     16,152.00
      1645500    GEN BAKER llr.ffER PRODUCT INC       13536S. HIGHWAY 16                            RAPID CLLY       SO        57702        UNTED STATE      8130/2007 ULI04471               81112007     SCK    533214      7,950.40
      1645500    GEN BAKER TIMBER PRODUCT INC         13536S.HIGHWAY 16                             RAPID CLn'       SO        57702        UNITED STATE      91612007 UL104505                9n/2oo7     SCK    533252      9,311.60
      1645500    GEN BAKER TIr.ffER PRODUCTS INC      13536S. HIGHWAY 16                            RAPID CLLY       SO        57702        UNITEDSTATE      911/2007 ULI04575                9/14/2007    SCK    533367      6,802.80
      1645500    GEN BAKER TIr.ffER PRODUCTS INC      13536S. HIGHWAY 16                            RAPID CLn'       SO        57702        UNITEDSTATE      912012007ULI04603                91212007     SCK    533593      9,700.76
      1645500    GEN BAKER TIMBER PRODUCT INC         13536S. HIGHWAY 16                            RAPID CLLY       SO        57702        UNITEDSTATE      912/2007 ULI04633                9/28/2007    SCK    533796      5,646.56
      1645500    GEN BAKER TIMBER PRODUCTS INC        13536S. HIGHWAY 16                            RAPID CILY       SO        57702        UNITEDSTATE      10/412007UL104663                101512007    SCK    533910      5,707.60
      1645500    GEN BAKER TIMBER PRODUCTS INC        13536S.H1GHWAYI6                              RAPID CLLY       SO        57702        UNITED STATE     10/1112007 ULI04693              10/1212007   SCK    534030     12,913.20
      1645500    GEN BAKER TIMBER PRODUCTS INC        13536S. HIGHWAY 16                            RAPID CLLY       SO        57702        UNITED STATE     10/1812007 ULl04718              10/1912007   SCK    534117      7,111.12
      1645500    GEN BAKER TIMBER PRODUCTS INC        13536 S. HIGHWAY 16                           RAPID CLLY       SO        57702        UNITE STATE      10/2512007 ULl04745              10/24'2007   SCK    534197      9,762.48
      1652100    GEN BALLARD LOGGING                  RUSS BALAD          14360 WILLIAS PLACE       BUFFALO  GAP     SO        57722        UNITE STATE       8/212007 ULI04268                813/2007    SCK    532706     22,043.20
      1652100    GEN BALLARD LOGGING                  RUSS BALLAD
                                                                                                                                                                                                                                                   Filed 01/04/08




                                                                          14360 WILLIAMS PLACE      BUFFALO  GAP     SO        57722        UNITE STATE       819/2007 ULI04307               8/1012007    SCK    532864      9.236.82
      1652100    GEN BALLRD LOGGING                   RUSS BALLA          14360 WILLIA PLACE        BUFFALO  GAP     SO        57722        UNITEDSTATE       81912007 ULl04344               8/1012007    SCK    532864      8.092.08
      1652100    GEN BALURD LOGGING                   RUSS BALLA          14360 WILLIAM PLACE       BUFFALO GAP      SO        57722        UNITE STATE      8/2312007 ULI04416               8/24/2007    SCK    533118      5,022.96
      1652100    GEN BALURD LOGGING                   RUSS BALA           14360 WILLIAS PLACE       BUFFALO GAP      SO        57722        UNITE STATE      8130/2007 ULI04454               8/3112007    SCK    533215      4,982.50
      1652100    GEN BALLARD LOGGING                  RUSS BALLAD         14360 WILLIAS PLACE       BUFFALO GAP      SO        57722        UNITEDSTATE       91612007 ULI04488                9n12007     SCK    533254     28,546.24
      1652100    GEN BALLARD LOGGING                  RUSS BALAD          14360 WILLIAS PLACE       BUFFALO GAP      SO        57722        UNITEDSTATE      911312007ULI04558                9/14/2007    SCK    533369     22.432.59
      1652100    GEN BALLARD LOGING                   RUSS BALAD          14360 WILLIAMS PLACE      BUFFALO GAP      SO        57722        UNITE STATE      912012007ULI04590                91212007     SCK    533595     19,540.88
      1652100    GEN BALLARD LOGGING                  RUSS BALLAD         14360 WILLIAS PLACE       BUFFALO GAP      SO        57722        UNITEDSTATE      9127/2007 ULI04618               9/28/2007    SCK    533797     17.160.20
      1652100    GEN BALURD LOGGING                   RUSS BALLAD         14360 WILLIA PLACE        BUFFALO GAP      SO        57722        UNITEDSTATE      10/4/2007 ULI04647               10/S/2007    SCK    533912     18,385.33
      1652100    GEN BALLARD LOGGING                  RUSS BALLAD         14360 WILLIAM PLACE       BUFFALO GAP      SO        57722        UNITED STATE     10/1112007 ULI04680              10/1212007   SCK    534031     10,120.30
      ióSiloo    GEN BALLARD LOGGING                  RUSS BALLAD         14360 WILLIAS PLACE       BUFFALO GAP      SO        57722        UNITEDSTATE      10'1812007 UL104705              10/19/2007   SCK    534118     19,678.81
      1652100    GEN BALLARD LOGGING                  RUSS BALLA          14360 WILLIAS PLACE       BUFFALO GAP      SO        57722        UNITEDSTATE      10n512007 ULl0473I               10124/2007   SCK    534198     12,980.86
      1739301    GEN TIE E. J. BARTELLS COMPANY       MSC:03861        PO BOX 389674                1UK\VLA          IVA       98138-9674   UNITE STATE      61112007 11-82538                7130/2007    SCK    532660        485.33
      1739301    GEN TIlE E. J, BARTELS COMPANY       MSC:03861        POBOX389674                  lUKWILA          IVA       98138-9674   UNITED STATE     7/112007 11-86571                9/14/2007    SCK    533536        297.95
      1739301    GEN THEE.J.BARTELI.COMPANY           MSC:03861        PO BOX 389674                lUK\VLA          WA        98138-9674   UNITEDSTATE      7/16/2007 21-85612               9/14/2007    SCK    533536        229.77
      1739301    GEN niE E. J. BARTELL COMPANY        MSC:03861        PO BOX 389674                lUKWlLA          IVA       98138-9674   UNITEDSTATE      61141200724-81350A                8/312007    SCK    532843        125.00
      1739301    GEN TIE E. J. BARTELL COMPANY        MSC:03861        PO BOX 389674                1UKWlLA          \VA       98138-9674   UNITEDSTATE      6114/2007 24-81350DB             9/14/2007    SCK    533536          10.00
      1739301    GEN TIE E. J. BARTELL COMPANY        MSC:03861        PO BOX 389674                1UKWlLA          WA        98138-9674   UNITED STATE     6114/2007 24-81358                813/2007    SCK    532843        (10.00)
                                                                                                                                                                                                                                                   Page 24 of 25




      1742700    EMP DONALD BASS                      C/ POPE & TALBOT INC.                         HALSEY           OR        97348        UNITEDSTATE      8/24/2007 82107                  8/2812007    SCK    533154        100.00
      1875172    GEN BEST POTS                        P.O.BOX444                                    ALBNY            OR        97321        VNITEDSTATE      610/2007 158815                   813/2007    SCK    532764         71.10
      1875172    GEN BE.'iT POTS                      P.O.BOX444                                    ALBANY           OR        97321        UNTED STATE      61Dn007 158816                    813/2007    SCK    532764         81.00
      1875172    GEN BEST POTS                        P.O. BOX 444                                  ALBANY           OR        97321        UNITE STATE      7131/2007 160289                 9/121007     SCK    533319         73.47
      1875172    GEN BEST POTS                        P.O.BOX444                                    ALBANY           OR        97321        UNITEDSTATE      7/3112007 160290                 9/1212007    SCK    533319         83.70
      1947900    CRT BLACK HILLS POWER                P.O.BOX1440                                   RAPID CI1        SO        57709_1440   UNITEDSTATE       713/2007 6101/07TO7/02107       7130/2007    SCK    390504         53.98
      1947900    CRT BLACK HILLS POWER                P.O.BOX 1440                                  RAPID CLn'       SO        57709-1440   UNITE STATE      71212007 6119107 TO7118/07-      8/161007     ACli     6534    124,084.55
      1947900    CRT BLACK fULLS POWER                P.O.BOX1440                                   RAPID CIn'       SO        57709-1440   UNITEDSTATE       8/6/2007 7/02/7 TO08102107      9/121007     SCK    390742         :l7.07
      1947900    CRT BLACK U1U.s POWER                P.O.BOX 1440                                  RAPID CLLY       SO        57709-1440   UNITE STATE      8/221007 7/18107 TOS/17107       8/2312007    ACH      6609    121.87709
      1947900    CRT BLACK HILLS POWER                P.O.BOX1440                                   RAPID CLn'       SO        57709-1440   UNITEDSTATE      8/221007 7/18/07TO8/17107        8/212007     ACH      6609    121,877.Q
      1947900    CRT BLACK HILLS POWER                P.O.BOX1440                                   RAPID CLn'       SO        57709-1440   UNITEDSTATE       816/2007 8102/7TO9/05107        9/1212007    SCK    390742         98.93




                                                                                                                   8; of 137                                                                                      SOFA Alt. 3-a1 Vendor Payments
Pope & Talbot. Inc.
Case No. 07-11738 (CSS)
Attachment SOFA 3-a1
Payments 10 Credilors Between 07/30/2007 and 10128/2007

V~mJ"r Cl:_,~ V..udnr ;':ini.. ,\dt.rcl~ City ,\ddr..~s ~:~,~~~ I',,~l:L Ç"d.. Cuunlr)' In.."Ie.. I):ilc In\'l~c Clieck nul.. r~i::i,:nt T~~~~~:~lI USI) AmulIll
      1947900   CRT BLACK HILlS POWER                     P.O.BOX1440                             RAPID CI1Y     SD       51109-1440   UNITE STATE     9/211001 8117101TO9/18/01       101111001    ACH     6819    130,648.50
      1948400   GEN BLACK HILlS FORET REOURCES            C/O NEIMA SAWMILLs.Inc. P.O. BOX 218    HULEn          IVY      82120.0218   UNITE STATE     811/2007 1805                   91212007     SCK   390846      6,512.00
      1948400   GEN BLACK HILlS FORET REOURCES            C/ NEIMA SAWMILLsInc. P.O. BOX 218      HULE           IVY      82120.0218   UNITEDSTATE     8/112001 ISIS                   9121/2007    SCK   390846      6.512.00
      2010500   GEN WEYERHAEUSER  COMPANY                 FIBER MAAGEMENT DEPARTMNT PO BOX 901    ALBANY         OR       91322        UNITED STATE    81312007 2.0105E+12             811512001    SCK   533061     21.951.93
      2010500   GEN WEYERHAEUSERCOMPANV                   FIBER MAAGEMENT DEPARTMENT PO BOX 901   ALBANY         OR       91322        UNITEDSTATE     8/2012007 2.0105E+12            813112001    SCK   533211     38,720.35
      2010500   GEN WEVERHAEUSERCO~WANY                   FIBER MAAGEMENT DEPARTMENT PO BOX 901   ALBANY         OR       91322        UNITED STATE    9/612007 2.0105E+12             9/1412001    SCK   533364        800.28
      2098600   OEN BOB BOYD TRUCKING INC                 P.O.BOX1251                             LIGSTON        MT       59041        UNITEDSTATE     712312007Bn51                   S/1312OO1    SCK   390638      1,151.00
      2098600   GEN BOB BOYD TRUCKING INC                 P.O.BOX1251                             LIVGSTON       MT       59041        UNITEDSTATE     71311200781352                  9/1212001    SCK   390813      2.311.08
      2098600   GEN BOB BOYD TRUCKIG INC                  P.O.80XI251                             LIVGSTON       MT       59041        UNITEDSTATE     8/612001 81379                  9/1212001    SCK   390813      1.982.12
      2098600   GEN BOB BOYD TRUCKIG INC                  P.O.BOX1251                             LIVGSTON       MT       59041        UNITEDSTATE     81211200187401                  9/1212001    SCK   390813      1,119.98
      2098600   GEN BOB BOYD TRUCKING INC                 P.O. BOX 1251                           LIVGSTON       MT       59041        UNITEDSTATE     8/10/2001 87404                 9/1412007    SCK   390164      2.261.00
      2098600   OEN BOB BOYD TRUCKING INC                 P.O.BOX1251                             LIVGSTON       -lr      59041        UNlTEDsrATE     1012001 B1492                   10/1812007   SCK   391143      2.129.6
      2098600   GEN BOB BOYD TRUCKING INC                 P.O.BOX1251                             LIVGSTON       MT       59041        UNlTEDsrATE     1011/200781493                  10/18/2007   SCK   391143      2.079.80
      2254000   OEN BROWNSVILLE PARTS 8: SERVICE          P.O. BOX 430                            BROWNSVILLE    OR       91321        UNITEDSTATE     ól5/2001 316465                 7130/2007    SCK   532581        114.07
      2254000   OEN BROWNSVILLE PARTS 8: SERVICE          P.O. BOX 430                            BROWNSVILLE    OR       97321        UNITEDsrATE     6125/2001 3316464               1130/2007    SCK   532581        111.81
      2291900   OEN BUDGET CLEANING 8: REPAIR             812 EHUDSONCIRCLE                       SPEARFISH      SD       51783        UNITEDSTATE     113112001258164                  813/2001    SCK   390571        122.80
      2319700   GEN BULLFROG ENTERPRISES INC              158 I SOUTH A STRET                     SPRIGFIELD     OR       91417-5245   UNITEDSTATE     6/2/2007 86424                   813/201     SCK   532710        114.15
      2:19700   GEN BULLFROG ENTERPRISES INC              158 I SOUTH A STRT                      SPRIGFIELD     OR       91411-5245   UNITEDSTATE     11112001 86118                  811/2007     SCK   532940        153.19
      2330000   GEN BURHANS-SHARPE SALE INC               POBOX52650                              BELLEE         WA       98015-2650   UNITED STATE    1130/2001 DC20159               9/24/2007    SCK   533648         56.76
      2344317   CRT BNSFRAILWAYCOMPANY                    P.O.BOX910134                           DALLS          lX       15391'(134   UNITEDSTATE     1/24/2007 58425903A              8n/2001     EDI   102820         94.00
      2344317   CRT BNSFRAILWAYCOMPANY                    P.O. BOX910134                          DALLAS         lX       15391'(134   UNITED STATE    11311200158603204A               8n/2oo1     ED!   102820        139.29
      2344317   CRT BNSFRAILWAYCO~WANY                    P.O.BOX910134                           DALLAS         lX       15391-01.H   UNlrnD srA TE    21/2001 58642239A               8n/2001     ED!   102820        229.89
      2344317   CRT BNSFRAILWAYCOMPANY                    P.O. BOX 910134                         DALLAS         lX       15391.(134   UNITEDSTATE      21/2001 58ó42241A               8n/2001     EDI   102820        349.89
                                                                                                                                                                                                                                           Case 07-11738-CSS




      2344317   CRT BNSF RAILWAY COMPANY                  P.O.BOX910134                           DALLAS         lX       15391.(134   UNITEDSTATE      21/2001 58677442A               8n12001     EDI   102820        136.59
      2344317   CRT BNSF RAILWAY COMPANY                  P.O.BOX910134                           DALLAS         lX       75391.(134   UNITED STATE    6/26/2007 58865129A              sn/2oo1     EDI   102820        302.60
      2344317   CRT BNSFRAILWAYCO~WANY                    P.O. BOX910134                          DALLAS         lX       15391.0134   UNITEDSTATE     3n/2001 5913198óA                8n12001     EDI   102820        21398
      2344317   CRT BNSFRAILWAYCOMPANY                    P.O.BOX910134                           DALLS          lX       75391.(134   UNITEDSTAlE     3/14/2001 59276954A              8n12oo1     EDI   102820        119.24
      2344317   CRT BNSF RAILWAY CO~WANY                  P.O. BOX 910134                         DALLAS         lX       15391-0134   UNITEDSTATE     3/2112007 594oo379A              sn/2oo1     EOJ   102S20         39.24
      2344317   CRT BNSFRAILWAYCOr-WANV                   P.O. BOX 910134                         DALLAS         lX       15391'(134   UNITEDSTATE     414/2001 59615131A               8n/2OO7     EDI   102820        231.00
      2344317   CRT BNSFRAILWAYCOMPANV                    P.O.BOX910134                           DALLAS         lX       15391-0134   UNITEDSTATE     6/221001 59620055A               8n/2oo1     EDI   102820        27214
      2344317   CRT BNSFRAILWAYCOr-WANV                   P.O. BOX910134                          DALLAS         lX       15391'(134   UNITEDSTATE     6/221001 59112525A               8n/2oo1     EDI   102820        186.74
      2344317   CRT BNSFRAILWAYCOMPANY                    P.O.80X910134                           DAlùS          lX       15391-0134   UNITED STATE    41111200159746489A               8n/2oo1     EOJ   102820         41.66
      2344317   CRT BNSFRAILWAYCOMPANY                    P.O. BOX 910134                         DALLAS         lX       15391-0134   UNITEDSTATE     41111200159158605A               8n/2oo7     EDl   102820        251.66
      2344317   CRT BNSF RAILWAY COMPANY                  P.O.BOX910134                           DALLS          lX       15391'(134   UNITEDSTATE     41111200159829408A               8n/2oo7     EOJ   102820         41.66
      2344317   CRT BNSF RAILWAY COMPANY                  P.O.BOX910134                           DALLAS         lX       15391'(134   UNITEDSTATE     41111200159829412A               sn/2001     EOJ   102820        215.66
      2344317   CRT BNSF RAILWAY COMPANY                  P.O. BOX 910134                         DALLAS         lX       15391-0134   UNITEDSTATE     41111200159829413A              811/2007     EOJ   102860        196.66
                CRT BNSFRAILWAYCOMPANY                                                                                    15391-0134   UNITDSTATE      4/18/2001 59846534A              8n/2oo1     EDI   102820        151.00
                                                                                                                                                                                                                                           Doc 266-2




      2344317                                             P.O. BOX 910134                         DALLAS         lX
      2344317   CRT BNSFRAILWAYCOMPANV                    P.O.BOX910134                           DALLS          lX       15391-0134   UNITE STATE      5121001 60132128A               8n/2001     EOJ   102820        300.00
      2344317   CRT BNSFRAILWAYCOMPANY                    P.O.BOX910134                           DALLAS         lX       15391'(134   UNITED STATE    412/2001 60134340A              8113/2001    EOJ   102860         94.00
      2344317   CRT BNSF RAILWAY COMPANY                  P.O.80X910134                           DALLAS         lX       15391.(134   UNITED STATE    5116120016034794óA               8n/2oo7     EOJ   102820         49.43
      2:44317   CRT BNSFRAILWAYCO~WANY                    P,O.BOX910134                           DALLAS         lX       15391-0134   UNITEDSTATE     5/2/2001 6049198óA               8n/2001     EDI   102820         43.00
      2344317   CRT BNSFRAILWAYCOMPANV                    P,O. BOX 910134                         DALLAS         lX       15391'(134   UNITE STATE     5118/200160514001A              8/2712001    EDl   102891        284.32
      2344317   CRT BNSFRAILWAYCO~WANV                    P.O. BOX910134                          DALLAS         lX       15391-0134   UNITE STATE      6(6/2007 60154588A              8n/2001     EOJ   102820       (100.00)
      2344317   CRT BNSF RAILWAY CO~WANY                  P.O. BOX910134                          DALLAS         lX       15391'(134   UNITE STATE     6/612001 60159358A               8n/2007     EOJ   102820        300.00
      2:44317   CRT BNSFRAILWAYCO~WANV                    P.O.BOX910134                           DALLAS         lX       15391-0134   UNITE STATE     7124/200160192556 ADDITONALCH   8/29/2007    EDI   102906      1.116.55
      2344317   CRT BNSFRAILWAYCO~WANV                    P.O. BOX 910134                         DALLAS         lX       15391'(134   UNITEDSTATE     61212001 6083408óA               8n/2001     EOJ   102820        100.00
      2344317   CRT BNSFRAILWAYCOMPANY                    P.O.BOX910134                           DALLAS         lX       15391-0134   UNITE STATE     fi/20/2oo1 61010461A            9111/2001    EDl   102986        412.96
      2344317   CRT BNSFRAILWAYCOMPANV                    P.O.BOX910134                           DALLS          lX       15391-0134   UNITE STATE     7111/2001 61252469               8n/2oo7     EDl   102820      6,091.91
      2344317   CRT BNSF RAILWAY COMPANY                  P.O.BOX910134                           DALLAS         lX       15391-0134   UNITE STATE     71111200161252410                8n/2001     EDl   102820      4,594.55
      2344317   CRT BNSFRAILWAYCOMPANY                    P.O.BOX910134                           DALLS          lX       15391-0134   UNITEDSTATE     71111200161354181                8n/2007     EOJ   102820      5,189.28
      2344317   CRT BNSFRAILWAYCOMPANV                    P.O.BOX910134                           DALLS          lX       15391.0134   UNITED STATE    71111200161354790                8n/2007     EOJ   102820      5,013.31
      2344317   CRT BNSF RAILWAY COMPANY                  P.O.BOX910134                           DALLS          lX       15391.0134   UNITED STATE    71111200161354196                8n/2007     EDI   102820      6,056.80
      2344317   CRT BNSF RAILWAY COMPANY                  P.O.BOX910134                           DALLS          lX       15391-0l.H   UNITE STATE     7111/2001 61354804               8n/2001     EDI   102820      4.560.84
      2344317   CRT BNSF RAILWAY COMPANY                  P.O. BOX 910134                         DALLAS         lX       15391-0134   UNITEDSTATE     7/11/2001 61354812               8n/2001     EOJ   102820      6.56.80
                                                                                                                                                                                                                                           Filed 01/04/08




      2344317   CRT BNSFRAILWAYCOMPANV                    P.O.BOX910134                           DALLS          lX       75391.0134   UNITE STATE     7/11/2001 61354831               8n/2001     EOJ   102820      5,140.56
      2344317   CRT BNSFRAILWAYCOMPANV                    P.O.BOX910134                           DALLS          lX       75391.0134   UNITEDSTATE     1/1112007 61354834               8n/2001     EDI   102820      4,043.8
      2344317   CRT BNSFRAILWAYCOMPANY                    P.O.BOX910134                           DALLAS         lX       75391.0134   UNITEDsrATE     7/11/2001 61354831               8n/2001     EOJ   102820      4~'43.48
      2344317   CRT BNSF RAILWAY COMPANY                  P.O.BOX910134                           DALLAS         lX       75391-0134   UNITEDSTATE     7/1112007 61354838               8n/2001     EOJ   102820      4,828.55
      2344317   CRT DNSFRAILWAYCOMPANY                    P.O.BOX910134                           DALLS          lX       75391-0134   UNITEDSTATE     71111200161354840                8n/2001     EOJ   102820      4,828.55
      2344317   CRT BNSF RAILWAY COMPANY                  P.O.BOX910134                           DALLS          lX       15391-0134   UNITEDsrATE     111/2007 61354846                Sn/2001     EDl   102820      4.594.55
      2344317   CRT BNSF RAILWAY COMPANY                  P.O.BOX910134                           DALLAS         lX       15391.0134   UNITEDSTATE     11112001 61354848                8n/2007     EOJ   102820      5,962.84
      2344317   CRT BNSF RAILWAY COMPANY                  P.O.BOX910134                           DALLAS         lX       15391.0134   UNITED STATE    11112001 61311658                8n/2007     EDI   102820      8,21.68
      2344317   CRT BNSF RAILWAY COMPANY                  P.O.BOX910134                           DALLAS         lX       15391.0134   UNITEDSTATE     11112001 61311548                8n/2OO7     EDI   102820      9.412.24
      2344317   CRT BNSF RAILWAY COMPANY                  P.O.80X910!34                           DALLAS         lX       15391.0134   UNITEDSTATE     11112001 61319019                8n/2oo7     EDI   102820      9,011.20
      2344317   CRT BNSFRAILWAYCOMPANV                    P.O.BOX910134                           DALLAS         lX       15391.0134   UNITEDSTATE     11112001 61401426                8n/2oo1     EDl   102820      9,412.24
      2H4317    CRT BNSFRAILWAYCOMPANY                    P.O.80X910134                           DALLAS         lX       15391'(134   UNITDSTATE      11112001 61421921                8n/2001     EDI   102820      5,635.85
      2H4317    CRT BNSf RAILWAY COMPANY                  P.O.80X910134                           DALLAS         lX       15391-0134   UNITEDSTATE     1/111200161421930                8n/2001     EDI   102820      4,808.69
      2344311   CRT BNSFRAILWAYCOMPANY                    P.O.BOX910134                           DALLAS         lX       15391'(134   UNITEDSTATE     1/111200161421942                8n/2007     EOJ   102820      6,029.40
      2H4311    CRT BNSFRAILWAYCOMPANY                    P.O.BOX910134                           DALLAS         lX       15391'(134   UNITEDSTATE     1/111200161421995                8n/2001     EOJ   102820      4,216.35
      2344311   CRT BNSFRAILWAYCOMPANY                    P.O.BOX910134                           DALlAS         lX       15391-0134   UNITEDSTATE     71111200161422006                8n/2001     EDl   102820      5,129.40
      2344311   CRT BNSFRAILWAYCOMPANY                    P.O.BOX910134                           DALlAS         lX       15391-0134   UNITEDSTATE     1/111200161422009                8n/2007     EDl   102820      6,061.14
      2344311   CRT BNSFRAILWAYCOMPANY                    P.O.BOX910134                           DALlAS         lX       15391-0134   UNITEDSTATE     1/11/2001 61422034               8n/2001     EOJ   102820      5,155.61
                                                                                                                                                                                                                                           Page 25 of 25




      2344311   CRT BNSFRAILWAYCOMPANY                    P.O.BOX910134                           DALlAS         lX       15391.(134   UNITE STATE     7/1i/2007 61422045               8n/2001     EOJ   102820      4,838.60
      2344311   CRT BNSFRAILWAYCOMPANY                    P.O.BOX910134                           DALLS          lX       15391-0134   UN STATE        7111/200761423942                8n/2001     EDI   102820      8,021.68
      2344311   CRT BNSFRATLWAYCOMPANY                    P.O.BOX910134                           DALlAS         lX       15391.0134   UNITE STATE     71111200161426527                8n/L001     EOJ   102820      8,21.68
      2344311   CRT BNSFRAILWAYCOMPANY                    P.O.BOX910134                           DALlAS         lX       15391-0134   UNITEDSTATE     7111/200161421161                8n/2001     EOJ   102820      6,091.91
      2344311   CRT BNSFRAILWAYCOMPANY                    P.O.BOX910134                           DALLS          lX       15391-0134   UNITE STATE     71111200161421248                8n/2001     EDI   102820      6,091.91
      2344311   CRT BNSFRAILWAYCOMPANY                    P.O.BOX910134                           DALLS          lX       15391'(134   UNITE STATE     71111200161428314                8n/2001     EDI   102820      5,851.63
      2344311   CRT BNSFRAtLWAYCO~WANY                    P.O.BOX910134                           DALLAS         lX       15391'(134   UNITE STATE     118/2001 61429096                819/2007    EDl   102838      4,294.55
      2344311   CRT BNSF MTLWAYCOMPANY                    P.O.BOX910134                           DALlAS         lX       15391-0134   UNITEDSTATE     7111/2001 61429300               8n/2001     EOJ   102820      4,594.55
      2344311   CRT BNSFMILWAYCOMPANY                     P.O.BOX910134                           DAlùS          lX       15391-0134   UNITE STATE     7111/2001 61431005               8n/2001     EDI   102820      6,091.1
      2344311   CRT BNSFMILWAYCOMPANY                     P.O.BOX910134                           DALLAS         lX       75391.(134   UNITE STATE     7111/2001 61431364               8n/2001     EDI   102820      5,126.19
      2344311   CRT BNSFMILWAYCOMPANY                     P.O.BOX910134                           DALLS          lX       15391'(134   UNTE STATE      7111/2007 61431624               Sn/2001     EOJ   102820      5,954.28




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